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Page 1

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JOHN DOE,
Plaintiff,
vs.
ST. JOSEPH'S UNIVERSITY
and

JANE ROE, :
Defendants. : NO. 18-2044

MONDAY, JULY 23, 2018

CONFIDENTIAL

Oral deposition of ELIZABETH A.
MALLOY, ESQ., taken at the law offices of
Montgomery McCracken Walker & Rhoads, LLP,
1735 Market Street, 21st Floor, Philadelphia,
Pennsylvania, commencing at 10:11 a.m., before
Kimberly A. Wornczyk, a Registered
ProfeSSional Reporter, New JerSey Certified
Court Reporter (Certificate No. 30X100223500),
and Notary Public in and for the Commonwealth
of Pennsylvania.

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2 - - - .
SCHWABENLAND AND RYAN, PC
3 BY: EDWARD J. SCHWABENLAND, ESQUIRE l 3 WITNESS PAGE i
955 old Eagle school Road 4 ELIZABETH M- MALLOY, ESQ.
4 Suite 306 5 By Mr. Schwabenland 7, 305 '
Wayne, Pennsylvania 19087 6 By MS_ Eng]e 300
5 610-971-9200 7
eschwab@sandrlaw.com
6 Representing the Plaintiff, John Doe 8 - - -
7 9 EXHIBITS
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13 MINTZER SAROWITZ ZERIS LEDVA & 15 SJU001052_001055
MEYERS, LLP l
14 BY: SUSAN R. ENGLE, ESQUIRE , 3 Oriel‘llation Slid€, SJU001030 123
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15 Suite 4100 - - -
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1 DEPOSITION SUPPORT INDEX 1 agreement of counsel that all of that is to be
2 - - - 2 kept confidential and the Couit has approved
3 INSTRUCTION NOT TO ANSWER: 3 that agreement by issuing an order to that
4 Page Line 4 effect. So I need to have the deposition
5 277 4 l 5 reflect that it should be confidential on it.
l 6 307 9 6 1 should also state that I'll be referring to
- 7 7 the plaintiff, who Was a respondent in the l
8 REQUEST FOR PRODUCTION OF DOCUMENTS:_ 8 case, as John Doe and the individual
9 Page Line Description l 9 defendant, the female who was the complainant

l 10 62 12 Investigation records 10 in the case, as Jane Roe. Just for purposes,

1 11 ll you don't have to say who they are, but do we
12 12 have an understanding that you know the real
13 STIPULATIONS: 13 identity of those individuals?

l 14 Page Line 1 14 A. Yes.

. 15 7 1 15 Q. Okay.

16 16 A. And do you prefer me to try to
17 QUESTIONS MARKED: 17 use John and Jane to the best of my ability?
18 Page Line 18 Q. What we have been doing is
19 (None) 19 this, if you slip and ca11 them by name, we'll
20 20 just have the transcript changed to reflect '
21 21 Jane Roe and John Doe. So don't worry about
' 22 22 it. We'll proceed accordingly.
23 23 I know you're a member of the
24 24 bar, but have you given deposition before?
Page 7 Page 9
1 (It is agreed by and among 1 A. 1 haVe.
2 counsel for the respective parties 2 Q. Have you ever given depositions
3 that the sealing, filing are hereby 3 with regard to anything to do with Title IX or
4 waived, and that all objections, 4 your handling of Title IX or investigations
5 except as to the form of the question, 5 into student complaints?
6 be reserved until the time of trial.) 6 A. I have not.
7 ~ ~ ~ 7 Q. Okay. I know you know these
8 ELIZABETH A. MALLOY, ESQUIRE, 8 ground rules, but let me just state for the l
9 having been duly swom, was examined 9 record if I may. If I ask a question that
10 and testified under oath as follows: 10 dOeSn't make senSC, Which I have that habit Of
11 _ _ _ 11 doing sometimes, let me know and I'll rephrase
12 EXAMINATION 12 the question, Fair enough?
13 _ _ _ 13 A. Yes.
14 BY MR. SCHWABENLAND: 14 Q. I only want you to answer the :
15 Q. Could you please state your 15 question if you assumed you understood it and
16 full name for the record? 16 if you answer the question 1 assume that
17 A. Elizabeth Ann Malloy. 17 you're answering truthfully to the best of
18 Q. Ms. Malloy, we met before. We 18 your ability; is that fair?
19 met downstairs in the lobby today, but let me 19 A. Yes.
20 state for the record, I am Ed Schwabenland. I 20 Q. AlSO, I am going tO ask you t0
l 21 represent the plaintiff in this case, I 21 do the very thing you've been doing, waiting

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for me to get done making a statement, asking
a question, and you respond verbally to that.
So if one person talks at a time and there's

3 (Pages 6 - 9)

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Should state that this deposition, like all
the other depositions, as well as the exhibits

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Page 10
verbal responses it makes this young lady's
life a lot easier. Okay?

A. 1 will do my best.

Q. Finally, 1 have a lot of ground
to cover. 1 understand there's no time
restrictions today. So we are going to get
done today, if that's okay with you?

A. Yes.

Q. Okay. But if you want to take
a break, feel free to exercise any of those
options. Okay?

A. Yes.

Q. One last thing, and 1'm not
sure --

MR. SCHWABENLAND: John, maybe
you can help me. Do you represent Ms.
Malloy?

MR. MYERS: ldo.

MR. SCHWABENLAND: Okay. So 1
don't have to give instructions that
she's a witness and she has certain
rights?

MR. MYERS: That's correct.

And also, Tom Wilkinson from Cozen is

Page 11

here as her law firm's counsel.

MR. SCHWABENLAND: Okay.
Thanks, Mr. Wilkinson.

MR. MYERS: It's a bit of a
joint representation

MR. SCHWABENLAND: Very good.
BY MR. SCHWABENLAND:

Q. Let me ask you about your
background, if1 may. Where did you grow up?

A. Drexel Hill, Pennsylvania.

Q. And where did you go to high
school?

A. Archbishop Prendergast.

Q. When did you graduate?

A. 1977.

Q. 1 know you did your

undergraduate work at American University --
A. Catholic University.
Q. Catholic University. 1'm

sorry, And that's in Washington, D.C.?
A. Yes.
Q. When did you graduate?
A. 1981.

Q. With what degree?

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A. Bachelor of arts in l
international affairs.
Q. 1 know you graduated with some
type of honors. What did you graduate with?
A. 1 really don't recall. It was
some sort of Cum Laude and Phi Beta Kappa.
Q. Fair enough. What did you do
after graduation from Catholic University?
A. I worked at the State
Department in Washington, D.C. until my
parents died and then I came back to
Philadelphia to raise my brother and sisters.
Q. And, 1'm sorry, to raise
your --
A. Brother and sisters. Brother,
singular, and sisters.
Q. When did you come back to the

Philadelphia area?

A. The fall of--

Q. 1 know you graduated from
Villanova in 1986.

A. Right.

Q. So when did you start

Villanova?

Page 13

A. Three years before. 1 finished
law school in three years.

Q. Okay.

A. My father died in September of
'81, my mother died in November of '82, so in
that time frame, probably closer to the summer
of '82.

Q. While you went to Villanova did
you work at all?

A. No.

Q. So you were a full-time student
in law school?

A. Yes.

Q. And 1 know you graduated with
some honors from law school in 1986. Do you
know what it was? 1 have it Written down, Cum
Laude.

A. That sounds correct. 1 don't
have a recollection

Q. You have a resume on the
website, 1 would imagine?

A. A bio.

Q. A bio. Okay. While you went
to law school did you do anything to intern

4 (Pages 10 - 13)

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anyplace for public defender's office, 1 sure you were exposed to a number of things,
prosecutor's office, anything like that? 2 but did you work in any specific department?

A. No. May I correct a previous l 3 A. No.
answer? 4 Q. Okay. And so what type of

Q. Sure. 5 things did you handle?

A. 1 believe you asked if 1 worked 6 A. Research memos on a number of
during law school. When classes were in 7 miscellaneous issues.
session 1 went to school full-time and took 8 Q. Fair enough. Did you do any
care of my family. 1 did have summer jobs. l 9 research or memos on sexual assault, sexual

Q. 1 didn't ask you this: Are you 10 harassment, or Title IX violations?
married or single? 11 A. 1 don't believe so.

A. 1 am single. 12 Q. Okay. And after graduation

Q. And 1 don't want to know your 13 from law school until 1986 where did you go?
address, but what area do you live in? 14 A. 1 was an associate at Morgan

A. Montgomery County. 15 Lewis.

Q. Okay. 1 forgot to ask you 16 Q. How long did you stay at Morgan
about how many siblings you had. 17 Lewis?

A. 1 have three sisters and a 18 A. Until January of 1991.
brother. 19 Q. And so did you start there,

Q. And do any of them reside with 20 what, in 1986, after you studied for the bar?
you now? 21 A. Yes, probably Labor Day 1986,

A. Yes. 22 Q. And while you Were at Morgan

Q. And who resides with you? You 23 Lewis & Bockius what did you do there?
don't have to name them. 24 A. 1 was an associate in the labor

Page 15 Page 17

A. My younger sister and her l and employment section.
family. 2 Q. Did you represent the employer,

Q. During the summer when you were 3 the employee, or both?
at Villanova Law School you said you worked. 4 A. The employer.
What type of work? Was it legal related or 5 Q. While you were at Morgan Lewis
other than that? l 6 & Bockius did you do any work on sexual

A. It was legal. 7 misconduct in the higher education field or

Q. Okay. And what did you do? 8 Title 1X violations?

A. The first summer, between my 9 A. 1 do not believe so.
first and second year, 1 believe the employer 10 Q. Okay. While you were with
Was the American Law Institute. We wrote the 11 Morgan Lewis & Bockius did you try any cases‘?j
little blurbs for the restatements My second 12 A. 1 co-chaired one trial.
summer 1 was a summer associate at Morgan 13 Q. And the nature of that trial,
Lewis & Bockius. 14 was that an employment issue?

Q. And when you said you wrote the 15 A. 1t was a restrictive covenant.
little blurb for the restatement, 1 take it 16 Q. And 1 take it the employer was
it's several sections that you worked on? 17 seeking -- you represented the employer then?

A. They gave us cases to read and 18 A. Yes.

we summarized them. 1t probably was numerous 19

sections.

Q. Restatement of What?

A. 1 have no idea.

Q. Fair enough. Morgan Lewis &
Bockius, when you did a summer intern 1 am

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Q. And 1 take it the employer was
seeking to enforce a restricted covenant?

A. 1 think it was the opposite.
The employer, our client, had hired somebody
and wanted to find the restrictive covenant
not valid, is my best recollection

5 (Pages 14 - 17)

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four or five years. That's my best
recollection

Q. And you continued with Klett in
the Philadelphia office, right?

A. Yes.

Q. Until sometime in 2001 ?

A. No, that's incorrect 2006.

Q. 2006. Okay. While with Klett,
whether in Pittsburgh or here, were you
assigned to a specific department or what?

A. Labor and employment

Q. While with Klett up until 2006
did you handle any matters on behalf of
universities or colleges concerning claims of
sexual misconduct by students or Title IX
violations?

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Q. That'S fine. HoW did it turn 1 A. I don't believe so.
out for you? 2 Q. Okay. Give me a general

A. We Won. 3 overview of what you mean by labor and

Q. Any other trials that you can 4 employment issues that you were focusing on?
recall? 5 A. So the firms 1 was at had broad

A. FroIn Morgan LeWiS? 6 labor and employment practices. So we would

Q. Yes. 7 represent employers in collective bargaining

A. Not that 1 recall. 8 negotiations, labor arbitrations, employment

Q. Fair enough. So you left in 9 matters between agencies and court, general
around January 1991, 1 take it to go someplace 10 labor and employment counseling, OSHA, things
else? 11 like that, issues that employers would have.

A. Yes. I Went to Klett Rooney 12 Q. Did you always represent the
Lieber & Schorling in Pittsburgh. 13 employer?

Q. Could you stay that again? 14 A. Always.

A. The firm had change names a 15 Q. While you were in that section
couple oftirnes, but 1 believe at that point 16 did you handle any cases involving claims of
it was Klett Rooney Lieber & Schorling. 17 sexual misconduct in the employment realm?

Q. And that's in Pittsburgh? 18 A. When 1 was at Klett’?

A. Yes. 19 Q. Yes.

Q. Okay. And how long did you l 20 A. 1 don't believe so.
Stay there? 21 Q. Okay. Did you try any cases

A. Some point in 2001, 1 believe 22 while you were at Klett?
the summer of 2001, 23 A. Yes.

Q. A11 right. So for 24 Q. And can you tell me the nature

Page 19 Page 21

approximately ten years or a little bit more? 1 of the cases that you tried? I take it it was

A. Yes. Wait. Let me correct 2 always labor and employment?
that. 3 A. Yes. 1 am not going to

Q. 1 am not going to hold you to 4 remember all the details. 1 think there were
the exact time. 5 age discrimination cases, gender

A. Klett opened a Philadelphia 6 discrimination cases.
office and 1 moved from Pittsburgh to 7 Q. Can you approximate for me how
Philadelphia. 1 believe 1 was in Pittsburgh 8 many trials you actually tried while at Klett

or would that be difficult for you to do?

A. 1t Would be difficult for me to
do.

Q. Okay. You were with Klett for
approximately 15 years, if my math is correct?

A. Yes.

Q. And so would you at least have
tried a case once every year or that Would
vary also?

A. 1t would vary.

Q. Of the cases that you tried
that you can remember, did you ever try any
cases involving claims of sexual misconduct
brought by anybody?

A. No.

Q. You left Klett in 2006 to go

6 (Pages 18 - 21)

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where? l don't have a list of names here -- but would

A. Klett merged with Buchanan 2 any of those cases have entailed claims of
Ingersoll and it became Buchanan Ingersoll & 3 sexual misconduct brought by an employee
Rooney. 4 against somebody else of the employer or the

Q. And so you continued on, then, 5 employer itself?
With Buchanan Ingersoll? 6 A. Not that I recall.

A. That's correct. 7 Q. Did you handle while with

Q. In the labor and employment 8 Buchanan Ingersoll any Title IX violations? 1
department? 9 will leave it one at a time. Claims of Title

A. Yes. 10 1X violation?

Q. And how long did you stay with l 1 A. That went to trial?
Buchanan Ingersoll? 12 Q. Well, no, just claims, period.

A. Until May of 2017. - 13 A. While 1 was at Buchanan I was

Q. And then you joined your 14 doing Title IX investigations for St. Joe's.
present firm? 15 Q. When did you start to do Title

A. That's correct. 16 IX investigation?

Q. And your present firm for the 17 A. 1 do not recall. My estimate
record is? 18 would be six or seven years ago.

A. Cozen O'Connor. 19 Q. Okay. Bear with me one second,

Q. While with Buchanan ' 20 if you would. When we take a break 1 am going
Ingersoll -- 1 may have asked you this -- did 21 to ask that we make copies of this, but for
you continue in the labor and employment 22 purposes of going through your credentials
section? 23 here 1 will -- when we do make copies of this

A. Yes, 1 did. 24 we are going to mark this as Exhibit-A.

Page 23 Page 25

Q. By this time were you a partner 1 MR. MYERS: Why don't you just
then? 2 mark that and we'll make copies with

A. 1 became a shareholder while 1 3 the sticker on it.
was at Klett and then that continued when we 4 _ _ _
merged With Buchanan. 5 (Whereupon, Exhibit Malloy-l

Q. Did you oversee the labor and 6 was marked for purposes of
employment section? By that 1 mean, were you 7 identification.)
the head of that section or were you one of 8 _ _ _
the attorneys in that section that was ` 9 MR. SCHWABENLAND: It's
overseen by somebody else? 10 Malloy-l.

A. 1 Was never a chair on the ll BY MR. SCHWABENLAND: :
Section. 12 Q. Ms. Malloy, while you're

Q. Okay. While with Buchanan 13 looking that over, if 1 can state, that was
Ingersoll did you -- 1 asked you this for 14 produced by the university and at the bottom
Klett -- but did you try cases? 15 there are Bates stamp numbers and if you just

A. Yes. 16 read that off on the bottom right.

Q. Okay. And would that again be 17 MR. MYERS: 1361.
cases involving labor and employment issues? | 18 MR. SCHWABENLAND: And then the

A. Yes. 19 second one is 1362, a two-page

Q. And would that always be on 20 document.
behalf of the employer? 21 BY MR. SCHWABENLAND:

A. Yes. 22 Q. That shows roughly 29 cases on

Q. Okay. Would any of those cases 23 there, starting with, I believe, a January of
that you can remember -- 1 understand you 24 2015 claim on the first page there and it goes

7 (Pages 22 - 25)

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to 2018. Then 1 believe that the university,

with my thanks, placed on there your initials,
"EM," on any cases that you handled during the 1
investigation So some of those 29 cases,

some of those were handled by somebody else, I
take it. Is that your understanding?

A. 1 can't make an understanding
from the document, obviously.

Q. F air enough. l

A. But 1 have worked with another
person or two at my firm.

Q. Okay.

A. So yes, 1 would not do them
all.

Q. Okay. But the only reason 1
show that to you now is that at least those
two documents are for a claim in January of
2015; am 1 correct, at the top there?

A. Yes.

Q. Okay. But you believe that you
started to do investigation into sexual
misconduct claims earlier than that, right?

A. 1 thought it was longer. 1
don't have a firm recollection of that.

Page 27

Q. Okay. Well, we'll make an
inquiry to see if there were any other cases
before you. 1 will represent to you that the
sexual misconduct policy became effective at
St. Joe's university as of June 2015 and
during the 2015 period before that starting in
January there was an interim sexual misconduct
policy in place, but before that they didn't
have a separate sexual misconduct policy. The
only reason 1 throw that out to you, do you
believe that you were involved in any
investigations on behalf of the university
into claims of sexual misconduct prior to
201 5 ?

A. 1 have no firm recollection of
that, It just seems to me that 1 did it for
more than three years, but I have no firm
recollection of that,

Q. Okay. Thank you. You can put
that down or aside. We'll get to that later.
But you believe while with Buchanan Ingersoll
you were doing investigative work on sexual
misconduct claims for St. Joe's University?

A. Yes.

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Q. And at least, you were doing
that in 2015 if not beforehand, right?

A. Correct.

Q. Okay. And you continued to do
that until you left Buchanan Ingersoll?

A. Yes.

Q. And did you continue to do that
since joining Cozen O'Connor?

A. Yes.

Q. While at Buchanan Ingersoll,
other than doing investigative work for St.
Joe's University involving Title IX violations
or sexual misconduct, did you do any such
investigation on behalf of any other teaching
institution or university or college?

A. Yes.

Q. And What other institutions
have you done work for?

A. 1 don't feel like 1 can
disclose client names.

Q. Oh. Okay. How many were
there?

A. One.

Q. Okay. And is that in the

Page 29
Philadelphia area?

A. Yes.

Q. And when did you start to do
investigation for that one teaching
institution?

A. It's hard for me to put it in
any time frame. 1 would estimate three to
four years ago.

Q. Okay. So was that before or
after you began with St. Joe's University?

A. 1 believe it was after.

Q. After. Okay. And have you
continued to do investigative work
periodically for that teaching institution?

A. I have not been asked to do
anything else.

Q. 1f you can approximate for me,
When Was the last time that you did any
investigative work into Title IX violations or
claims of sexual misconduct for that other
teaching institution?

A. When was the last time 1 did
it?

Q. Yes.

8 (Pages 26 - 29)

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A. 1 only did one and, my best 1 it as hostile work environment It was l
estimate, it was three to four years ago. 2 somebody who was claiming they should have '

Q. Okay. 3 been promoted. '

A. May 1 ask a clarification? 4 Q. But for that one that you did,

Q. Sure. 5 that teaching institution, that didn't involve

A. So 1 understood your question 6 a claim of sexual misconduct, right?
to be Title IX, sexual misconduct 7 A. The latter one, the 2017 one,

Q. Yes. 8 did not.

A. Title IX also applies to 9 Q. Okay. And how about the other
employees in an area that would not 10 one that you identified that you did one

 

 

necessarily be sexual misconduct, 11
Q. Okay. 12
A. And 1 represented one other ; 13
teaching institution -- not represented 1 14
did an investigation for one other teaching 15
institution 1t was a claim by a faculty 16
member against a faculty member. 1t was not 17
misconduct, but 1 wanted to make sure 1 18
understood your question 19
Q. 1s that another institution 20
other than the one you said you did work for ' 21
and then St. Joe's? 22
A. It is. 23
Q. How many investigations did you 24
Page 31
do for that teaching institution, that one? 1
A. Just one, 2
Q. And when about did you do that? 3
A. It was while 1 was leaving 4
Buchanan to come to Cozen So it was spring, 5
summer of 201 7. 6
Q. Okay. And the nature of that 7
claim was one employee of the school? 8
A. Yes. 9
Q. Was that a faculty member -- 10
A. Yes. 1 1
Q. -- was making a claim against 12
another faculty member? 13
A. Yes. 1t had to do with tenure 14
proceedings, 1 believe. ' 15
Q. Okay. 1 6
A. Promotion and tenure. 17
Q. Okay. And was the nature of 18
that claim in the nature of harassment or 19
hostile work environment or what, if you can 20
recall? 2 1
A. 1t was gender and race. 22
Q. Discrimination? 23
A. Yes. I Would not characterize 24

investigation for?

A. The earlier one 1 Would
characterize as sexual misconduct.

Q. And would that be a student
claim against another student or --

A. Yes.

Q. Okay. Was that the first
investigation you did in the nature of higher
education and claims of sexual misconduct or

had you --
A. Other than St. Joe's?
Q. Yes.
A. 1 believe it was the first

other than St. Joe's. 1 had started the St.

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Joe's ones earlier.
Q. Okay. While at Buchanan
Ingersoll -- 1 will finish up that and get to
your present firm -- 1 take it you continued
in the labor and employment section?
A. Yes.
Q. And did you handle any claims
of sexual misconduct against an employer or
representative of the employer?
A. 1'm sure 1 handled sexual
harassment claims.
Q. Okay.
A. 1'm not sure if you're making a
distinction between harassment and misconduct
Q. Unless the sexual harassment is
in the nature of seeking favors or sexual
gratification, that's what 1 am referring to.
MR. MYERS: Could you restate
the question, because 1 don't
understand it at this point.
MR. SCHWABENLAND: Sure.
BY MR. SCHWABENLAND:
Q. You just raised a good point.
You handled sexual harassment claims. There's

9 (Pages 30 - 33)

 

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also sexual misconduct claims where one l A. 1 believe so. So the sexual
employee might accuse another employee, such 2 misconduct policy refers to -- 1 believe it'S
as a supervisor, of trying to gain sexual 3 called non-discrimination, harassment,
favors, right? That's what I am referring to. 4 anti-retaliation policy. So those two
While you were with Buchanan Ingersoll did you 5 policies can apply to any given situation
handle any of those claims, if you can 6 Q. Okay. But the reason 1 raise
remember? 7 this now is, did you do any investigation for
A. Not that 1 recall. I believe 8 St. Joe's or have you done any investigation
they were strictly what I would call sort of 9 for St. Joe's when there are claims of -
hostile work environment claims. 10 nonsexual Violations? l
Q. Okay. Then when you joined 1 l A. 1 have, but they Would not be
Cozen O'Connor, you're a partner there? 12 regarding students.
A. Member. 13 Q. So they would be regarding a
Q. Member. Okay. 1 am not sure 14 faculty member or employees of the university?
how they have their firm set up. But are you 15 A. Yes. l
in the labor and employment section? 16 Q. Okay. How many can you recall
A. Yes, 1 am. 17 doing? Is this an infrequent thing?
Q. Do you continue to represent 18 A. My best recollection is maybe
only employers? 19 two a year.
A. Yes. 20 Q. Okay.
Q. And you have continued to do 21 A. TWO to three a year, and not
periodic investigation for St. Joe's 22 every year.
University up until the present? 23 Q. And Would this be even before
A. Yes. 24 they formed the sexual misconduct policy in
Page 35 Page 37
Q. And would all those l 2015?
investigations have involved some type of 2 A. That doesn't mean anything to
claims of sexual misconduct? 3 me, so it's hard for me to judge. So is your
A. Under the sexual misconduct 4 question is it before 2015?
policy? 5 Q. Yes, ma'am.
Q. Yes. 6 A. 1 believe so.
A. Yes. 7 Q. Okay. And are you able to
Q. But you interact with a number 8 estimate how far it has gone back other than
of people at St. 1 oe's University; is that 9 what you've already said? 1 think you said
correct? 10 six or seven years. '
A. Yes. 11 A. That's my best estimate.
Q. By "interaction," I mean you 12 Q. Okay. Would there be any
have contacts with them. And one of those 13 way -- not now, but when you get back to your
contacts would be the section called Community 14 office -- of checking what work you may have
Standards; is that correct? 15 done before 2015 on behalf of St. Joe's
A. Yes. 16 University? l
Q. And Mr. Bodak [sic] heads up 17 A. There is not, because 1'm no |
that section; is that your understanding? 18 longer at Buchanan, so 1 don't have access to
A. Bordak, yes. 19 that.
Q. Bordak, And the reason 1 say 20 Q. Oh. Okay. 1 started to ask
that, at least since 2015 there's a separate 21 you the questions about if you performed any
policy for the handling of sexual misconduct 22 investigations of any claims that were
claims as opposed to nonsexual misconduct 23 nonsexual in nature and you said there have
24 when they involve employees of the university

claims; is that your understanding?

10 (Pages 34 - 37)

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or staff members, right?

A. Correct.

Q. What would be the nature of
those claims, then? Would that be tenure

again or some type of harassment or anything

like that, or discrimination?

A. There's been various ones. 1
don't believe any of them have been sexual
harassment

Q. And have any of them, to your
knowledge, been Title IX violation claims?

A. Well, Title IX does apply to
employees

Q. That's right.

A. There may have been This is
generally.

Q. Sure.

A. They've generally been an
employee who doesn't get along with their boss

or doesn't see eye to eye with their boss and
may have been disciplined, for example.

Q. Or, 1 take it, tenure issues?

A. I've not done a tenure one for
St. Joe's.

 

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Q. Okay.

A. So, to answer your question, if
an employee claims they have some problem with
their boss and it's on account of gender, my
opinion would be, in the big picture that
could be Title IX.

Q. Okay. Looking at Exhibit-1
there, do you believe that there are
additional investigations you have done during
that time period of January 2015 to the
present, 2018, involving claims by employees
or staff members of the university of some
type of nonsexual impropriety?

A. Yes.

Q. And since joining Cozen
O'Connor, and that would be in 2017, would you
be able to determine what other cases you've
handled on behalf of St. Joe's University to
investigate?

A. 1 believe so.

Q. Okay. Now, When you handle
those nonsexual claims --

A. Let me maybe clarify your
question

 

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Q. Go ahead.

A. lt looks like this sheet was i
based on the sexual misconduct policy.

Q. That's my understanding

A. So my other investigations
would be based on the nondiscrimination

Q. Okay. And in those type of
cases were you asked by Community Standards to
do the initial investigation?

harassment policy. `

A. There's been a change in their
process I would typically have not been
asked by Community Standards. 1 would be
asked by human resources The human resources
person resigned recently.
Q. Who is that?
A. Nancy DuBois was her name, And
I believe on an interim basis, until that
position is filled, Mary-Elaine Perry has
taken over that role.
Q. And it's my understanding that
Ms. Perry is the Title IX coordinator?
A. Yes.
Q. And it's my understanding, if l

___ 1

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you know, that Ms. Perry, Dr. Perry is --
plans to leave the university?

A. I've not heard that.

Q. Okay. You don't know anything
about her being an interim Title IX
coordinator at present?

A. 1 always thought she was the
Title IX coordinator. I've never heard
interim.

Q. Dr. Perry was already deposed
here, It's my understanding she's the vice
president and in addition to that she was
assigned to be the Title IX coordinator. Is
that your understanding?

A. That's my understanding,

Q. And in addition to that she has
also assumed the interim role as head of HR?

A. No. I believe -- and this
happened relatively recently and 1 think it's
just to fill in until this other person is
replaced -- she was asked to handle being the
coordinator with investigators -- and 1 am not
the only one -- investigators on faculty/staff
complaints, non-student complaints

11 (Pages 38 - 41)

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24 just let you look it over.

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1 Q Okay. But any faculty/staff 1 MR. MYERS: Ifyou're going to
2 complaints are handled through HR, right? 2 have questions about the document, I
3 A. Correct. 3 would like it to be marked.
4 Q. And not through community 4 MR. SCHWABENLAND: Okay. Then
5 service [sic]? 5 mark it.
6 A. That is correct. 6 _ _ _
7 Q. And tell me the procedure. Are 7 (Whereupon, Exhibit Malloy-2
8 you the investigator and decision maker in 8 was marked for purposes of
9 that or are you the investigator who issues a 9 identification.)
10 report and it goes to a hearing officer? l 10 _ _ _
11 A. There's multiple investigators, 11 BY MR. SCHWABENLAND:
12 so I am not at all the only one, but 1 issue a ' 12 Q. Are you familiar with that?
13 report with findings and conclusions and 13 A. l am.
14 provide that to the university, 14 Q. For the purposes of the record,
15 Q. Okay. 15 it's marked as Exhibit-2 Am 1 correct that
16 A. 1 don't believe there's a 16 that was submitted by you on behalf of your
17 hearing. 17 employer, Cozen O'Connor, to the university on
18 Q. And 1 take it that would be in 18 March 5th, 2018 and it was submitted to Carey
19 accordance with the employee handbook, then? 19 Anderson, the vice president, care of Marianne
20 A. Policy. 20 Schimelfenig, as general counsel. Did 1 read
21 Q. Policy. Okay. 1 am jumping 21 that correctly?
22 ahead here, It's my understanding that you, ' 22 A. Yes.
23 Cozen O'Connor, presently has an engagement 23 Q. And, essentially, am 1 correct
24 letter for 2018 With St. Joe's University, 24 that it's for the period from January 1, 2018 _
Page 43 Page 45 l
1 right? 1 through December 31, 2018? It's on the bottom
2 A. Correct. 2 on the first page.
3 Q. Did you have any engagement 3 A. Correct.
4 letter with St. Joe's University before? l 4 Q. And, again, if 1 understand
5 A. Yes. 1 5 correctly, Cozen O'Connor is placed on a
6 Q. Okay. And so was there an 6 retainer of $5 ,75 0 a month; is that correct?
7 engagement letter each year with St. Joe's 7 A. Yes.
8 University? 8 Q. And plus there are expenses
9 A. 1 believe so. 9 that you may incur doing what you need to do,
10 Q. Are you familiar with the 10 right?
1 1 engagement letter in place? 11 A. Yes.
12 A. Yes. 12 Q. And in accordance with that
13 Q. The present engagement letter, 13 agreement that would cover any investigation
14 as 1 understand it, this is for 2018, and a 14 performed by you in the area of sexual
15 letter was issued in March of 2018 but made 15 misconduct claims up to 11?
16 effective for all of 2018, Is that your 16 A. Yes.
17 understanding? 17 Q. Okay. And then what happens if
18 A. 1 don't recall. 18 there's more than 11?
19 Q. Okay. Let me hand it to you. 19 A. The agreement says if there is
20 We are not going to make in an exhibit, but 1 20 more than 11, investigations will be outside
21 am going to identify this as SJU Bates stamp 21 of the retainer and billed at some agreed-upon
22 1052 up through 1055. Let me hand it to you, 22 rate. .
23 1 am going to have some questions, but 1'11 23 Q. So that's later to be
detennined?

12 (Pages 42 - 45)

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A. Correct. 1 over? Explain that to me.

Q. 1n looking at the Exhibit-1 2 A. If we would have 10
there, at least from 2015 to 2018, 1 don't . 3 investigations, not 11, then in the following
believe that any of those -- the number of 4 year retainer the university would get a
claims exceeded 11 any given year, either by l 5 credit. They all get worked out on a
the ones you did -- and that would include the 6 year-to-year basis, but next year might be 12
ones you did along with what others may have 7 investigations for the same flat rate.
done? 8 Q. But how about, again, if

A. Correct. 9 there's only six cases?

Q. So if you are on a monthly 10 A. 1 guess that would need to be
retainer, that comes up to about $69,000 per l 11 deterrnined. But the agreement says if there
year that the firm is retained by the 1 12 are fewer than 11 the firm agrees to give a
university; is that correct? 13 credit the following year.

A. I didn't do the math, but that 14 Q. Okay. So the credit means that
sounds close. 15 you would add on the number of cases for that

Q. 1 did. Take my word for it. 16 same agreed-upon monthly fee?

If there are less than l 1, then whatever that 17 A. Correct. j
number is you'll do and you still get the 18 Q. Okay.

total amount of $5,750 per month for 12 l 19 A. But 1 would say if there were
months, right? 20 only six, for example, we might refund money.

A. Yes. And then the letter says 21 We would have to deal with it on a
that the university would be given a credit 22 case-by-case basis.
the following year if there's fewer. 23 Q. If my calculations are correct,

Q. A credit. Okay. So if 1 24 on Exhibit-Z, in 2015 there were six cases of

Page 47 l Page 49
understand correctly, you are now paid a flat l sexual misconduct claims that you handled and
fee for each -- in 2018 a flat fee for each 2 three others were handled by somebody else for
investigation or case you handled? 3 a total of nine. Go ahead and take a look at

A. That's not correct. We are 4 it. 1 should warn you, there is a number out
paid a fiat fee per month. 5 of date sequence there, but it's 2015.

Q. Per month. But that per month 6 A. 1 see it down here. So 1 am
would cover up to 11 cases, right? | 7 counting nine for 2015.

A. Correct. 8 Q. And 1'11 finish this up while

Q. And so if there's six cases you l 9 you've got it. In 2016 1 believe it shows
would handle then you would get a fee of at 10 that there were eight cases of sexual
least six times $5,750, right? 11 misconduct claims investigated by you for that

A. 1 don't understand your 12 year.
question 13 A. That's what the document shows

Q. If you handle a case you don't 14 Q. And in 2017 there were four
get more than the monthly retainer, right? 15 sexual misconduct claims handled by you and

A. Correct. We get the monthly l 16 three others were handled by somebody else or
retainer every month. 17 one or more other people, so for a total of

Q. And in 2018 have you continued l 18 seven, it should be?
to get a monthly retainer every month? l 19 A. 1 am counting eight for 2017.

A. Yes. 20 Q. We'll go with your thing. And

Q. Now, you said it's carried over 21 in 2018 how many have there been by you and -
if you don't get 11? 22 the others? ,,

A. Correct. 23 A. According to this document

Q. So what do you mean, carried

24

there is three for me for 2018 and one by
13 (Pages 46 - 49)

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somebody else. l Q. Okay. And each case would be

Q. So there's four. Okay. To 2 billed separately and submitted to what, HR?
your knowledge, has there been an engagement 3 A. Yes.
letter issued for each year, 2015, 2016, 2017, 4 Q. Your yearly engagement letters
2018? 5 for 2015, 2016, 2017, that would reflect,

A. 1 believe so. 6 whatever it was, a flat monthly fee going to

Q. Okay. And has the monthly fee 7 the firm by the university, right?
increased or been the same, if you know? 8 A. Yes. 1t would be similar up to

A. 1 believe it's decreased. 9 a certain number of investigations

Q. Decreased. Okay. Do you know 10 Q. Okay. But do you know if the
what it was last year? 11 cases, for instance, 2018, the payments there

A. 1 don't have an exact number, : 12 on a monthly basis would include coverage for
but I believe it was $6,000. lt was a little 13 investigations of up to 11 cases, right?
bit higher than the 5,750. 14 A. Correct.

Q. Do you know if it has decreased 15 Q. Do you know if the same number
each year from 2015 to 2018, if you know? 16 of cases were in effect for previous

A. 1 don't know that for sure. 17 engagement letters?

Q. 1 will follow through with one 18 A. The number has definitely come
other thing. Do you know if it increased at 19 down 1 don't know if it has come down every
all from 2015 to 2016 or 2017? 20 single year.

A. 1 do not believe that it has l 21 Q. Okay.
increased. 22 MR. MYERS: In the next ten

Q. Okay. Now, am 1 correct that 23 minutes 1 would like a five-minute
the engagement letter only refers to your 24 break, since we have been at this for

Page 51 Page 53
handling -- by you 1 mean your firm's handling l 1 an hour.
of sexual misconduct claims? l 2 MR. SCHWABENLAND: Why don't we

A. Yes. l 3 take a five-minute break,

Q. And so is there a separate 4 MR. MYERS: It's your call.
engagement letter if you handle investigations 5 MR. SCHWABENLAND: Okay. Thank 1
for nonsexual claims, such as HR asking you to 6 you. |
do that? 7 _ _ _ 1

A. 1 believe so. 8 (Whereupon, a recess was held

Q. And is that a fiat fee, monthly 9 from 11:00 a.m. to 11:07 a.m.)
retainer? 10 _ _ _

A. 1t is not. 1'm sorry to 11 BY MR. SCHWABENLAND:
interrupt you. l 12 Q. Do you believe that your firm,

Q. That's okay. You didn't. 1s ' 13 Cozen O'Connor, would have any other
that by the hour, then? l 14 engagement letters with the university other

A. Yes. 15 than the March 5th, 2018 one that's marked

Q. And your fee for that 16 Exhibit-Z?
investigation, 1 take it for those types of 17 A. I don't believe so.
cases there in all likelihood would be more 18 Q. Okay.
time spent for your investigation? 19 A. When we came from Buchanan we

A. It really depends 20 took some stuff with us, but, like, 25 people

Q. Okay. Your hourly fee for 21 moved at the same time, so we weren't able to
those investigations as of this year, what is 22 take extra stuff ,
it? 23 Q. When you were with Buchanan you

A. 1 believe it's 8400 an hour. definitely started to do work for St. Joe's

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14 (Pages 50 - 53)

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University, right? 1 A. 1 am not aware of anybody.

A. Correct. 2 Q. How about when you were at

Q. Okay. And were other l 3 Buchanan Ingersoll, same question?
individuals doing Work for St. Joe's 4 A. 1 would not be aware of anyone
University in the nature of investigating 5 else.
sexual misconduct claims or policies? 6 Q. Okay. When you were with

A. At Buchanan? 7 Buchanan Ingersoll, did that firm represent

Q. Yes. 8 St. Joe's University, to your knowledge?

A. Yes. 9 A. No.

Q. And were they doing it before 10 Q. And other than you doing
you started? l ll investigations, either appointment by HR or

A. No. 12 staff-related claims, Whether Title IX or

Q. And so were you the primary 13 nonsexual claims, or doing sexual misconduct
person when you were at Buchanan Ingersoll to 14 claims by students -- 1 just forgot my '
do the investigative work for St. Joe's 15 question,
University on sexual misconduct claims? l 16 MR. MYERS: 1 was going to

A. 1 would agree with that, yes. l 17 object. You saved me,

Q. And 1 take it that the other 18 BY MR. SCHWABENLAND:
attorneys that did investigation on sexual 19 Q. Let me go back to Buchanan
misconduct claims at the University of St. 20 Ingersoll, if 1 may. When you were at
Joe's, they were also employed by Buchanan 21 Buchanan Ingersoll -- and I think 1 just asked
Ingersoll? 22 you this -- did that firm, to your knowledge,

A. Yes. 23 represent St. Joe's University for any reason?

Q. And when you left to go to 24 MR. MYERS: Other than?

Page 55 Page 57

Cozen O'Connor did those attorneys go with 1 MR. SCHWABENLAND: Other than
you? 2 your investigation.

A. They did not, ' 3 MR. MYERS: Other than through

Q. Okay. Did they continue to do 4 Elizabeth Malloy?
any work, to your knowledge, after you left 5 MR. SCHWABENLAND: Yes.
Buchanan Ingersoll? 6 THE WITNESS: Not that 1 am

A. Not that 1 am aware of. 7 aware of.

Q. And since joining Cozen 8 BY MR. SCHWABENLAND:
O'Connor 1 take it that there is, what, one or 9 Q. Same question, while you're at
two other attorneys if you're not available : 10 Buchanan Ingersoll, did anyone, to your
who would do the investigation? 11 knowledge, represent any individuals who were

A. Yes. 12 associated with St. Joe's University?

Q. And do you assign the person 13 A. Not that 1 am aware of.
who is to do the investigation? 14 Q. Did you ever represent any

A. Bill Bordak can call whoever he 15 individuals who were associated with St. Joe's
chooses 1 believe he generally calls me and 16 University?
then we try to figure out based on 17 A. No.
availability and schedules who would be the 18 Q. And since joining Cozen
best person. 19 O'Connor do you know if that firm does any

Q. Okay. Do you know if there are 20 other work for St. Joe's University?
any other attorneys in other firms who perform 21 A. It does not,
investigative work now for St. Joe's 22 Q. Since joining Cozen O'Connor
University on sexual misconduct claims other 23 have you represented the school for any other
than your firm? 24 reason?

15 (Pages 54 - 57)

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A. No. l A. 1 believe so.

Q. Have you represented any other 2 Q. Okay. And Who Were you
individuals associated with the school? 3 interviewed by?

A. No. 4 A. 1 don't recall the individual's

Q. And 1 take it both while you 5 name. 1t was the provost. 1t was a
were at Buchanan Ingersoll and presently at 6 gentleman.
Cozen O'Connor you don't handle any labor or 7 Q. Okay. Did you have a meeting
employment issues on behalf of St. Joe's 8 With the provost and other people or just the
University? 9 provost?

A. That's correct. l 10 A. 1 sort of recall there being

Q. How did you come to be : 1 l two people there, but 1 don't know Who the
contacted about representing St. Joe's by ' 12 other person was.
handling investigation of claims? 13 Q. HoW about Ms. Schimelfenig, Was

A. Ms. Schimelfenig called me at 14 She there?
some point. 15 A. 1 don't believe so.

Q. And had you known her? 16 MR. SCHWABENLAND: Off the

MR. MYERS: Ed, you said l 17 record.

"represented St. Joe's" and 1 don't 18 - - -

think you meant that. 1 think you 19 (Off the record)

meant retained by St. Joe's, but 1 20 - - -

just would like the record to be 21 BY MR. SCHWABENLAND:

clear. 22 Q. And so what did you discuss?

MR. SCHWABENLAND: So you want 23 A. We discussed my academic
me to rephrase that? 24

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MR. MYERS: 1f you Would.
MR. SCHWABENLAND: Okay.
BY MR. SCHWABENLAND:

Q. Put in the Word retain and you
said Ms. Schimelfenig contacted you?
A. Correct. l
Q. Had you known her before that?
A. 1 did not.

Q. And, again, you wouldn't know
when this was, would you?

A. 1 do not.

Q. And what did she say? What did
she ask you?

A. 1 believe she said that there
was a need for an investigation, it was a
nonsexual misconduct claim, and that she had
received my name from somebody, as 1 recall,
and is that something 1 Would be Willing and
available to do.

Q. Okay. Do you know who she
received your name from?

A. 1 do not.

Q. So did you go and were you
interviewed by anybody at St. Joe's?

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background, 1 think, for the most part.

 

 

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Q. What was your academic
background as of that time, whenever you were
talking?

A. Archbishop Prendergast High
School, Catholic University of America,
Villanova.

Q. How about the training that you
had, anything?

A. We may have. 1 don't remember
that meeting in a lot of detail.

Q. Did they ask you any questions
about training that you had to conduct the
investigations, anything like that?

A. 1 don't remember.

Q. How soon after that did you
begin to do work for them?

A. My recollection is within a
couple of Weeks.

Q. Okay. So 1 take it you
initially spoke about your fee for services?

A. Probably.

Q. When you first started was that
on an hourly basis?

A. Yes.

16 (Pages 58 - 61)

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Q. And, again, this Would involve
an investigation into a nonsexual matter
involving faculty?

A. Yes. 1t was under the
nondiscrimination policy.

Q. Okay. And so you did that one
investigation. How soon did you get any other
investigations?

A. 1 don't recall. As 1 think 1
said earlier, there's probably been one to 10
three a year, two to three a year. 11

MR. SCHWABENLAND: Just for the 12

record, 1 am going to ask you -- and 1 13

will send you a letter -- the 14

university produce records concerning 15

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the other investigations, if they do 16
exist. 1 7

MR. MYERS: You go ahead and 18
ask. You're beyond the discovery 19

period. We will take it up and we 20

will make a decision. 21
MR. SCHWABENLAND: Thank you. 22

BY MR. SCHWABENLAND: 23
Q. Let's go to your meeting with 24

Page 63
the provost. You believe there was one
meeting before you began the assignment?

A. Yes.

Q. And was that the only meeting
you had? 1 said the meeting with the provost.
Did you meet with anybody else concerning youi
undertaking to review or investigate claims?

A. No, 1 do not believe so, just
one meeting.

Q. Okay. So other than talking 10
about your educational background and Who you 11

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are with and perhaps a fee for services, was 12
there any discussion concerning your training 13
or anything? 14

A. There may have been. 1 don't 15

remember much about that meeting. 16

Q. Okay. Do you know how you came 17
to be selected to perform investigations 18
concerning sexual misconduct claims by 19
students involving Title IX violations? 20

A. Ms. Schimelfenig called me. 21
Q. 1s this after you got a ca11 22

from her and you met With the provost? 23
A. Well after.

24

Page 64

Q. Well after? Okay. And what do
you recall of the discussion?

A. 1 believe she said that they
were changing the process at the university, l
that investigations may have been done 1
internally with some public safety involvement
and that she was involved with Community
Standards and outside counsel to change the
process.

Q. Okay. And did she get into
what that process would look like?

A. 1 don't believe it Was on that
phone call, but eventually 1 did learn what
the process would look like,

Q. Up until that time were you
aware of What the process had formerly been at
St. Joe's University?

A. 1 had not been involved in any
sexual misconduct investigations prior to when
we started doing them, I learned through the
process of being retained a little bit about
it, but 1 would have no first-hand knowledge

Q. Okay. Again, 1'11 represent to
you that the sexual misconduct policy became

Page 65
effective as of June 2015 and the interim was
in place effective as of January of 2015,
Were you involved with formulating that
policy?

A. No.

Q. Were you involved in advising
the university as to any aspects concerning
Title IX?

A. No.

Q. Had you taken any courses as of
that time involving any Title IX continuing
legal education courses in that field?

A. Yes.

Q. And when did you first take
courses involving Title IX issues?

A. Probably over the last 10 to 12
years.

Q. And --

A. 1 am an employment lawyer and
Title 1X is an employment statute.

Q. Okay. And have you presented
matters over the last ten years involving
Title 1X employment issues?

A. Presented training?

17 (Pages 62 - 65)

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Page 66 Page 68
Q. Yes. 1 A. Title IX.
A. No. 2 Q. Okay. And when was that?
Q. Have you presented any issues 3 A. Within the last three years, 1
or discussions? Have you spoken with any 4 believe.
legal groups or anything concerning that? 5 Q. And that was an all-day seminar
A. On any topic? On what topic? 6 on Title X?
Q. On employment Title 1X 7 A. Yes.
violations? 8 Q. 1nvolving all aspects of Title
A. 1 mean, 1 speak a lot on 9 1X'?
employment issues. 1 don't recall anything 10 A. Yes.
specifically on Title IX. 11 Q. Is this where you choose to go
Q. Okay. By the way, you are an 12 to different sessions or it's --
attorney in good standing in the Commonwcalth 13 A. No. 1 think it was just one
of Pennsylvania; is that correct? 14 day. You had to sit through whatever they l
A. 1 am. 15 were presenting 1 don't believe there were '
Q. Okay. And are you admitted to 16 any break-out groups, if that's what you're
any other states? 17 referring to.
A. No. 18 Q. Were there any presentations
Q. And are you admitted to federal 19 done that you can recall concerning the
practice? l 20 handling of claims of sexual misconduct,
A. Yes. 21 claims raised by students in a university
Q. As an attorney in good standing 22 setting, how they should be handled?
you have an obligation, as we all do, to take 23 A. 1 don't remember anything that
continuing legal education courses; is that 24 specifically.
Page 67 Page 69
correct? 1 Q. Okay. Was there any discussion
A. Yes. 2 that you can recall, at Villanova when you
Q. Have you taken any continuing 3 attended, of any Dear Colleague Letters?
legal education courses concerning 4 A. There may have been. 1 don't
investigation into sexual misconduct claims by 5 remember.
Students involving Title IX violations? 6 Q. Are you familiar with Dear
A. 1s your question limited to for 7 Colleague Letters?
CLE credit? 8 A. 1 am.
Q. No. Well, 1 Will limit it to 9 Q. Are you familiar with Q&As that
CLE credit then 1 will expand. ' 10 accompanied Dear Colleague Letters?
A. 1 have taken courses, 1 don't 11 A. Yes.
believe for CLE credit. 12 Q. Do you know when the last Dear
Q. Okay. And when have you taken 13 Colleague Letter and Q&A came out?
these courses and who put them on? 14 A. lt was last fall, 2017.
A. 1 am not going to have a 15 Q. Okay. And so that would be
recollection of that, 1 have done a number of 16 2017?
them over the years. 17 A. Yes.
Q. Do you know what organizations 18 Q. And do you know when the
have put it on? 19 previous one was, if you know?
A. 1 do specifically recall one by 20 A. 1 believe it was 2011.
Villanova University Law School. That was an 21 Q. Okay. When did you first
all-day seminar there, that's Why 1 remember 22 become acquainted with Dear Colleague Letters?
that one, 23 A. 1 don't know.
Q. What was the seminar about? 24 Q. What 1'm trying to figure out

18 (Pages 66 - 69)

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is, let's assume there was a 2011 one, did you
become acquainted with a Dear Colleague Letter
close to the time that it came out or later on
did you become acquainted with it?

A. 1t would be close to the time
it came out.

Q. Okay. And so what was your l
purpose for becoming acquainted with that?

A. 1 am a labor and employment
lawyer and 1 try to read as much new material
on anything that touches any aspect of my
practice as 1 can.

Q. Okay. And your conversation
with Ms. Schimelfenig about perhaps
investigating sexual misconduct claims by
students, that conversation was well before, 1
guess, the Dear Colleague Letter in 2017?

A. Yes.

Q. Would it have been shortly
before the sexual misconduct policy became
effective at St. 1 oe's University in the year
201 5 ?

A. 1 believe so. 1've told you
before, that date doesn't necessarily mean

Page 71
anything to me, but it Would be before the
revised sexual misconduct policy came out.

Q. Okay. You mentioned Villanova
University had a presentation about Title IX.
Can you recall any other organizations?

A. 1 read the information almost
every year that comes out from the NACUA,
National Association of College and University
Attomeys, and 1 have attended a couple
webinars, is probably the proper word for
that,

Q. A webinar is where you sit in

your office and take a web course?
A. Right.
Q. Okay.
A. The Villanova one was in
person.

Q. NACUA, do you recall when you
first took a course with them?

A. 1 don't recall the first time,

Q. Would it have been before you
became an investigator?

A. Yes.

Q. Do you recall if it was While

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you were With Buchanan Ingersoll?

A. Probably.

Q. Do you have a list of these
courses that you Would have taken?

A. 1 do not.

Q. So there is no way of telling
what courses you have taken?

A. Correct.

Q. How about training, have you
received any training as an investigator?

A. Well, 1 probably would use
"courses" and "training" the same. 1 have
been to webinars and seminars that address
investigations,

Q. And, again, can you identify
any?

A. NACUA, 1 believe that there
were a few by law firms.

Q. A few by?

A. By law firms.

Q. Okay. Do you recall what law
firms?

A. 1 do not.

Q. Okay. How about, there's an

Page 73
organization called ATlXA, A-T-I-X-A, are you=
familiar with that?

A. 1 am not. If you tell me what
it stands for 1 might be, but 1 am not
familiar with the acronym.

Q. Association of Title IX
Administrators. That's A, association, T is
for title, 1X is Roman numeral for nine, and l
then A is the administrators

A. I've heard of them.

Q. But you have not taken any
courses with them?

A. 1 don't believe so.

Q. And have you gotten any of
their literature?

A. 1 read a lot of stuff. 1 am
not recalling anything in particular from
them,

Q. Do you belong to any
associations that focus on Title IX?

A. No.

Q. Have you ever been a member of
any association that focuses on Title IX?

A. No.

19 (Pages 70 - 73)

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1 Q. Do you hold any certifications 1 Did you have to go and meet with anybody else
2 to be a Title IX investigator? 2 about the sexual misconduct policies before 1
3 A. No. 3 acting as an investigator?
4 Q. When you began to do work for 4 A. 1 believe it was after 1 was
5 St. Joe's University that involved acting as l 5 already or being retained to be the
6 an investigator of sexual misconduct claims or 6 investigator, there was a meeting with a large
7 Title IX violations raised by students did you 7 number of people to talk about the process
8 get a copy of the student handbook? 8 going forward.
9 A. 1 don't remember that, 1 was 9 Q. Okay. Who did you meet with?
10 given copies of the policy. l 10 Do you recall?
11 Q. Of the sexual misconduct l 11 A. lt was a big group of people.
12 policy? 12 1 believe all the Community Standards people
13 A. Yes. 13 were there, public safety, athletics, all of
14 Q. Did you do any investigation of 14 the Title 1X people, there's multiple ones,
' 15 sexual misconduct claims raised by students at 15 Residence Life. Outside counsel was there.
16 St. Joe's University before seeing the sexual 16 Ms. Schimelfenig was. That's all 1 recall.
17 misconduct policy or it became effective? 17 lt was a relatively big meeting.

18 A. Or the interim version of it? ` 18 Q. Who was outside counsel? |
l 19 Q. Yes, 2015. 19 A. 1 do not know, I believe it '
20 A. 1 am not remembering the time 20 was Saul Ewing. 1 do not know the gentleman's

21 frame, but 1 would have seen a copy of the 21 name,

22 policy. 22 Q. Have you since had any

23 Q. Okay. Were you asked to 23 communication with this gentleman?

24 comment on that policy at all? 24 A. 1 have never talked to him l

Page 75 Page 77 l

1 A. 1 was not. 1 other than at that meeting.
2 Q. So you provided no advice to 2 Q. Okay. Would this have been
3 the university about the wording of the policy 3 around the time period of the Dear Colleague
4 or the procedures to be followed? 4 Letter that came out in September of 2017?
5 A. That's correct. 5 A. 1t was well before, 1
6 Q. When you were contacted by Ms. 6 Q. Would this have been around the
7 Schimelfenig about perhaps doing investigative 7 time period in 2015 when the sexual misconduct
8 work into claims of sexual misconduct raised 8 policy became effective?
9 by students did you have any further 9 A. It was at the point when the

10 discussion with her about your experience or 10 process for investigating complaints was

l 11 your background or your training? 11 changing.

12 A. 1'm sure we did, 1 don't 12 Q. Okay. And so you say Community

13 specifically recall those conversations ' 13 Standards. 1 take it Mr. Bordak was present?

14 Q. You don't recall anything as 14 A. Yes.

15 you sit here? 15 Q. And was Ms. Forte present or --

16 A. Right. 16 she may not have been working at the time

17 Q. Do you recall her asking you, 17 there? 1 am not sure.

18 "Have you done any such investigations 18 A. 1 think it was her predecessor

19 before?" 19 Q. Okay. Public safety, do you

20 A. 1 don't recall the 20 recall who that Was?

121 conversation. 21 A. No.

22 Q. Did you have to go and meet 22 Q. Athletics, do you recall who

23 with anybody else? 1 know you said you met 23 represented athletics?

24 with the provost on that other type of claim. 24

A. 1 think there were two people.
20 (Pages 74 - 77)

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Renee Shields, 1 believe is her name, and she
Was the primary Title IX contact in athletics.
1 know she was there,

Q. And do you know, does she work
With the athletic department?

A. Yes.

Q. And do you still communicate
with her?

A. No.

Q. And you said somebody was there
from Title IX. 1 know Dr. Perry is a Title IX
person,

A. 1t was Dr. Perry and 1 believe,

if you refer to the policy there is maybe two
other people with maybe deputy titles, deputy
Title IX. My recollection is they were all
there.

Q. Okay. And was there an agenda
written out?

A. Not that 1 know of. There may
have been. 1 didn't do it.

Q. Were you meeting all these
people for the first time or a lot of these
people for the first time?

A. Yes.

Q. What do you recall being
discussed at this, in terms of what plans to
put into effect about once a claim is made,
what does the school do?

A. The policy had already changed
or was going to be announced that it was
changing and Ms. Schimelfenig did a
presentation on that, The rest of it was

details, you know, who calls who, who would be

involved, who could support the investigators

if necessary. 1 remember something came up of

if we Would need video or something like that,
right, there would be a contact in the police
department to call. My best description of

the meeting would be it was -- after Ms.
Schimelfenig did a presentation a lot of it

was the details What Would Residence Life
do, for example, if a complaint was made to
them directly.

Q. You mentioned the video. Are
you talking about surveillance cameras or
things like that?

A. The school has a lot of

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Page 80
cameras, yes

Q. So it was discussed that that
Was available should whoever is doing the
investigation feel it necessary?

A. Yes. 1t was the role of the
people at this meeting to learn about the
changes in the policy and what everybody's
role, if any, would be.

Q. So what major policy changes
did they have?

A. 1 don't know because 1 wasn't
involved before.

Q. Okay. What Was your
understanding as to what role you were going
to have?

A. My understanding was that
myself or one of my colleagues would be the
investigator under the new policy and prior to
that it had been done internally.

Q. Prior to that did you have any
understanding as to whether or not an initial
investigation was done before it was submitted
to a hearing officer?

A. 1 don't understand your

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question,
MR. MYERS: Me either.
BY MR. SCHWABENLAND:

Q. Prior to being told that the
matter Would be investigated by you as an
outside person, right, was it your
understanding that there had been internal
investigations carried out by public safety
and then the matter referred to a hearing
officer?

A. Before the time we Were
retained to do outside investigations?

Q. Yes.

A. 1 think I've heard that from
time to time.

Q. Have you ever looked at the
handbook that was in effect before the sexual
misconduct policy became effective?

A. No.

Q. Since you became an
investigator and since they have a separate
sexual misconduct policy, have you ever looked
at the employee student handbook to look at
how they handle nonsexual claims raised by

21 (Pages 78 - 81)

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students? l under a sexual misconduct claim?
MS. ENGLE: Objection. 2 A. That's Where 1'm sort of hazy
MR. MYERS: You said "employee 3 on the dates. 1 don't believe that 1 did any
student handbook." 4 sexual misconduct -- 1 mean, 1 can tell you
MR. SCHWABENLAND: Thank you. 5 for a fact, 1 did not do any sexual misconduct
Let me change that, Thank you. 6 investigations until the format was changed to
BY MR. SCHWABENLAND: 7 have us as the investigators
Q. Since becoming an investigator 8 Q. Okay. What was the format that l
under the sexual misconduct policy, both the 9 you followed, then, when you started to do the '
interim, Which became effective January of 10 investigation?
2015, and the subsequent one becoming 11 A. 1 followed the policy and the
effective in June of 2015, have you ever 12 university gave me the headings, for lack of a
looked at the student handbook to evaluate how 13 better word, of what the report should
nonsexual claims raised by students against 14 contain.
others are handled? ' 15 Q. okay. when you said the l
A. 1 have not. 16 university gave me the heading? 1
Q. 1s it your understanding that 17 A. You know what 1 mean, number |
that's handled through Community Standards? 18 one is complaint, number two is documents

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A. Yes.
Q. And is it your understanding

that, at least orally, hearing that that's 21
handled by the matter being submitted to a 1 22
hearing officer, one or more? 23

 

A. 1 think I've heard that over 24
Page 83
the years l
Q. But you never had a chance to 2
evaluate that or to look at it? 3
A. Correct. 4
Q. Okay. 1'll go a little bit | 5
further. The sexual misconduct policy was ' 6
revised in 2017. Did you play any part in the 7
revision of that? 8
A. No. 9
Q. Are you familiar With the fact 10
that it was revised in or about 2017? 11
A. 1 believe so. 12
Q. Okay. And then let me get back 13
to, at this meeting what Was your 14
understanding as to how you were to conduct 15
your role? What were you to do? 16
A. There was no discussion of 17
that, 1 8
Q. Okay. Had -- 19
A. Other than what 1 have already 20
told you, the logistics of how we would get 21
the complaints, et cetera. 22
Q. By the time you had this 23
meeting had you conducted any investigations 24

reviewed.

Q. Policy?

A. Yes.

Q. Okay. Was that in writing that
the university gave it to you --

A. 1 don't think so.

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Q. -- as to how it should be
forrnatted?

A. 1 don't believe so.

Q. So who told you how it should
be forrnatted, how they wanted it?

A. 1 don't remember.

Q. All right,

A. 1 believe it was from somebody

in the Community Standards office, but 1 don't
remember.

Q. Okay. Did you ever see a
manual that's maintained at the Community
Standards office concerning the investigation
and handling of claims?

A. No.

Q. Other than telling you the
format of the headings on your report -- and
that Would include things such as claim, When
it was made, how it came about, and then the
policy and then how you carried out your
investigation, what you reviewed, and who you
interviewed and then your findings of fact and
conclusions, which Would include an assessment
of credibility, did 1 give it generally?

22 (Pages 82 - 85)

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CONFIDENTIAL
_ Page 86 - _ _ Page 88 -
A. And summary of investigation, 1 A. No. |
believe is one of the headings 1 Q. So would the only Way you Would

Q. That's the format you were
referring to?

A. Yes.

Q. And other than that were you
given any other guidelines by the university?

A. 1 wouldn't call them
guidelines 1 was told students have an 9

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obligation to cooperate in an investigation, 10
for example, you know, little things like l l
that, If 1 needed student telephone numbers 12

or emails, that Community Standards Would give 13

them to me, sort of logistical things l 14
Q. 1 take it when you begin your 15
investigation -- this is generically and 1 am 16
sticking with sexual misconduct claims When 17
you begin your investigation you receive from 18
the university a copy of the incident report? 19
A. Yes. 20
Q. And -- 21
A. lf there is one. 22
Q. lf there is one. And would you 23
receive a copy of the pre-investigative 24
Page 87
statement signed by both the claimant and the l
respondent? 2
A. Yes. 3
Q. Would you receive a notice ' 4
letter of the charges against the respondent? 5
A. 1 don't know What you're 6
referring to. 7
Q. Okay. A letter has to go out 8

to a respondent saying "You are charged with" 9

whatever, ri ght‘? 1 0

MR. MYERS: ls that a question 11

or are you telling her what's in the 12

thing that she said she doesn't know? 13

MR. SCHWABENLAND: That's a 14

question. 1 5

THE WlTNESS: 1 don't know. 16

BY MR. SCHWABENLAND: 1 17

Q. Okay. 18

A. 1'm not involved in it until it 19

is on my plate for an investigation. 20

Q. No. l understand. But when 21

it's on your plate for an investigation do you 22

receive a copy of-- 1'11 call it the charge 23
letter?

24

be aware of what the charges are against the
individual would be based upon what, the
incident report?

A. lt can be in various formats
It's typically -- l call it a complaint
Sounds like you're calling it an incident
report. But sometimes it can come in as an
email from Residence Life, for example. lf
something is reported to them in the middle of
the night, 1 get that, l get that -- l ca11
it complaint.

Q. Okay.

A. lt could start at public
safety. You know, l get that.

Q. So 1 understand there is
certain sources from the university, multiple
sources that the complaint can come in to you,

right?

A. To Community Standards or Title
IX.

Q. Community Standards lwill

take, for example, our case -- we'll get to

Page 89
our case -- involving John Doe and Jane Roe,
that came in through Dr. Perry's report about
her meeting with Jane Roe; is that your
understanding?

A. Yes, sir.

Q. Okay. And l should ask you
this -- l am digressing here one second. What
records have you reviewed in preparation for
this deposition?

A. l have reviewed my file, which
is the long report, the short report, my
notes, text message from John, text messages :
from Jane, the complaint, so, you know, my
file, my reports, my appendix, my handwritten
notes

Q. Okay. The complaint, then,
would be the one authored by Dr. Perry; is
this correct?

A. Yes.

Q. Do you know if you received any
incident report from public safety in this
case?

A.

Q.

1 did not.
So when the report comes in to

23 (Pages 86 - 89)

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you, whatever it is, a claim -- 1'11 ca11 it 1 complaint?
the complaint, When the complaint comes in to 2 A. Yes.
you from whatever source, your job, then, is 3 Q. And is that written down
to What? : 4 anyplace?

A. Conduct the investigation, 5 A. l don't -- not that 1 know of.

Q. And how do you go about doing 6 Q. Do you recall in this case, you
that? 7 know, the one we are here about, showing the

A. Generally, l get from Community 8 complaint to John Doe?
Standards contact information for the ` 9 A. l do not recall doing that.
complainant and the respondent. 10 Q. And is there some reason why

Q. Okay. ll you didn't show it to him in this case?

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A. l generally reach out to them
both by email. l generally interview the
complainant first and then 1 go from there,

Q. And am 1 correct that you may

also interview the respondent on the same day l 16
or you may see the respondent at another day? 17
A. lt totally depends on their 18
schedules, but, yes. ' 19
Q. At least by the time you reach n 20
out to them you have a copy of Whatever the 21

complaint is? 22

A. Correct. 23
Q. And do you give them a copy of l 24
Page 91 l
that complaint? 1 1
A. Generally -- no, 1 would never l 2
give it to them to keep. 3
Q. Would you allow them to look at 4
it? 5
A. l sometimes do. 6
Q. ln our case did you allow the 7
complainant, who is Jane Roe, to look at the 8
complaint? 9
A. l don't remember. : 10
Q. lf she had asked to look at it l 11
Would you have allowed her to look at it? 12
A. Yes. Dr. Perry shows it to 13
them. 14
Q. Dr. Perry? 15
A. Yes. 1 6
Q. And how do you know that? 17
A. She has told that to me on 18
numerous occasions 19
Q. Did Dr. Perry tell you that she 20
showed it to them in this case specifically? 21
A. Not that l remember. 22
Q. But your understanding is that 23
Dr. Perry shows each of them a copy of the 24

A. l told him what the complaint
said. My recollection of not showing it to
him is because it was a specific charge.
Sometimes 1 get very long complaints, very
long emails from Residence Life with a lot of
details in them.

Q. When you say it was a specific
charge, what was the specific charge?

A. The charge was that they had 1
mutually engaged in some kissing and that then
the complainant charged him with squeezing her
neck to the point where she was afraid and
texted one of her friends to come get her.

Page 93

Q. Okay. And when you met with
him you told him about that?

A. Yes.

Q. Did you tell him about that
specific charge before you met with him?

A. No.

Q. l know you sent emails about
availability and stuff. Did you speak With
him over the telephone at all beforehand?

A. l don't believe so. l know
they were leaving on spring break, 1 do not
recall speaking with John or .1 ane.

Q. Do you recall if John had asked
you by text or email beforehand if he should
review or if he should bring anything with him
in preparation?

A. 1 think he may have emailed me
What should he do to prepare for the meeting,
something like that.

Q. What did you respond?

A. l think l told him to bring any
notes or texts that he wanted to share with
me.

Q. Up until the time you actually

24 (Pages 90 - 93)

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1 met with him had your emails told him What he
2 potentially violated?
3 A. No.

l Q. So was it your understanding he

was coming in cold as to what the specifics of

the allegations were?

A. He had already met with
Community Standards, because 1 don't get it
until those pre-investigation meetings are
done.

Q. l know, but what did you expect
Community Standards to tell him?

A. 1 am not involved in that
process My understanding was they are told
about the complaint

Q. What about the complaint?

A. The allegations

Q. The specifics, that there was
mutually agreed upon kissing and that at some
point he squeezed her neck?

A. 1 am not involved in those :
meetings l don't know,

Q. l don't mean to be
argumentative, but l am just ~- do you have

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Page 95
any idea as to What John Doe Was told about
anything to do with the complaint? l

A. l wasn't at that meeting. 1
know when l told him what the allegations were
he said that he was told by Community
Standards that he had been too rough with her.
1 remember that being his answer. l don't
know What he was told, though. l
Q. Do you know who he met With at l
Community Standards?
A. The forms would show that, l
don't recall.
Q. l'll represent to you he met
with Emily Forte. But would you have received
a copy of the checklist that's done at the
meeting with Community Standards?
A. l usually do. |
Q. And that Would be both the |
checklist for the complainant and the '
respondent?
21 A. Yes.
22 Q. Did you have any
23 understanding -- l am talking about this case.
24 Did you have any understanding as to what

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Page 96
l Community Standards would do if either party
2 asked to review a copy of the complaint?
3 A. l do not know.
4 Q. And do you have any knowledge
5 as to whether or not John Doe asked Community
6 Standards at the pre-investigative meeting to
7 see a copy of the complaint?

8 A. l don't know one way or the
9 other.
10 Q. Was there any reason that
11 you're aware of not to disclose that if a

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student asks for that?
MR. MYERS: Objection. Do you
mean disclose what's in the complaint
or show the complaint?
MR. SCHWABENLAND: To allow him
to review the complaint.
THE WlTNESS: 1 don't know.
BY MR. SCHWABENLAND:
Q. Did you ever have conversations
with Community Standards, anybody there, or
Dr. Perry or Dr. Anderson or anybody at the

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university about what you should show a
complainant or a respondent when you do your

Page 97
investigation at the time of the meeting?

A. No.

Q. So is that primarily up to you
to decide how you were to handle that?

A. Yes.

Q. Had you ever made a
recommendation to the university that certain
protocols should be in place as to what to
allow a complainant or respondent to see
before the meeting or during the meeting?

A. No.

Q. l am digressing backwards here,
Are you familiar with the Harris case, Harris
versus St. 1 oe's University?

A. 1 don't believe so. lf that's
one l investigated, if you tell me more about
it, but the name doesn't ring a bell to me at
all.

Q. Are you familiar with the case
law on the Harris case, the case law -- the
opinion that was issued by the Court?

A. No.

Q. How about, are you familiar
with the Powell case versus St. Joe's

25 (Pages 94 - 97)

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University? 1 THE WlTNESS: Right. The only
A. 1 know a little bit about that. 2 thing 1 remember is l sort of remember
Q. What do you know? ' 3 seeing something in the paper. l did
A. 1 know that one of my 4 not learn anything from St. Joe's. 1
colleagues at Buchanan was the investigator 5 sort of remember seeing something in
and that Mr. Powell brought a pro se 6 the paper that there were charges
complaint, which 1 probably read. 1 don't 7 substantiated or something like that,
remember the details 8 BY MR. SCHWABENLAND:
Q. Okay. Other than that do you 9 Q. Did you learn that the team was
know anything else? 10 suspended for the rest of the 2015 season?
A. No. 1 was not the 11 A. That may have been what l saw
investigator. l think it was a stalking case. 12 in the paper.
1 never read the report or anything. 13 Q. Did you know that they Were
Q. Let me ask you about the case 14 placed on disciplinary probation through
involving -- there is two Jane Does, Jane Doe 15 May 31, 2016?
1 and Jane Doe 2 -- involving the girls' 16 MR. MYERS: Are you asking for
softball team. Are you familiar with those 17 her personal knowledge or are you
claims and the investigation? 18 asking her to remember what she read
A. The investigations l did, yes. 19 in the newspaper?
Q. Yes. Okay. So what 20 BY MR. SCHWABENLAND:
investigations did you do? 21 Q. Anything, either personal
A. This was a while ago. 1 don't 22 knowledge or knowledge you gleaned from the
remember all the details lt had a lot to it 23 paper.
that didn't involve me, is my recollection. 24 A. 1 did not speak to anybody at
Page 99 Page 101
But two female softball players made a number 1 the university about it. 1 don't remember
of allegations against the university and 2 hearing what you just said.
other members of the softball team. Some of 3 Q. Community Standards Was
them potentially involved sexual misconduct 4 handling the nonsexual aspects of the claim
and l was asked to investigate that. l 5 raised by these two Students, right?
believe there was some other process going on l 6 A. Yes.
around the same time with nonsexual misconduct | 7 Q And that Would include
allegations l 8 harassment or hazing issues?
Q. And that was handled by l 9 A. That's my understanding, that
Community Standards? 10 they were hazing-type allegations
A. As far as 1 know. I don't know 11 Q. When you began your
who else might have been involved. 12 investigation, because a certain aspect was
Q. Did you ever speak with Mr. 13 assigned to investigate possible sexual
Bordak about his handling of it? 14 misconduct violations, right?
A. No. 15 A. Yes.
Q. Do you know what findings were 16 Q When that Was assigned by
made by Community Standards against the 17 you --
softball team? 18 A. Assigned to me,
A. My investigation or the rest of 19 Q. Assigned to you. Thank you.
Community Standards? 20 When that was assigned to you, who assigned
Q. The Community Standards 21 it? Do you know? Was it Dr. Perry? Was it
MR. MYERS: He's asking what 22 Mr. Bordak or --
you know about, not your 23 A. My best recollection is that it
24 was Bill Bordak.

investigation.

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Q. And did you have a discussion
as to the plan, that at least he represented
he Was going to handle this aspect and you
would handle the sexual misconduct aspect?
A. 1 don't remember that. l knew
my task was to handle the sexual misconduct
investigation, because l investigate under the
sexual misconduct policy. And, to be fair, 1
knew that there were other allegations as
well. l did not have a discussion with Mr.
Bordak as to what happened to the other stuff.
Q. Do you know What the nature of
the sexual allegations were that you handled?
A. l have not looked at this
report since 1 concluded it. l do remember
there were a couple, maybe two or three, and
the one that l remember was at some sort of, l
don't know -- party is probably the wrong
Word -- but at something at an off-campus
house the two complainants alleged that they
Were asked to demonstrate sexual positions
that were listed in Cosmopolitan magazine, or
maybe that all of them -- all of them were
asked to do that, That's the one l remember.

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l do believe there was at least one sexual
connotation that 1 was investigating.

Q. Did you meet with the two
complainants?

A. l did not.

Q. ls there some reason why you
did not?

A. I tried to meet With them.

They had counsel, who l talked to a couple of
times, and he did not make his clients
available to be interviewed 1

Q. And did you know What the
allegations by the complainants were at the
time?

A. There was a complaint, like, a
drafted Eastern District of Pennsylvania
complaint, that l saw. 1 don't know when l
saw it whether it was, like, a courtesy copy
or it had actually been filed, but 1 Was
working off something that looked like a
lawsuit complaint,

Q. So did you meet with the
respondents, l will call them?

A. 1 believe l met with everybody

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Page 104
on the team -- l did my best to meet everybody
on the team other than the two complainants

Q. At least in the complaint --

A. Can 1 supplement a prior
answer?

Q. Sure.

A. There had been a loss -- public
safety investigation, some part of it started
at public safety and public safety had
interviewed, 1 believe, both complainants l
had public safety's notes as well.

Q. The allegations, at least in
the complaint, would you agree with me that
some of these allegations were sexual in
nature?

A. Yes. l think they were the
ones l was investigating

Q. The claim was sexual assault,
right?

A. 1 don't remember that,

Q. One of the allegations was that
the complainants were claiming that students
were touching their bare buttocks Do you
recall that?

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A. 1 don't recall that, lt could
be true. l just don't recall it.

Q. 1 understand Let me go
through the list here. The allegations
involve the plaintiffs were forced to hump up
against the wall or give lap dances. Do you
recall that?

A. Yes.

Q. Would that be sexual in nature?

A. Yes.

Q. 1'm sorry to go through this,
but l have to. That they were forced to
give -- or that the allegation was that they
were compelled or forced some way to give
over-the-pants hand jobs?

A. Yes.

Q. Another allegation, to dance to
sexually explicit songs?

A. Yes.

Q. That they were forced to
demonstrate the coach's orgasm a certain way?

A. Yes.

Q. That they Were forced to put
condoms on bananas?

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A. Yes. l through email.
Q. That they were to, in front of 2 Q. Did you make a finding at least
others, to initiate oral sex on wine bottles? 3 that some of the allegations were true, that
A. Yes. 4 they did have their buttocks touched, bare
Q. That they were forced to or 5 buttocks?
compelled to answer questions about sexual 6 A. 1 don't remember. 1f you
identity? 7 showed me the report l can recall that. l
A. 1 don't specifically remember 8 know l did address the allegations
that. 9 Q. But if that were true that
Q. Fair enough. That they were 10 would be sexual assault, would it not?
compelled to discuss sexual positions and 11 MR. MYERS: l object to the
pomography? 12 form of the question, You can answer
A. Yes. That's the one l 13 the question,
remember, the Cosmopolitan magazine. 14 THE WlTNESS: 1 don't know. lf
Q. And some nickname was given, 15 you show me the report, l can comment
Dirty Sanchez or something like that? 16 on it.
A. 1 recall that. 17 BY MR. SCHWABENLAND:
Q. Which is not a nice nickname, l 18 Q. l will get it out. l am not
guess? 19 going to do it now, because l have to go
A. That was the connotation, yes 20 through some things here. 1 want to go
Q. 1 know you had a difficult time 21 through one other thing and then get back to
speaking with the complainants because they 22 our case, if l may.
already had an attorney and it was now in 23 A. Okay.
suit; is that correct? 24 MR. MYERS: It's 12:20. What
Page 107 Page 109
A. 1 believe it was in suit in l is your plan for lunch?
some form. 2 MR. SCHWABENLAND: Take 30
Q. You also weren't able to talk 3 minutes ls that okay?
to all the people on the softball team, right? 4 MR. MYERS: Whatever you want.
A. 1 don't remember. 1 know l 5 Whenever you want.
talked to a lot of people. 1 very well may 6 MR. SCHWABENLAND: Well, let's
not have talked to all of them. 7 do it now. ls that okay?
Q. Some of the girls were in 8 THE WlTNESS: Sure.
Europe or Japan at the time? 9 h _ _
A. Yes. 10 (Whereupon, a lunch recess was
Q. And they couldn't speak by 11 held from 12:16 p.m. to 12:50 p.m.)
phone but offered to communicate by email? 12 _ _ _
A. l don't remember that, 13 BY MR. SCHWABENLAND:
Q. Okay. But there's some 14 Q. Welcome back from lunch.
indication that you didn't want to handle it 15 A. Thank you, sir.
by email. So you didn't talk to them. Do you 16 Q. l am going to jump around and
recall that? 17 then get back to this case. You mentioned Dr.
A. l don't recall. 18 Perry has told you that she shows or allows
Q. Do you recall having an 19 the parties, complainant, respondent to see
aversion to getting any type of email from any 20 the complaint; is that correct?
of the people that you wanted to talk to? 21 A. Yes, but l've also heard it
A. lt has been my experience that 22 from students So if 1 have shown a copy of
students forward lots of emails, So my 23 the complaint to students they say, "Oh, yes,
preference is not to conduct investigations l've seen that." And at least once l've seen

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28 (Pages 106 - 109)

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a complaint where the student, like, corrected
things in handwriting, so when l got it it had
extra comments on it. So from all those
reasons 1'm aware that Dr. Perry let's the
student see the complaint.

Q. So there have been cases where
you, as the investigator, when you're meeting
with the student for the first time would show
a complaint to them and they can comment?

A. Yes. l believe l told you
that, Yes.

Q. And under what circumstances
would you do that?

A. Usually if it is a long, long
complaint with a lot of elements to it.

Q. 1'm sorry, You did say that,

A. Yes. l often use that as sort
of a format for our discussion.

Q. Any other reason to show it to
them?

A. Not that l can think of.

Q. Okay. But Dr. Perry has told
you on more than one occasion that she too has
allowed students to review the complaint?

Page lll

A. That's my recollection, yes.

Q. And that Would be at a time
before the meeting with you, the investigator,
right?

A. Yes.

Q. Would you agree that if that's
done, that is, the student have an opportunity
to see a copy of the complaint beforehand,
that gives them a better understanding as to
what they are charged with before actually
meeting with you?

A. No. lthink you're
misunderstanding me, 1 meant that Dr. Perry
has shown the complainant the complaint,
because the complainants have told me that
they have seen it before or that they made
corrections to it. So my testimony goes to
the complainant seeing the complaint, not the
respondent

Q. So has Dr. Perry ever said she
has shown the respondent the copy of the
complaint?

A. Not to me,

Q. So has Community Standards

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Page 112 '
indicated to you that they have shown the
respondent a copy of the complaint?

A. l've never had that discussion
with them one way or the other.

Q. So is it your understanding
that the respondent really never sees the
complaint?

A. 1 don't know.

Q. Well, do you know of any case
that you've handled where the respondent had
the ability to review the complaint prior to
meeting with you, the investigator?

A. l don't know. 1'm not aware of
any, but 1 don't know,

Q. Did you ever raise the fact
that the complainant has the ability to review
the complaint before actually meeting with you
and the respondent doesn't have the ability to
review the complaint? 1

A. l don't know if that's true,
but I've never raised it with Community
Standards

Q. Dr. Perry is the Title lX
coordinator, right?

Page 113 l
A. Yes. 1
Q. And what is your understanding
as to what a Title lX coordinator does?
A. 1 think she's universally
regarded as the point person, although not
solely, for Title lX complaints l believe
she does some education on campus about the
policy and in at least some circumstances she
meets with a complainant to determine whether
the allegations are something that could or |
should be investigated under the sexual
misconduct policy and things like that.
Q. Okay.
A. 1 am sure she does things that
l don't know of.
Q. Do you play any role as to
whether or not a complaint should be placed in
the sexual misconduct policy or a nonsexual
Community Standards?
A. l do not. Once it's on my
plate it is a sexual misconduct investigation.
Q. Would it be fair to say that
you haven't seen anything in writing involving
a protocol as to whether a respondent should

29 (Pages 110 -113)

 

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1 have access to reviewing the complaint before 1 Exhibit-2 -- 1'm sorry. ls that Exhibit-1 or l
2 actually meeting with you and the l 2 2?
3 investigator? 3 A. One.
4 A. Correct. l've never seen 4 Q. ln Exhibit-l, can you point to
5 anything 5 any case where you actually showed the
6 Q. And that's never been a subject 6 respondent a copy of the complaint?
7 of discussion by you or when you're at a 7 A. 1 have no idea What these
8 meeting with anybody at St. Joe's? 8 complaints are.
9 A. Correct. 9 Q. If you showed a respondent a
10 Q. Ms. Forte, do you know Ms. 10 copy of the complaint would your summary then
l 11 Forte? 11 so reflect?
12 A. Yes. 12 A. ldon't know, Not necessarily.
13 Q. And she was deposed and she 13 Q. Can you estimate for me how
14 indicated that when she met with John Doe in 14 many times you have shown a respondent in a
15 this case he asked her to see a copy of the 15 sexual misconduct policy case at St. Joe's
16 complaint and she said, "No. That copy will 16 University a copy of the complaint?
17 be provided to you when you meet with Ms. 17 A. l have no idea.
18 Malloy." That's what she testified to in her 18 Q. Would it be more than five or
19 deposition, She indicated that Ms. Malloy 19 less than five?
20 routinely shows a copy of the complaint to the 20 A. l have no idea. Let me
21 respondents ls that true or not? 21 rephrase that, It's probably more than five,
22 MR. MYERS: Object to the form 22 but 1 have no ability to put any parameters on
23 of the question, 23 it.
24 MS. SCHIMELFENIG: And l know 24 Q. More than ten, less than ten?
Page 115 Page 117
1 John wasn't at the depo. l was at 1 A. 1 don't know.
2 Emily's depo and l am not exactly sure 2 Q. And why do you say probably
3 that's exactly what she said. 3 more than five?
4 MR. MYERS: So if you are going 4 A. Five just sounds like a small
5 to question her about a question at 5 number.
6 the deposition, 1 think, in fairness 6 Q. Okay.
7 to the deponent, you need to show her 7 A. And many of these complaints
8 the question and answer or at least 8 are very complicated, that come with long
9 show me the question and answer. 9 emails from Residence Life and stuff like
10 MR. SCHWABENLAND: l don't want 10 that. 1 go back to whether it's something
11 to waste time with getting all this 11 finite that l can explain to somebody or
12 stuff out. ' 12 whether they need to see all the details
13 MR. MYERS: Okay. l am not 13 Q. Jumping back a second here, Up
14 sure it's a waste of time, but it's 14 to the present you've had no training in law
15 your call. 15 enforcement; is that correct?
16 BY MR. SCHWABENLAND: 16 A. Yes, that is correct.
17 Q. l am representing to you that's 17 Q. You have had no training as a
18 what she said. All 1'm asking you is: Do you 18 prosecutor or defense attorney in a criminal
19 routinely show respondents a copy of the 19 case?
' 20 complaint? 20 A. That's correct
21 A. l think I've answered that a 21 Q. Have you ever represented
22 couple of times l wouldn't say routinely, 22 anybody in a criminal case?
23 but l do. 23 A. Not that l know of. 1 mean,
Q. ln the list of cases in 24

l've never represented anybody in a criminal

30 (Pages 114 -117)

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l case. l regularly.
2 Q. Have you ever represented 2 Q. But you don't read anything
3 anybody in a Civil Rights case? 3 from ATIXA?
4 A. Like a plaintiff? l mean, all l 4 A. 1 do not.
5 employment law is Civil Rights and l've always 5 Q. ls there some reason Why you
6 represented the employer. . 6 don't?
7 Q. Okay. Over the last five 7 A. l can't attribute any reason to
8 years, have you published any articles on 8 that, 1 don't know.

9 Title IX violations involving sexual 9 Q. Have you heard others mention
10 misconduct claims in a university or college 10 that ATIXA provides good, solid guidelines for
ll setting? 11 Title IX issues involving sexual misconduct |
z 12 A. No. 12 cases or claims in the university setting?
' 13 Q. Have you done any presentations 13 A. l have not heard that,
14 for the same subject matter over the last so 14 Q. Do you know any other attorneys
15 many years? 15 that have taken courses With ATIXA?
16 A. No. 16 A. Not that l am aware of.
17 Q. Do you consider yourself an 17 Q. So, again, you mentioned that
18 expert in the area of Title lX violations 18 NACUA -- what is that again?
19 involving sexual misconduct claims in a l 19 A. NACUA. l
20 college or university setting? 20 Q. And are you a member of that
21 A. Yes. l consider myself a 21 organization?
22 well-informed practitioner in that area. 22 A. l am not.
23 Q. And the basis of that is what? 23 Q. And so how often do you receive
24 A. My training, education, and 24 material from them? l
Page 119| Page 121 l
l experience 1 l A. Every year.
2 Q. Okay. But what training ' 2 Q. And is that once a year? Do
3 specifically in that area are you referring 3 they put it out monthly? What do they do?
4 to? l know you said you went to Villanova and 4 A. It's at least once a year and
5 you took -- for a seminar that day and you 5 can be more frequently.
6 took a web -- what is it called? 6 Q. Any other coursework other than
7 A. Webinars, plural. 7 that?
8 Q. At various times throughout the 8 A. Not that l can think of l
9 years, right? And you also mentioned a group l 9 specifically. l
10 that gave a presentation What is the name of l 10 Q. When you started to act as an
11 that group again? lt starts with an N? ' 11 investigator at St. Joe's University, did you
12 A. l read heavily materials in 12 review any material, any educational material
13 this area and 1 had told you that 1 read the 13 that's presented to students, so you know what
14 course materials from NACUA, National 14 it is, involving Title IX or sexual misconduct
15 Association of College and University 15 violations?
16 Attomeys. l read the Dear Colleague Letters. 16 A. Not that l recall.
` 17 Like every lawyer, 1 keep up on areas of law 17 Q. Have you ever heard a case
18 in which l practice. 18 Breaking the Silence?
19 Q. Other than the coursework and 19 A. No.
20 NACUA and the Dear Colleague Letter do you 20 Q. 1'm sorry, Not the case. Have
21 read any other materials? 21 you ever heard the presentation by the
22 A. Yes. 22 university about Breaking the Silence?
23 Q. What do you read? 23 A. No.
24 A. 1 get emails and materials 24 Q. Do you know any educational

 

31 (Pages 118 -121)

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material that is shown to students? 1 (Whereupon, Exhibits Malloy-3

A. 1 know they do education. I've 2 and 4 were marked for purposes of |
never seen any of it. l 3 identification.)

Q. And you haven't done any ' 4 _ _ _
presentation yourself to students? 5 BY MR. SCHWABENLAND:

A. Correct. 6 Q. Let me ask you to look at l

Q. By the way, in that Exhibit-1 7 Exhibit-3, which is Bates stamped 1030. lt '
it shows that you investigated two females and 8 defines, at least what's presented to

found them not responsible, Are those the two , 9
females that were involved in softball, in the l 10

girls' softball team? 1 1

A. 1 don't know, 12

Q. Have you investigated -- 13

A. They could be. l just don't 14

know, 1 5

Q. 1 understand Have you 16

investigated any other females that you can 17

recall? 1 8

A. Female respondent? 19

Q. Respondent. 20

A. Not that I recall off the top 21

of my head. 22

Q. Have you ever found a female 23

responsible, a female respondent? 24
Page 123

A. 1n sexual misconduct 1 1

complaints? l 2

Q. Yes. l 3

A. l think 1 told you, 1 don't 4

have any specific recollection of 5

investigating with a female respondent It's 6

possible. 7

Q. Okay. Let me show you what's 8

been produced by St. Joe's University, 1030. l 9

1 will represent to you, that's a slide from 10

the presentation of Breaking the Silence 11

that's presented to the students -- the 12

freshmen. 1 3

MR. MYERS: Are you going to 14

mark this as 3? You're going to mark 15

it as 3? 16

MR. SCHWABENLAND: You want it l 17

marked'? l 8

MR. MYERS: lf you're 19

questioning the witness about it, 1 20

want it marked, yes 21

MR. SCHWABENLAND: Okay. Mark 22

it. 23

24

students, "Sexual assault is defined as" and
it is saying "Sexual contact without consent
occurs when the act is intentional and is
committed either by:" and then four different
bullet points The first bullet point: l
Force, violence, threat or intimidation; the 1
second, ignoring the objections of the other
person; third, causing another's intoxication
or impairment through the use of drugs or
alcohol; four, taking advantage of another
person's incapacitation, state of
intimidation, helplessness or other inability l
to consent. First of all, did l read that
correctly?

A. 1 wasn't following you that
closely, so l can't answer that question.

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Q. Okay. Do you agree with that
definition?

MR. MYERS: l object to the

form of the question, You're asking

her about a slide that she says she

never saw. lf you --

MR. SCHWABENLAND: 1 am showing
it to her now.
BY MR. SCHWABENLAND:

Q. Do you agree with that
definition'?

MR. MYERS: Let me finish. lf

you represent to her that this is

verbatim from the sexual misconduct

policy, that's one thing lf it is

anything else, 1 object to the form of

the question,

BY MR. SCHWABENLAND:

Q. Can you answer my question?

A.
without comparing it to the policy. I've
never seen this slide before and l apply the
definition of consent from the policy, which l
think is much longer than this

32 (Pages 122 - 125)

l cannot answer your question

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Q. Okay. 1'11 get to that, Look l
at the next one, Exhibit-4, 1031. There is a 2
question at the top saying, "Myth or Fact, | 3
False reports of rape or sexual assault are 4
common and happen often." And underneath 5
there it's cited in red letters, "Myth" and 6
then it goes on to state, "False reports of 7
sexual assault are rare, occurring only 8
8 percent of the time, according to the FBI." 9
It's a cite to the Federal Bureau of 10
1nvestigation Uniform Crimes Reports, 11
Washington, D.C. Do you agree with that 12
statement? 1 3
A. 1 have no ability to agree with 14
it or disagree. I've never read the uniform 15
crime reports. 1 don't know. 16
Q. Have you ever read any reports 17
about false reporting by claimants, how often 18
that has occurred or is suspected of 19
occurring? 20
A. 1 don't recall that. 21
Q. When you interview a claimant 22
do you take what they say at face value or do 23
you anticipate that they may be falsely l 24
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reporting something? 1
A. I conduct my investigation 2
based on all of the information, the 3
complainant's side of the story is part of it, 4
and then 1 make credibility decisions and l 5
apply the university's policy. 6
Q. Okay. But, to your knowledge, 7
have you read any materials up to the present 8
about issues of false reporting by claimants? 9
A. 1 can't answer that. 1 very 10
well may have. There is nothing sticking in 11
my mind on that. 12
Q. Let's get to this case, if we 13
could. Do you have a copy of your summary? 14
A. 1 do not. 15
MR. SCHWABENLAND: John, could 16
you get -- 17
MR. MYERS: John, me? 18
MR. SCHWABENLAND: Yes. You 19
produced these records. Could you 20
show her a copy -- here, I will give 21
you a number. 22
MR. MIRABELLA: 1 have got an 23

extra copy. Just bear with me,

24

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(Off the record)

MR. MYERS: If you are going to
question in detail on each we are
going to need multiple copies, that l
is, 1 am going to need one to be able
to follow along.

MR. SCHWABENLAND: 1'm sorry.
Say that again,

MR. MYERS: Do you have more
than one copy of the things that
you're about to question her about in
detail?

MR. SCHWABENLAND: I don't.
That's why 1 said to Al that we need
to do it at my office so we can make
copies.

MR. MYERS: But we are not at
your office. So give me the things
and 1 will get them copied.

MR. SCHWABENLAND: Okay.

(Whereupon, a recess was held

 

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from 1:15 p.m. to 1:21 p.m.)

BY MR. SCHWABENLAND:
Q. That Exhibit-l, the ones that

don't have your names on them, do you know

what other attorneys from your office handle

the investigation on behalf of St. Joe's?

A. At Cozen it Would be Andrew
Rolfes.

Q. Andrew?

A. Rolfes, R-O-L-F-E-S.

Q. So only one other person?

A At Cozen. At Buchanan it was

Andrew Shapren and Andrew Rolfes. So it would
be either one of those.

Q. Okay. Did Robert Hawkins ever
handle anything?

A. No.

Q. Is Robert Hawkins in your firm
now?
A. Yes.

Q. Do you know if Robert Hawkins
ever represented anybody from St. .1 oe's
University?

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MR. MYERS: Within some time | 1 A. Yes.
frame, Ed, or ever? Are you really 2 Q. And you determined you couldn't
asking ever? 3 meet prior to spring break, right?

MR. SCHWABENLAND: Either 4 A. Right. 1 think we only had,
Buchanan Ingersoll or now. 5 like, a day or two before they left for spring

THE wITNEss; Not that 1 know | 6 break

of. 1 know he's a St. Joe's 7 Q. And so you met on March 19th

University grad. Hold on a second. 8 with both individuals?

Let me just think. He's a labor 9 A. 1 know 1 met with them the same

lawyer, not an employment lawyer, so 1 10 day. The date 1 can't recall off the top of

never assigned him or worked with him 11 my head.

on any investigations, 1 believe -- 12 Q. And you would have met with,

this is a really distant memory. 1 13 according to your custom, the complainant

believe he wrote a letter to -- it had 14 first?

something to do with Ms. Schimelfenig 15 A. Yes.

getting admitted to the Pennsylvania ' 16 Q. Okay. We need to get the

Bar. l 17 copies.

BY MR. SCHWABENLAND: 18 A. Okay.

Q. Okay. 19 _ _ _

A. And 1 believe he might have 20 (Whereupon, a recess was held
written a letter, something like that. 1 21 from 1:25 p.m. to 1:30 p.m.)
don't recall any specifics. 22 _ _ m

Q. But you weren't involved in 23 (Whereupon, Exhibits Malloy-5,
that? 24 6, and 7 were marked for purposes of

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A. I was not involved, 1 identification.)

Q. So Mr. Hawkins may have l 2 _ _ _
represented Ms. Schimelfenig at one point? 3 MR. SCHWABENLAND: Let's go

A. Maybe. 4 back on the record.

Q. Okay. 5 BY MR. SCHWABENLAND:

A. 1t could have been a reference 6 Q. 1 marked as Exhibit-S, "Summary
letter. Like, 1 don't have a recollection of l 7 of Findings of Fact, Determination of
it. 8 Credibility, Rationale and Outcome" and

Q. Okay. 1n this present case 9 attached to that are the Exhibits A through D.
it's my understanding you got the assignment 10 And the second thing is Exhibit-6, I have
to do the investigation from Community 11 marked "Summary of 1nvestigation, Complaint
Standards? 12 By" and it's redacted, but the complaint by

A. Correct. 13 Jane Roe against John Doe. That's marked as

Q. And then you would contact both 14 Exhibit-6 That's also SJU Bates stamp number
individuals for a good time to meet; is that 15 268 to 276. I should go back. Exhibit-5 was
correct? ' 16 Bates stamp number 277 to 299. Finally,

A. Yes. 17 Exhibit-7 is a copy of handwritten notes,

Q. It is my understanding that 18 Bates stamp 380 to 387. Having said that, let
there was spring break coming up; is that 19 me just go back. Did you author each of these
correct? 20 exhibits?

A. Yes. 21 A. Yes.

Q. And that you were then leaving 22 Q. First of all, what is the
on vacation from March 22nd to March 30th; is 23 difference between Exhibit-5 -- and 1'm not
that correct?

talking about the attachment to the exhibits,
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A through D. What's the difference between 1 questions about this, these exhibits that are
Summary of Findings of Facts, Determination of l 2 attached to 5 , 1 would not do that, 1 give my
Credibility, Rationale and Outcome, and the 3 exhibits as a separate, like, appendix, So 1
Summary of the Investigation, complaint by 4 would not have them stapled to a report.
Jane Roe against John Doe marked as Exhibit-6? 5 Q. Okay. So the exhibits which
If 1 could, 1 will tell you What 1 see in 6 are Bates Stamped, Starting With A, 283, to
there if you -- 7 all the way through D, 299, the exhibits would

A. You want me to answer your 8 be separate from the report?
question? 9 A. Right. If you 100k at page 282 l

Q. Sure. 10 it says, "Appendix," and 1 just create that as

A. Exhibit-6 has a summary of 1 1 a Separate dOCument.
investigation that summarizes interviews. 12 Q. Okay. And the appendix
Exhibit-5 does not have that section. 13 indicates that you had the complaint as A;

Q. Okay. But, except for not 14 photographs, B, texts from Ms. Jane Roe, and
having that section, Exhibit-5 goes from 15 notes from Mr. John Doe. Did 1 read that
documents reviewed as Roman numeral 4 to Roman 16 Correctly?
numeral 5, findings of fact; is that correct? 17 A. Correct.

MR. MYERS: What page? 18 Q. Okay. Would you resubmit those
MR. SCHWABENLAND: Bates stamp 19 four exhibits, though, to Community Standards

279. 20 when you issued your summary of findings of
THE WlTNESS: Yes, you're 21 fact?

correct. 22 A. Yes. When 1'm done an
BY MR. SCHWABENLAND: 23 investigation 1 give Community Standards the

Q. Okay. So Exhibit-6 has after 24 long report, the short report, the appendix,

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Document Reviewed, Roman numeral 4, a new 1 my handwritten notes, which you have, and any
Roman numeral 5, Summary of Investigation, and 2 emails that 1 have regarding the investigation
you have A and B in there, interview With the 3 011 the matter. l
two parties; is that correct? 4 Q. Do you keep a copy of these for

A. Correct. 5 your own file?

Q. And then you go to findings of 6 A. Yes.
fact and other matters; is that correct? 7 Q. And that's kept by you and

A. Yes. 8 maintained confidential for the protection of

Q. Why do you issue -- you can do 9 the students, right?
whatever you wan -- but why did you issue two 10 A. Yes.
separate documents? ll Q. Let me go, if we can, to

A. 1 always do this, This was 12 Exhibit-5 and that first document attached as
part of the sort of format that 1 was told to 13 Exhibit-A, SJU Bates Stamp 284.
use from the beginning 1 personally call one 14 A. Okay.
the long report, and the short report. Number 15 Q. That's the complaint that was
6 being the long report. 1 don't exactly know 16 authored by Dr. Perry; is that correct?
why. My big picture is that they show the 17 A. Yes.
short report to the complainant and the 18 Q. And are these all the documents
respondent, but 1 don't know that for sure. 19 that you received in preparation for your
But 1 create a short report. That is 20 deposition, by "these," Exhibits 5, 6, and 7?
everything in the long report except the 21 A. 1 don't know what you mean,
summary of interviews 22 received for purposes of my deposition

Q. Okay. 23 Q. I'm sorry, Reviewed.

Just since you're asking 24 A. 1 reviewed my OWn file, Which

A.

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includes this,

Q. Does your file also include
emails back and forth? 1 am trying to set

things up?
A. Yes, but 1 did not review them.
Q. Okay.

A. My file is everything 1 give to
the university, because that's all 1 have, 1
turn over everything 1 have,

Q. Okay. 1n the emails to both
the claimant and the respondent 1 note that
there is an informality by you to them. You
refer to yourself as "Liz;" is that correct?

A. 1 would not agree that there is
an informality, but 1 do refer to myself as
Liz and I would typically call them by their
first names.

Q. Okay. Again, let's go to
Exhibit-5, Bates stamp 284, Dr. Perry's
complaint. Was that the only information you
had about the actual occurrence?

A. Yes.

Q. 1s it your understanding that
Dr. Perry is forming this complaint, 1 will

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call it, based upon her interview with Jane
Roe?

A. 1 would disagree with your
characterization of forming the complaint, but
it's my understanding that Dr. Perry meets
With --

Q. Jane Roe?

A. Jane. 1 was stumbling for
that, Jane. And based on that meeting typed
up this report. Dr. Perry usually puts her
name at the bottom and did not at this point.

1 do remember reaching out to Bill Bordak to |
make sure that 1 knew what this was and he
said yes, this was hers.

Q. So it's a report of a meeting
that Dr. Perry had with Jane Roe?

A. Yes.

Q. Okay. And 1'm just referring
to this as, this is the complaint you were
referring to, right?

A. Yes.

Q. Okay. And it talks about they
are meeting on Monday, February 26th and that
Jane Roe came to see Dr. Perry with Katie

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1 Bean, assistant director for WADE. Do you
2 know who Katie Bean is?
3 A. 1 do not.
4 Q. Dr. Perry report said Jane Roe
5 told her -- well, 1 will say what's in here,
6 "Jane Roe told me that she and a few friends
7 went to a party at LaSalle on Fn'day night.
8 She could not give an exact location, just

9 that it was a LaSalle party. She met a guy
10 who was very nice and he asked her if she went
11 to LaSalle and she said no -- St. Joe's and he
12 said the same." 1 am not sure that's
13 accurate, but that's what is in there, right?
14 A. Correct.
15 Q. Okay. "They talked for a while
16 and he talked with her friends as well. He
17 was very nice to Jane Roe and her friends
18 She told her friends she would catch up with
19 them later and began hanging out with him.
20 They went outside to get some air and there
21 were people doing cocaine in the alley. She
22 said she did not want to be near that, as she
23 had been clean for almost two years, He
24 understood that she had some drug issues by

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1 the fact that she went to recovery high
2 school. She said that he gave her some
3 alcohol -- liquor 34 (she thinks) and Gatorade
4 in a Gatorade bottle." Did 1 read that
5 paragraph correctly?
6 A. Yes. .
7 Q. The second paragraph then goes |
8 on to talk about what happened according to

9 Jane Roe when they returned to St. Mary's. Am
10 1 correct there?
11 A. Yes.
12 Q. Okay. And is it your
13 understanding that St. Mary's is where John
14 Doe dormed?
15 A. Yes.
16 Q. Dr. Perry reports, "They
17 returned to SJU with a friend of his and began
18 making out in a 'weird' little room on the
19 third floor of St. Mary's. He lives in St.
20 Mary's but his roommates -- his roommate Was
21 sleeping They began making out, which was
22 fine, then somehow he put his hand on her
23 throat and began squeezing her neck. She felt
24 that she could not breathe. At that point she

36 (Pages 138 -141)

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1 froze and she had something of a flashback.
2 (She shared with me that she had been abused
3 in the past by a former boyfriend and that he

4 would, say, pin her down like this and say

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things like -- 1f you do anything I'll hurt
you and hurt your friends.) When he was doing
this, Jane Roe reported that he had very
different eyes. 'He was not the same boy 1
went with.' At a point he stopped to go get
some water. At that time, Jane Roe text her
safe word to her friends and two of them
called her. One student was next door in
McShain, so she went to be with her. When he
returned she was on the phone and told him she
had to go because her friend had called, and
she left St. Mary's." Did 1 read that
somewhat correctly?

A. Yes.

Q. And so that's what you had
going with? That's the only information you
had at the time?

A. Yes.

Q. So did you show this to the
complainant when she appeared?

Page 143

A. 1 don't remember.

Q. You may have, you may not have?

A. Correct.

Q. But you definitely agree that
you didn't show this to John Doe?

A. That's my recollection, yes.

Q. And so let's go to your
complaint attached as Exhibit -- 1'11 tell you
what, since Exhibit-6 is a more comprehensive
report, where you put in there the interviews
of the two, we'll use Exhibit-6 for the most
part.

A. Okay.

Q. But 1 might make reference back
to Exhibits A through D that are attached to
Exhibit-5, recognizing that you didn't attach
those to Exhibit-5, right?

A. 1 understand.

Q. In the summary of the
investigation you list, number one, the
complaint and 1 take it this is the format you
were told to use?

A. Correct.

Q. And so you identify how the

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complaint was made and that it happened on --

1'm paraphrasing this -- it happened on
February 26, 2018 when a complaint was made to
Dr. Mary-Elaine Perry, the Title IX
coordinator; is that correct?

A. Yes.

Q. And we just read her report
that you were given; is that correct?

A. Yes.

Q. Then you summarize the
complaint that on February 23rd, 2018, SJU
student John Doe put his hand on her throat
and began squeezing her neck. And then you
have in parentheses, "That's a complaint,"
right?

A. Yes.

Q. Next paragraph, "A
pre-investigation meeting with," 1 assume
that's Jane Roe, "was held on March 5, 2018
and a pre-investigation meeting with John Doe
was held on March 6, 2018." The matter was
turned over to you, being the investigator on
March 6; is that correct?

A. Yes.

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Q. So then you identify the
policy. Now, you have the sexual misconduct
policy. You indicate that "The complaint
potentially implicates the St. Joseph's
University sexual misconduct policy: Policy
regarding sexual assault, sexual harassment,
sexual exploitation, domestic violence, dating
violence or stalking" and then you have in
parentheses, "Sexual misconduct policy," end
of parentheses, Did 1 read that correctly?

A. Yes.

Q. Then you go on to state what
the definition of sexual assault is; is that
correct?

A. Yes.

Q. Now, was it your understanding
that at least the allegations were possible
sexual assault by John Doe?

A. Yes.

Q. The sexual assault charge was a
specific charge against him; is that correct?

A. Yes. The allegations, yes.

Q. The allegations. Okay. But, I
mean, if 1 understand correctly, you didn't

37 (Pages 142 - 145)

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put in there any definitions for sexual 1 any object by a person upon another person
harassment, sexual exploitation, domestic 2 without consent or forcing any person to touch
violence, dating violence, or stalking, 3 you or the individual in a SeXual manner. 1t
correct? 4 is defined as engaging in any sexual contact

A. Right. 5 other than intercourse with another person

Q. So you are focusing on sexual 6 Without that person'S consent and/or
assault? 7 cognizance 1t includes any nonconsensual

A. Yes. 8 sexual contact, including any improper

Q. That's the charge? 9 touching of intimate body parts. 1t also

A. Yes. 10 includes the nonconsensual removal of

Q. ln your role as investigator l 1 another'S clothing, indecent contact (i.e.,
did you acquaint yourself with the crimes code 12 the unwanted touching of intimate body parts,
in the Commonwealth of Pennsylvania pertaining 13 including, but not limited to, genitals,
to sexual assault? 14 buttocks, groin, or breasts) or causing

A. 1 have in reviewing the policy 15 another to have indecent contact With those
read the definitions that are linked to 16 intimate body parts." And then you cite
various definitions Some of the -- you know, 17 sexual misconduct policy Section
some of the definitions say as incorporated or 18 D(l)(a)(i)(ii). Now, that's that definition
set forth in the crimes code. So 1 have read 19 you cited for Sexual assault, right?
those sections. 20 A. Yes.

Q. So what would be the elements 21 Q. Okay. And then you go on to
in the crimes code of sexual assault, if you 22 define consent as part of the policy
know? 23 guidelines that you're focusing on; is that

A. 1 can't answer that off the top 24 correct?

Page 147 Page 149

of my head. 1 A. Yes. |

Q. How about, have you also 2 Q. And you indicate on there what
acquainted yourself or caused yourself to be 3 consent is. "Consent means words or actions
acquainted with any charge of sexual assault 4 that reasonably demonstrate to another a
which may exist in the federal crimes code? 5 knowing and voluntary agreement to engage in

A. 1 don't believe so. 6 mutually agreed upon sexual activity." Then

Q. Okay. And so when you're 7 it goes down, small A, "Consent is active, not
defining the policy you're going straight to 8 passive. B, an affirmative statement or
the definition in the sexual misconduct policy 9 action does not constitute consent if it is
itself of the school, right? 10 given by a person who is unable to make a

A. Yes. 11 reasonable judgment concerning the nature or

Q. It says, "In relevant part the 12 harmfulness of the activity because:" and then
sexual misconduct policy prohibits sexual 13 it goes down four separate things in small
assault, The policy defines sexual assault as 14 Roman numerals, the first one, incapacitation,
'having sexual intercourse or sexual physical 15 second one, unconsciousness, third one, mental
contact with another individual by the use of 16 disability or incapacitation, the fourth one,
threat or force or coercion, without consent, 17 if the consent is a product of threat or
or where the individual is incapacitated.' 18 coercion, C, "1n whatever way consent is
The policy also provides that sexual assault 19 communicated it must be mutually
includes nonconsensual sexual contact which is 20 understandable D, Silence, in and of itself,
defined as follows." And then "For purposes 21 or the absence of resistance cannot be
of this policy, sexual assault also includes 22 interpreted as consent. E, It's a
nonconsensual sexual contact. Nonconsensual 23 responsibility of the initiator of sexual
sexual contact means any sexual touching with 24 contact to make sure that they understand

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fully what the person with Whom they are
involved wants and does not want sexually. F,
Consent to one form of sexual activity does
not imply consent to another form of sexual
activity. G, Consent to engage in sexual
activity with one person does not imply
consent to engage in sexual activity with
another. H, A previous relationship or a
prior consent does not imply consent to future
sexual acts. 1, Consent can be withdrawn
through actions or words at any time." And
you cite to the sexual misconduct policy on
the definition of consent, which is Section
D(5). So did 1 read that policy correctly?

A. 1 believe so.

Q. Okay. So you are focusing on
two things. One is the definition of sexual
assault; is that correct?

A. Yes.

Q. And the other one is consent;
is that correct?

A. Yes. 1 think they were the two
issues.

Q. Okay. And then you list that

Page 151
you interviewed the following witnesses. Can
We agree, even though it's redacted, that you
interviewed two witnesses, Jane Roe and John
Doe?

A. Correct.

Q. And you also indicate the
documents you reviewed. And that's what we
noted earlier; is that correct?

A. 1 don't remember noting it
earlier, but my report makes reference to
these four documents

Q. Four documents?

A. Yes, 1 agree, the appendix
documents, yes, sir.

Q. Then you go on to do a summary
of the investigation and the interviews that
you had with each person; is that correct?

A. Yes.

Q. Okay. 1'm going back in the
policy here, I want to focus on something
here, The definition of sexual assault, this
does not involve sexual intercourse, right?

A. This complaint does not involve
sexual intercourse, yes, correct.

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Q. But it does involve, according
to you, a possibility of sexual physical
contact with Jane Roe?

A. Sexual touching

Q. Sexual touching Then it says,
"Having sexual intercourse or sexual physical
contact with another individual by use of |
threat or force or coercion." 1 will stop
there. We are not dealing with threat or
coercion, are We?

A. No.

Q. So 1 take it you're saying we
are dealing here with force; is that correct?

A. Yes.

Q. And is force defined anyplace?

A. You're taking a definition, a
little part of the definition here, and you
have to look at the whole thing So the
following sentence also says "The policy also
provides that sexual assault includes."

Q. Oh. Okay. But as to this
definition at the very beginning, "Sexual
physical contact With another individual by,"
one of three things, threat or force or

Page 153
coercion. A111 am asking is: Are you
focusing on force with regard to your

findings?
A. 1 am focusing on not having :
consent, l
Q. So there wasn't really any

force used, then?

A. Well, 1 believe there was force
used.

Q. Because there is two things
It's "Contact with another by the use of l
threat or force or coercion without consent or
where the individual is incapacitated." 1
read that right?

A. Yes. That's only one sentence
of the definition, but you read that.

Q. But there is three elements
there, 1 will work backwards. Or where the
individual is incapacitated, we are not
dealing with that, right?

A. Right.

Q. Without consent, that's an
issue in your mind as possibly, right?

A. Right.

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Q. So out of the three, "by the 1 clothes, does it? l
use of threat or force or coercion," are you 2 A. No.
focusing on the force issue? 3 Q. At the Very beginning of that

A. Yes, but 1 still think you're 4 paragraph that we quoted, "Nonconsensual
taking one part of the definition out of 5 sexual contact means any sexual touching with
context. l 6 any object by a person upon another person l

Q. Let's go down there, "The 7 without consent." '
policy also provides that sexual assault 8 A. Correct.
includes nonconsensual sexual contact, which 9 Q. Okay. So one of the things you
is defined as follows: Nonconsensual sexual 10 had to determine in your analysis was was

contact means any sexual touching with any 11
object by a person upon another person without 12
consent or forcing any person to touch you or 13
the individual in a sexual manner. 1t is 14
defined as engaging in any sexual contact 15
other than intercourse with another person 16
without the person's consent and/or 17
cognizance. It includes any nonconsensual 18
sexual contact, including any improper 19
touching of intimate body parts. It also 20
includes the nonconsensual removal of 21
another's clothes, indecent contact, i.e., the 22
unwanted touching of an intimate body part, 23
included but not limited to genitals, 24
Page 155

buttocks, groin, or breasts or causing another 1
to have indecent contact with those intimate 2
body parts." Did 1 read that correctly? 3

A. 1 believe so. 4

Q. Okay. So let's go back and see 5
what we can focus on here, because this case 6
does not involve some touching of intimate l 7
body parts, right? 8

A. Well, you've seen my analysis 9
on that. 1 0

Q. Okay. But does it involve the 11
touching of intimate body parts? 12

A. Not in and of itself. ' 13

Q. Were any intimate body parts 14
touched? ' 15

A. No. 16

Q. You hesitated, not in and of 17
itself? . 18

A. Yes. You're sort of taking 19
sound bites, though. 20

Q. 1 am trying to break down the 21
elements here to see what it is not about and 22
what we are focusing on. Okay? lt does not 23

include the nonconsensual removal of another's 24

there sexual touching?

A. Correct.

Q. And then you have to determine
was it with or without consent?

A. Yes.

Q. Okay. And then that sentence
also goes on to say, "or forcing any person to
touch you or the individual in a sexual
manner." So that doesn't apply here, right?

A. Right.

Q. Okay. 1f there was consent
given, then one of your purposes of your
analysis would be going back to the definition l
of consent, whether or not that consent was l

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later withdrawn?

A. Yes.

Q. Who has the responsibility to
prove the case? 1 know it's a preponderance l
of the -- l

A. Nobody. The standard is a
preponderance of the evidence and it's the
university's obligation to investigate the
complaint

Q. Doesn't the university have
an -- 1 am throwing this out to you. Doesn't 1
the university have an obligation to prove l
lack of consent or elements -- let me ask you
a different way. Doesn't the university have
the obligation to prove the elements showing
sexual assault?

MS. ENGLE: Object to form.
MR. MYERS: Object to the form

of the question, Are you asking this

witness the standard by which she

evaluates the evidence and the rules

by which she does something or are you

asking a broader question about

whether there are other people or

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other aspects of St. Joe's that do 1 A. But not because of the Dear
things? 1 honestly don't understand 2 Colleague Letter, but if you use the example 1
your question ' 3 gave you.

BY MR. SCHWABENLAND: 4 Q. Okay. We Will come back to the
Q. Can you answer my question? 5 elements in a second. You have Dr. Perry's

MR. MYERS: No, you are not 6 report concerning the statements made by

going to answer, because 1 don't 7 Ms. Roe to her and then you have a chance to
understand it. 1 am asking you to 8 meet With her?
rephrase it. l 9 A. Yes.

BY MR. sCHwABENLAND; ' 10 Q. At that point she was -- this
Q. According to you, you have a ' ll is on Page 3 of your report, Which is Bates

preponderance of the evidence, and so does
the -- who has the burden to show either that
sexual assault occurred or sexual assault
didn't occur?

A. 1 don't think 1 can answer that
in the hypothetical way that you have
propounded the question, 1 think in general
it is the university's obligation to
investigate these complaints For example, if
there was a complainant who didn't really
remember very much based on her knowledge, you
can't hold that against her, right, you can't
say, "You don't remember anything, so you

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Page 159
don't meet your burden," because it's not the
complainant's burden --

Q. She would have been
incapacitated --

MR. MYERS: Please don't
interrupt

THE WlTNESS: 1 understand
incapacitated, That is unable to
consent, But there are people who
don't remember things, for example.

So the best 1 can answer your question

is, 1 understand it is the

university's obligation to fairly

investigate complaints by a

preponderance of the evidence. 1t‘s

not solely saying that that is the
complainant's burden
BY MR. SCHWABENLAND:

Q. Do you recall in the Dear
Colleague Letter of 2017 reference to the fact
that the university has a burden of proving?

A. That's what I was just trying
to explain.

Q. Okay.

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stamped 270. 1 hope 1 am doing this
accurately.
MR. MYERS: We are there.
What's the question?
BY MR. SCHWABENLAND:
Q. Did you get to that?
A. Yes. Is there a question

pending?
Q. No.
A. 1 am looking at 270.
Q. Okay. Do you remember her?
A. Generally.
Q. Do you remember what she looked
Page 161 '
like, anything?
A. 1 thought she was slender with

long brown hair.

Q. When you first meet with her
what did you say to her?

A. 1 tell the complainant and the
respondent the same thing 1 tell them who 1
am. 1 tell them 1 am an employment lawyer
with Cozen, my role in this case is not to be
a lawyer but to be an investigator and that 1
will do an investigation 1 make findings of
what happened, 1 tell them, 1 make
determinations of who is telling the truth,
and my role is only to determine whether the
policy is violated, and that my report goes to
Community Standards and anything after that is
handled by Community Standards and Community
Standards will be in touch with them.

Q. Do you tell them what Community
Standards will do after they get your report?

A. Not specifically. You know,l
don't think 1 specifically do, no. 1 tell
them, "When 1 arn done 1 give my report to
Community Standards and then they handle

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1 anything afterwards." 1 think 1 probably say 1 friend?
2 from time to time, including whether any 2 A. 1 didn't ask. 1 believe so. 1
3 discipline is issued or any actions taken on 3 do confirm with them that they're a student
4 my report. 4 Q. Did the student participate in
5 Q. Okay. 5 any discussion or is she -- 1 take it it was a
6 A. 1 tell them -- l 6 female student?
7 Q. Did you say that in this case? 7 A. Yes.
8 MR. MYERS: Please let her 8 Q. Did this student participate in
9 finish the answer. 9 any discussion?
10 MR. SCHWABENLAND: lam just 10 A. No.
11 following up from that. 11 Q. And so it then says -- at least
12 MR. MYERS: You interrupted 12 you then start to go, summary of what she
13 her, Ed, 13 says, "On February 23rd, 2018 Jane Roe" -- let
14 THE WlTNESS: 1 think you told 14 me just call her Roe -- "attended a party at a
15 me what do 1 say. Then 1 usually try l 15 frat house at LaSalle University (she is
16 to talk to them about, what is your l 16 childhood friends with one of the frat
17 major, why did you come to St. Joe's, 1 17 members). She arrived shortly before
18 what do you Want to do when you 18 11:00 p.m. accompanied by her friends, St.
19 graduate. 1 do try to have some 19 Joe's University students," and then it looks
20 personal conversation Then 1 say, 20 like several people are identified; is that
21 "Let's go through the complaint, 1 21 correct?
22 want to ask you what happened " 22 A. 1 believe that's true,
23 BY MR. SCHWABENLAND: 23 Q. Do you know how many friends
24 Q. When you said sometimes 1 tell ' 24 went with her?
Page 163 i Page 165
l them what Community Standards may do or 1 A. 1 could review my notes 1 am
2 sanctions, did you tell them that in this 2 thinking two or three.
3 case? 3 Q. Okay. 1f it is in your
4 A. 1 don't remember. 4 notes --
5 Q. Okay. So then you -- 5 A. Well, they are all redacted
6 A. 1 do remember telling them 6 too. lt appears to be -- 1 am looking at
7 everything else 1 said, though, this is who 1 7 Exhibit-7 -- that there are three lines
8 am, this is what 1 do, this is what 1 decide, 8 redacted, so there were three other names, but
9 and then you're going to hear from Community 9 1 don't know that
10 Standards 10 Q. "She did not have any alcohol
11 Q. Okay. Did you tell the 11 before arriving at the party. Roe chugged 'a
12 complainant that you have the report of l 12 couple of beers' after she arrived at the
13 Ms. Perry, whether or not you showed it to her 13 party. She was dancing with her friends"
14 or not? 14 Did 1 read that correctly?
15 A. 1 think so. 15 A. Yes.
16 Q. Okay. And did she comment on 16 Q. Why did you put in there
17 that at all? 17 "chugged"? Did she say that?
18 A. No. 18 A. That's what she told me.
19 Q. And so let's go through this, 19 Q. And the next paragraph, it then
20 if 1 could. During this meeting she had 20 goes, "Roe ran into Doe while she was holding
21 another student with her who acted as her 21 a girlfriend's hand to make her way to the
22 adviser; is that correct? 22 bathroom (She did not know Doe) She rammed
23 A. She did. 23 into him when she later made her way to a keg.
24 Q. And the student was, what, a 24 Doe said, '1 am so sorry' -- do you know who

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said "I am so sorry"? 1 think it's Roe. 1
think 1 misstated that After the sentence
ending in K --

A. 1 believe it's the female.

Q. Okay. I misstated that. 1
apologize. "Roe say, '1 am so sorry.' He
said, 'It's okay. 1'm' -- then he stated his
name and he introduced himself "Doe then
asked if she went to school here, meaning ' 9
LaSalle. She said she went to Temple." Then 10

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it goes on. You wrote, "He said she 'lied 11
about Temple' and that she goes to St. Joe's 12
too. " 1 3
A. lt should be she, she said that 1 14
she lied. 1 5
Q. So she first said that she Went 16
to Temple. ls it your understanding when Doe 17
said7 "Well, 1 go to St. Joe's," she then 1 18
said, "Well, 1 lied. 1 go to St. Joe's too"? l 19
A. Yes. 20
Q. "They began talking He gave 21
her a Gatorade bottle which contained liquor 22
43 (he told her what was in it). Doe also 23
talked with her friends and was 'really cool 24
Page 167
With them'." Is that how Roe described it? 1
A. Yes. 2
Q. "Roe thought Doe seemed like a 3
nice guy." So as of that time she's relating 4
that she meets this guy, he seems nice, and 5
they are interacting together, right? 6
A. Yes. 7
Q. The next paragraph, "They went 8

outside because the room was hot There was a l 9
drug dealer selling cocaine. Roe, who is a 10

recovering drug user, asked the man what price 11
was because she wanted it. Doe told her not 12
to do it, that she would regret it. Roe had 13
shared with Doe that she previously had a drug 14
addition and had attended a recovery high 15
school. Her friend from LaSalle told the drug 16
dealer to leave." Did 1 read that correctly? 17
A. Yes. 18

Q. se is Ms. Ree saying that she ' 19

was interested in buying cocaine and that 20
Mr. Doe talked her out of it? 21
MS. ENGLE: Objection. 22

THE WlTNESS: In general, yes. 23

24

Page 168
BY MR. SCHWABENLAND:

Q. 1t then goes on to say, "when
inside." I take it you're referring to both
of them?

A. Correct.

Q. "She went to the bathroom to
compose herself after the encounter with the
drug dealer. Her friend and Doe then rejoined
her. She told them all that she did not buy
drugs and Doe told her not to. Roe thinks
that made him a decent guy." Did 1 read that
correctly?

A. Yes.

Q. And so up until that point they
are getting to know one another and she thinks
he's an okay guy and she's spending some time
with him, right?

MS. ENGLE: Objection.
THE WlTNESS: Yes.
BY MR. SCHWABENLAND:

Q. Then it goes on to say that "We
are kissing at the party." 1 take it you mean
Doe and Roe?

A. Yes.

Page 169

Q. "She consented to this and had
no complaints about it." Then you have down,
1 take it you mean "Doe asked her if she
wanted to come back to St. Mary's. Roe said
yes and offered to call an Uber. Doe had come
to the party with a friend, so they left in
the friend's car. She text her friend, said
she was leaving Roe said that Doe was
'flirting' with other girls in the car but she
did not care. She was sitting on Doe's lap in
the car." And so far I've read that

correctly?

A. Yes.

Q. So as of that point they are
kissing. Did you inquire as to how they are
kissing?

A. 1 don't believe so.

Q. Did you inquire if they were
touching each other's face or neck?

A. 1 do not believe so.

Q. But from your interview of
Ms. Roe is Roe giving her consent so far to
her contact with Doe?

A. Yes.

 

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Page 170 Page 172
Q. And as of that point she's l A. 2:33, right, Page 290.
thinking he's a "decent guy"? 2 Q. But my question is: Did she
MS. ENGLE: Objection. 3 indicate when she left LaSalle with Doe?
THE WlTNESS: That's what she 4 A. 1 don't remember that,
told me, 5 Q. At least you know that she had
BY MR. SCHWABENLAND: 6 her friends there and Doe had his friend there
Q. When Ms. Doe indicated that she 1 7 who drove, right?
was asked to go back to St. Mary's by Doe was 8 A. Right.
it your understanding that she consented, she 9 Q. And do you know that, according
was in agreement to do that? 10 to her statement, they had other girls in the
A. Yes. 11 car that they were going to drop off?
Q. Did she get into any discussion 12 A. 1 know she said -- or he said
about him flirting with the other girls or why 13 they were dropping off the LaSalle students

is she bringing it up? ' 14
A. No. Only what 1 have written 15
here. 1 6
Q. 1 am going back. She indicated 17
that she and her girlfriends arrived at 18
approximately 11:00 p.m.; is that correct? 19
A. 1 don't know. 20
Q. Go back. Page 3, at the 21

beginning of it, that second paragraph, "She 22
arrived shortly before 11:00 p.m. accompanied 23
by her friends." That's Bates stamp 270. 24

Q. Okay.

A. 1 don't know whose friends they
were. Somebody was dropped off.

Q. And you don't know where they
were going to be dropped off?

A. Right.

Q. But if they were LaSalle
students it would be someplace close by?

A. You would think, but you don't
know,

Q. Do you know how long it took

 

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Page 171 l

A. That's arriving at the party. 1
Q. That's what 1 meant 2
A. All right 1 thought you meant 3
to the dorm. 4
Q. No. 1 apologize. 1 meant she 5
arrived at the party with her friends at about 6
1 1 :00. 7
A. Correct. Yes. 8
Q. Did she indicate how long they l 9
had been there prior to leaving? 10

A. 1 don't remember. 11

Q. Did you try to inquire as to l 12
timing at all? 13
A. Yes. I don't remember off the 14

top of my head, but she showed me the texts to 15
her friends, which 1 think are at, like, 2:30 16
in the morning, something like that, when she 17
leaves St. Mary's. 18
Q. Okay. 19
MR. MYERS: 1f you want to look 20

at the texts, you can. 21

BY MR. SCHWABENLAND: 22
Q. The text to her friend at St. 23
Mary's, it says 2:33. 24

Page 173
them to get back to St. Joe's University?

A. 1 do not.

(Whereupon, Exhibit Malloy-8
was marked for purposes of
identification.)

BY MR. SCHWABENLAND:

Q. 1 am showing you what's been
marked as Exhibit-8 It's a copy of a text
message and it's a text message from Roe to
her friends saying -- what's the time on that?

A. 1:31.

Q. Okay. At 1131 she indicates
she is outside, there is a drug dealer selling

coke and she wants some, right?
A. Right.
Q. Okay.
A. It's the same as 293.

Q. Okay. And so at least by 1:31
she's outside and that's when Doe, according
to Roe, talks her out of buying the coke,
right?

A. Yes.

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Q. So -- l A. 1'd have to see it.

A. 1 am not sure 1 can agree with 1 2 Q. Go ahead.
that, Okay? ' 3 A. What page are you on? Yes, 1

Q. Okay. 4 see, at the bottom of Page 272. Yes.

A. The text is timed 1:31, "Guys, 5 Q. Roe estimated that they were in
there is coke here." That does not mean that 6 the little room at St. Mary's for 15 minutes?
she already didn't talk to the guy and went 1 7 A. Yes.
inside. So 1 don't know if this is 8 Q. Okay. That's her estimation,

contemporaneous with her talking to the coke 9

guy or not. 1 just don't know, 10
Q. Well, at least there is 11
something going on about the coke, Can 1 see 12
that? And her exact words, "Guys, there's 13
coke here. 1 want it." So at least that's 14
when she is still at LaSalle, right? ' 15
A. At the party, yes, seems to be. 16
Q. So what you're saying is that 17
she may still not be outside, she may be back 18
in and texting that? 19
A. Correct. 20
Q. Was it your understanding there 21
were a lot of people there at the party? 22
A. Yes. 23
Q. So, nevertheless when she goes 24
Page 175
back inside she goes to the bathroom and then 1
reunites with her friends and Doe; is that 2
correct? 3
A. That's what she told me, yes 4
Q. So we are now into it being 5
after 1:30 a.m., right? 6
A. Yes. 7
Q. Did you ask her any questions 8

about, "What time did you leave?" or "How long 9

did it take you to get back to St. Joe's?" or 10
anything about timing? 1 didn't see anything 11
in your handwritten notes Go ahead and take 12
a look. 1 3

A. 1 don't remember. 1 have the 14
clear impression that they were only on St. 15
Joe's campus for a very short period of time. 16
1 don't know if that's an impression 1 put 17
together from talking to both of them. But 1 18
would agree with you, there is nothing in my 19
handwritten notes on that 20

Q. 1 will represent to you that 21
later on you put in there that they were in 22
St. Mary's about 15 minutes Does that ring a 23
bell? 24

but did you ask her what time did they get
back to St. Mary's?

A. 1 don't recall doing that,

Q. Did you ask for any
surveillance tapes or swipe card monitoring
things to find out when they got back?

A. 1 did not.

Q. 1s there some reason why you
didn't?

A. 1 didn't think the complaint

turned on when they got back.

Q. Well, the complaint may turn on
timing or how long they were alone together,
don't you think?

MS. ENGLE: Object to form.
THE WlTNESS: She said they

Page 177
were back for 15 minutes
BY MR. SCHWABENLAND:
Q. 1 understand, but that could be
right or wrong
MS. ENGLE: Objection.
THE WlTNESS: My own opinion is
1 did not think the complaint turned
on when they got back.
BY MR. SCHWABENLAND:

Q. So am 1 correct that you didn't
ask to -- inquire of her any about what time
they left or arrived back at St. Mary's?
MS. ENGLE: Objection. Asked
and answered.
THE WlTNESS: 1 don't remember
doing so, although 1 do have the firm
impression they were only back at St.
Mary's for a small period of time.
BY MR. SCHWABENLAND:

Q. Okay. From your discussions
with Ms. Roe did you seek to interview her
friends, either those she was at the party
with or anybody who came to meet her after she
left St. Mary's?

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A. 1 did not. 1 would typically
interview the complainant and then the
respondent next and then make a decision based
on whether anybody else needed to be
interviewed
Q. Did you consider interviewing
her girlfriends?
A. 1 don't know if "considered" is
the right word. 1 did not feel that there was
the need to interview anybody else, because, 1
believe -- only Jane and John were in the room
together and there were no other Witnesses to
that and he agreed that when he came back to
the room after leaving for a short period of
time that she was on the phone and quickly
left afterwards
Q. Okay. But in terms of finding
out before they left LaSalle, did you consider
asking her friends how they appeared, were
they enjoying themselves kissing, were they
hugging each other? Did you think that would
be helpful in figuring out what happened that
night?
A. 1 did not.
Page 179
MS. ENGLE: Objection to form.
MR. MYERS: 1 would ask you to
clarify the question as to whether --
are you asking whether she thought
interviewing the friends would be
helpful on the question of whether
they were kissing and enjoying
themselves at LaSalle or some other
question?
MR. SCHWABENLAND: 1 asked her;
She answered me, So you can rephrase
anything you want, but let me --
MR. MYERS: You can leave it in
the ridiculous, ambiguous state you
left it. 1t's fine with me. 1'm not
worried about the record. 1'd ask you
to try to be a little more precise,
Ed.
BY MR. SCHWABENLAND:
Q. Let me go to that last
paragraph that 1 read. That's Page 4, which
is Bates stamped 271. Other than saying they
were kissing at the party -- and you're
referring to what Roe is telling you about Doe

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Page 180
and Roe kissing at the party, right?

A. Yes.

Q. Did you inquire any more as to
how often they would kiss, whether they would
hold each other, what was going on, was one
caressing the neck or the head, anything like
that?

A. 1 did not.

Q. Was it your knowledge that
Ms. Roe left on her own free will to go back
to St. Mary's with Mr. Doe?

A. Yes.

Q. Now, go to the next page.

MR. MYERS: 272?
MR. SCHWABENLAND: 272.
BY MR. SCHWABENLAND:

Q. "After arriving at St. Mary's
they went to the kitchen for water. Roe said
she needed to sober up a little." Did she
explain any more than what --

A. No.

Q. Did she say what she meant by
that?

A. No.

Page 181
Q. Did you inquire of that?

A. 1 don't recall doing so,

Q. Okay. "Doe said his roommate
was asleep but they could go to the third
floor. After arriving ata small room, Doe
closed the door. Ms. Roe does not know if he
locked it. There were two chairs and two
small couches without arms They were
kissing, which Roe said she consented to and
was fine with. Then Doe sat on top of her and 1
put his hand around her throat and squeezed l
her neck. He Was still kissing her while he
was squeezing her neck. Doe [sic]
believes she said, 'What the fuck'."

A. No. I think that's Roe.

Q. Did 1 say Doe? 1'm sorry.
Thank you. "Roe believes she said, 'What the
fuck'. He pulled away. Doe said she saw his
eyes and he looked 'so scary'."

A. 1 believe that's Roe.

Q. 1 apologize. Let me read that
again.
Jane and John are easier.
Okay. Let do it that way, "He

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A.
Q.

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1 pulled away. Jane said she saw his eyes and
2 he looked 'so scary'. John moved away from
3 her and left the room (the lights in the room
4 Were on). Roe said this reminded her of a

5 previous abusive boyfriend who would squeeze

6 her neck." Did 1 read that paragraph -- after

7 you were nice enough to correct me, did 1 read

8 that correctly then?

9 A. 1 believe so.
| 10 Q. Okay. So let's get to the
ll point here, At a certain point when they

12 returned to St. Mary's they go in the kitchen
13 for water. That's on a different floor; is
14 that your understanding or you don't know?
15 A. 1 assumed it was on a different

l 16 floor and the little room was upstairs

l 17 Q. There is no reference to
18 whether or not they were kissing while in the
19 kitchen. Did you ask her that at all?
20 A. 1 don't believe so. She didn't

' 21 tell me that

1 22 Q. They go in, up to the third
23 floor, and they both sit down on two chairs;
24 is that correct?

l A. Yes.

2 Q. Okay. And up until that point

3 the kissing was consented to and she said that

4 was fine?

5 A. Yes.

6 Q. Okay. There's no mention on

7 here about if they had their hands on each

8 other's neck or head while they were kissing
9 Did you inquire as to that?

10 A. 1 don't believe 1 asked Jane,

11 but 1 asked John.

12 Q. Okay. And what did John say?

13 A. l believe he says yes, they

14 were touching each other's necks and throats.

15 Q. Why didn't you ask Jane?

16 A. 1 don't -- 1 don't know.

17 Q. Okay. Then she says that "John

18 sat on top of her and put his hand around her

19 throat and squeezed her neck." Now, when she

20 said that did you ask what she meant by
21 sitting on top ofher?

22 A. Yes. She said he moved over
23 and, like, sat on her lap.

24 Q. 1s he sitting sideways and

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Page 184
kissing her? Is he straddling her? Do you
recall?

A. 1 don't recall.

Q. But, nevertheless he is
sitting on her lap?

A. Right. 1 specifically remember
saying, "What do you mean, sitting on your
lap?"

Q. And up until that point they
had been kissing and caressing each other,
right?

A. Yes.

Q. And then she mentioned that he
took his one hand and put it at her neck?

A. Yes.

Q. Had his hand been on her neck
while they were kissing?

A. 1f you remember what 1 told you
a minute ago, 1 didn't ask her that, but he
told me, yes

Q. Did you accept that in your
analysis?

A. Yes.

Q. And so up until that point of

Page 185
the squeeze was it your understanding that she
had given her consent to him to kiss her and
to both engage in touching each other's face
and neck?

A. She gave her consent to
kissing, which as my analysis says, to some
extent includes touching your face and neck
area.

Q. All 1 am asking is, was it your
understanding in your analysis that as of that
time, until the squeeze, the consent had been
given for him to have his hand on her neck and
head while kissing?

A. Yes, as my analysis explains

Q. Okay. Now, she said that he
squeezed her neck. Did she demonstrate to you
how he squeezed with the one hand?

A. 1 believe she did. She
demonstrated by putting her hand on her neck.

Q. So she took, what, a thumb on
one side of the neck and fingers on the other
side of the neck?

A. Yes. As 1 recall, yes

Q. And at What point did she say

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the words, "What the F"? 1 A. You're referring to Page 284?
A. While he was squeezing her. 2 Q. 284, yes
Q. Immediately when he squeezed 3 A. It says what it says
her? 4 Q Okay. But did you review that
A. She said it so he Would stop. 5 with her, about, "Well, you didn't say" -- if
Q. Pardon me? 6 you know, "You didn't say that you said
A. She said it so he would stop 7 anything like 'What the F"'?
Q. 1 understand that, but, if you 8 A. 1 did not.
know, as soon as he started to squeeze her did 9 Q. Okay. Did you ask her any
she say that so he would stop or did she allow 10 questions about her boyfriend?
it to keep going for several minutes? 11 A. No. l
A. 1 don't know. 1 certainly got 12 Q. The reason 1 say that is that
the impression that it was immediately, 13 she claims that whatever he was doing to the
because it hurt 14 throat triggered her memory of this boyfriend,
Q. So at that point she's calling 15 right?
his attention to the fact that he is doing 16 MS. ENGLE: Object to the form. '
something that she doesn't like? 17 MR. MYERS: Objection to the l
A. Yes. 18 form. She wasn't at the deposition
Q. And he stops right away? 19 She can't possibly know what was
A. Yes. 1 20 explained at Jane Roe's deposition
Q. She then says he pulled away 21 So 1'm not going to let her answer
and was that immediate too, after she said, 22 that question 1f you want to
"What the F"? 23 rephrase it, you can.
A. Yes. 24
Page 187 Page 189
Q. And then she said, "She saw his 1 1 BY MR. SCHWABENLAND:
eyes and he looked 'so scary'." And "so 2 Q. 1 am asking if you asked her
scary" is in quotes Did she say how long she 3 here. She basically says that it reminded her
saw his eyes? 4 of a previous abusive boyfriend who would
A. No. 5 squeeze her neck.
Q. But she then indicates that he 6 A. That's what she told me and 1
left the room for some reason and that when he l 7 did not inquire into the boyfriend further.
squeezed her neck and looked at his eyes she 1 8 Q. But why didn't you -- aren't
was -- it reminded her of a previous abusive 9 you? And the reason I ask that is, aren't you
boyfriend who would squeeze her neck? 10 dealing with trying to figure out, is this an
A. Yes. ll overreaction or a misperception of something
Q. Did she say why he left the 12 because of a past experience?
room, if you know? 13 A. 1 am focusing on Whether the
A. She did not. 14 conduct happened and whether it violated the
Q. Did you ask her any questions 15 policy.
about the previous report issued by Dr. Perry 16 Q. So in focusing on whether the
and, more specifically, it says -- this is at 17 conduct happened you are interviewing Ms. Roe§_
Bates stamp 284, where she said she felt she 18 so it's important to know what her perception
couldn't breathe and at that point she froze 19 is at the time; is that correct?
and had something of an flashback regarding 20 A. 1t's important to know what
her old boyfriend. But there is no indication 21 happened and whether it violated the policy.
that she said "What the F" or alerted him that 22 Q. But if--
she did not like what he Was doing at that 23 A. 1 took the boyfriend thing as
point? that_'s w_hy it scared her So much.

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Q. Okay. l 1 possibilities?

A. Not that it went to whether it 2 MS. ENGLE: Objection.
happened or not. That's the way that she 3 THE WlTNESS: 1 have to
presented it to me, "This reminded me of." 4 determine what happened

Q. Okay. Are you done? 5 BY MR. SCHWABENLAND:

A. Yes. 6 Q. 1 understand that, but you

Q. Okay. So you did not inquire 7 determine by asking questions, right? You're
any more about how the boyfriend may have 8 an investigator?
abused her in the past? 9 A. 1 am an investigator.

A. Correct. 10 Q. Okay. So did you ask her any

Q. You just took what she said at 11 more questions about her boyfriend?
face value? 12 A. 1 did not.

A. 1 take nothing at face value. 13 Q. 1 will represent to you that
1 recorded in the part of this paper that we 14 Ms. Roe has indicated that she has -- had been
are talking about what she told me, 15 diagnosed with PTSD because of a previous

Q. 1 understand But you're not 16 relationship with a boyfriend over a six-month
probing into that any further, right? 17 period Where he did certain things to her.

A. 1 did not ask her any further, 18 Did she mention she had PTSD?
correct. 19 A. No.

Q. And so did you ask her any 20 Q. Would you agree with me that
questions about her medical background? 21 that would be relevant to a determination

A. No. 22 whether or not she is misperceiving things?

Q. Now, she indicated that she had 23 A. I did not view it as such. I
been clean for about two years but had been 24 did not know it and 1 did not view it as such.

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addicted to drugs, right? 1 Q. lt then goes On in the next

A. I think that's what the Perry - 2 paragraph that Jane -- 1 am going to say Roe
complaint says 3 and Doe -- "Roe texted her friends Doe came

Q. Okay. But did you ask her any 4 back to the room while she was texting. Roe
other questions about that? 5 thought that he may have been expecting more,

A. No. 6 like something sexual. Roe text" -- and 1

Q. Did you ask her if she had been 7 guess what's redacted is one of her
taking any drugs, even marijuana or anything? 8 girlfriends -- "tO act like She needed her.

A. No. 9 So that girlfriend called" -- 1'm sorry.

Q. You did ask her if she had 10 There is a bunch of redaction. Redaction,
anything to drink that night before getting to 11 "Called," somebody redacted, redacted, "text,"
the party and she said no, but she had a 12 redacted, "WhO called her baek." Then, "Roe
couple of beers that she chugged when she got 13 said, No, 1 arn okay. "Her friend," that's
there, right? 14 redacted, "said Do you want me to come? Roe

A. I don't recall whether 1 asked 15 replied, Yes." Roe left and Roe met her '
her that or she told me that, but 1 did know 16 outside. Doe gave her his sweatshirt and said
that, 17 she might be cold. Doe text her at 2139 a.m.

Q. So now we have a situation 18 that he was going to bed but would leave his
where she has an ex-boyfriend that she thought 19 phone on and he hoped her friend was okay. He
abused her, who would squeeze her neck and you 20 text, Hey, to her the next day, which she
have Doe With his hand on her neck at a 21 ignored." Then at the Very end, "Roe
certain point. So the question you have to 22 estimated that they were in the little room at
determine, is she actually being squeezed or 23 St. Mary'S for 15 minutes." IS that the
is she overreacting; isn't that one of the 24 extent Of your interview With MS. Roe?

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A. n is. l 1 Q. And so the interview with
Q. Did you consider any further l 2 Mr. Doe, again, you would have said the same
follow-up? 3 thing that you said to Ms. Roe?
A. 1 just wanted to make one 4 A. AS an introduction, yeS.
correction 1 think when you were reading you 5 Q. And so you have down, "Doe
said that Roe met her outside and l think that 6 first met Roe at a party at LaSalle on
redaction has to do with her friend, a friend 7 February 23, 2018, bumped into each other,
met her outside. 8 introduced, and began a conversation They
MS. ENGLE: Also, there are two 9 were kissing," which who said initiated it?
more paragraphs on the next page that 10 IS it Doe or Roe?
have to do with the Roe interview. 1 1 A. 1 don't know, You have to look
MR. SCHWABENLAND: Okay. Thank 12 at an unredacted one, unless 1 can tell from
you. 13 my notes
BY MR. SCHWABENLAND: 14 Q. But they were kissing, which
Q. lt continues, the interview, ' 15 either he or she initiated, and dancing,
"On Sunday," it says, 1 would imagine Roe and 16 correct?
somebody else, 1 take it one of her 17 A. Correct.
girlfriends, at least or more, "were at CVS in 18 Q. "Roe said she wanted to see St.
the parking lot. Ms." somebody redacted 19 Mary's and they returned to campus" 1 take
"noticed bruises on Ms. Roe's neck. She took ' 20 it Roe and Doe "began kissing again in the
photographs, which Roe gave to the 21 kitchen at St. Mary's. They went to a room on
investigator." She gave you photographs 22 the third floor and were kissing. Doe said he
right? 23 had his hands on Roe's neck area while he
A. Yes. 24 kissed her face and she, likewise, touched
Page 195 Page 197
Q. And then you put in there, "1," 1 Doe's neck area while she kissed him." So
meaning you, "asked Roe why she thought that 2 that's your conversation with him?
Doe squeezed her neck. She said she did not 3 A. So far, yes l
view it as pleasurable. She did not ask for 4 Q. Okay. "Doe said he does not
it and did not consent to it. She thinks he ' 5 remember squeezing her neck area and does not
did it to hurt her, because she felt he was 6 think he did it (He continuously told me that
choking her." Did 1 read that correctly? 7 if Roe said he did so he would not say that
A. Yes. 8 she was lying). 1 tried to keep him focused
Q. Okay. But arn 1 correct that 9 on what he actually independently remembered
you later found that Doe did not intend to l 10 about the evening. He said he is shocked by
cause her any harm? 11 the complaint, considers himself a respectful
A. Yes. Physical harm, yes 12 person and wants to learn from this
Q. And that's the extent of your 13 experience." Now, is it clear that Doe said
interview with Ms. Roe? 14 to you he did not recall or remember ever
A. Yes. 15 squeezing her neck area and does not think he
Q. Okay. You then go on to 16 did that?
interview Doe on that same day. By the way, ' 17 A. When 1 specifically asked him
do you know how long the interview lasted of 18 that, So he was overwhelmingly, "1 am not
Ms. Roe? 19 going to call her a liar. If she said 1 did
A. 1 don't. 1 would estimate 20 it, 1 did it. 1 am going to take
about an hour. 21 responsibility. 1 am going to learn from
, Q. Okay. And how about Mr. Doe, 22 this," continuously said things like that.
same estimation? 23 And 1 said, "I want you to focus on what you
A. Yes.

24

recall specifically happening."

50 (Pages 194 - 197)

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Q. Okay.

A. When 1 said, "Do you recall" or
"Did you squeeze her neck area," he said he
didn't remember and does not think that he did
that.

Q. Okay. So he denied it, at
least when you had him focus on that, right?

MS. ENGLE: Object to the form. 1
MR. MYERS: Object to the form

of the question
BY MR. SCHWABENLAND:

Q. Did he deny it?

A. 1 would not consider that a
denial in the context of the whole interview.

Q. 1 understand But you didn't
perceive that as him trying to be a gentleman
and he was trying to figure out why for some
reason is she claiming she felt uncomfortable?

MS. ENGLE: Object to the form.
THE WlTNESS: 1 did not
perceive it as that.
BY MR. SCHWABENLAND:

Q. So did you perceive that as an

admission?

Page 199 '

A. You have to read the whole
thing. You can't just take a sentence out of
context. But he did not deny squeezing her
neck.

Q. Did he admit to squeezing her
neck?

A. He said he didn't remember and
didn't think that he did it when asked
specifically.

Q. Is that an admission or a
denial?

A. I think it's vague.

Q. So you can't tell one way or
the other?

MS. ENGLE: Objection.

THE WlTNESS: 1f you are just
focusing on that question 1n the
context of the rest of the
interview --

BY MR. SCHWABENLAND:
Q. Okay.
A. In the context of the rest of

the interview 1 did not view that as a denial.
Q. So in the context of the rest

Page 200
1 of the interview did you view that as an
2 admission?

3 MS. ENGLE: Objection. Asked

4 and answered

5 THE WlTNESS: 1 don't think 1

6 viewed it as an admission, but 1 l
7 didn't view it as denial, because he

8 also told me --

9 BY MR. SCHWABENLAND:

10 Q. What is the other option, then?

11 MS. SCHIMELFENiG: Wait. She '
12 was speaking. l
13 MR. SCHWABENLAND: Excuse me.

14 BY MR. SCHWABENLAND:

 

15 Q. What is the other option?
16 MR. MYERS: No. Excuse me.
17 Read back the question, read back the
18 answer, and then you get to finish
19 your answer.
20 _ _ _
21 (Whereupon, the court reporter
22 read back from the record)
23 _ _ _
24 THE WlTNESS: So my answer is,
Page 201 n
1 you have to look at the totality of
2 the interview. He said he wouldn't
3 ca11 her a liar, it was a learning
4 experience, he was going to learn from
5 it, that people have told him that he l
6 is too strong, when 1 told him that l
7 she said it hurt her and that she had
8 bruises, and that his text messages
9 with which he gave me said that he
10 wondered if she thought he was too
11 aggressive or too forceful So 1 put l
12 all of that together. l

13 BY MR. SCHWABENLAND: |
14 Q. The text message he gave you

15 was his statement?

16 A. 1 don't know if it was a

17 statement He told me that he wrote it up

18 after he met with whoever he met, Emily,

19 whoever he met with in Community Standards
20 Q. Okay. And he brought that with

21 him?

22 A, 1 view a statement as something

23 more formal and Signed. But they were his

24 notes that he wanted me to have.

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Q. So in his notes did you
recognize that he was questioning why on Earth
she was feeling uncomfortable?

A. 1 don't know, "1 wonder if 1
was holding her in some way that felt forceful
or aggressive, because, although that was not
my intent, it clearly made her uncomfortable,"

l
2
3
4
5
6
7
so that's what it reads 8

Q. Because he had been told by 9
Emily Forte that it involves something to do 10
with some roughness on his part, right? 11

A. Right. But he says "forceful 12
or aggressive." 13

Q. I understand, But in terms of 14
trying to figure out what he was thinking did 15
you take into consideration that his statement 16
was such that he even considered, "Well, maybe 17
1 pushed her into the chair or pushed her 18

hip," right? 19
A. 1 was looking at all of it. 20
Q. Okay. Was he respectful during l 21
your meeting? 22
A. Yes. 23

Q. Let's go back to the statement, 24

Page 203
"Doe left the room to get his laptop so the

two of them could watch a movie. When he
returned Roe was on the phone. She said she
needed to leave because a friend was sick. l
According to Doe, Roe did not seem 1
uncomfortable. He walked her down to the
lawn. She turned around and kissed him and
said good-bye and left with a female." Does

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that conclude your notes of the interview of 9
Doe? 1 0

A. 1t concludes the summary that's 11
typewritten here. My notes are fuller than 12
that and then, you know, there is other 13
information that wasn't necessarily written 14

,_.
Lh

down But you read the document, 1believe.

Q. When you say your notes, you're 16
talking about your handwritten notes? 17
A. Yes. l 8
Q. And what else is in the notes 19
there? 20
A. Well, we'd have the compare it 21
line by line, right? So the document that we 22
are reviewing, Exhibit-6, is a summary of the 23

interview. 24

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Q. Okay. 1n your handwritten
notes, starting at 384 is your notes of -- l
you're interviewing him, right?

A. Yes.

Q. He relates that he is a
sophomore?

A. Yes. And the introductory part
that 1 told you about that 1 did is not
written down here,

Q. The two met at LaSalle, right? l

A. That's what it says,

Q. He actually bumped into her and 1
then they had a conversation and then they
found themselves kissing, right?

A. Yes.

Q. What is the next word?

A. He said that she was vaping an
electronic cigarette and was blowing smoke 1
into his mouth. 1

Q. So that was the vapor thing?

A. Yes.

Q. "They kissed, talked and
danced," is that what he said?

A. Yes.

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Q. And then what's the next line,

"1 was" what?

A. "Telling her about St. Mary's."

Q. And then the next thing, "She
said she Wanted to see it, the car" and then
somebody's name, 1 guess that's his buddy,
"was driving"?

A. 1 believe so.

Q. Okay. "Dropped off LaSalle's
kids first. Dropped us at St. Mary's.
Kissing in the kitchen." They go to the
kitchen, right? t

A. Correct.

Q. "He doesn't want to make
someone make uncomfortable"?

A. "Don't want to put someone,
make uncomfortable."

Q. He says, "1've thought about
it." Thought about what, this idea, what he
could possibly have done? It's your notes
so --

A. 1 don't know. He said he
thought about it. I thought that to be the
allegations against hirn.

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Q. "They were touching and 1 Q. "Said she needed to leave."
talking;" is that correct? 2 And she seemed fine at the time according to
A. Yes. 3 Doe, right?
Q. Something "to third floor for 4 A. Yes.
Netflix." 5 Q. Outside her girlfriend was
A. "Up to third floor for l 6 waiting, or "Girl waiting," right?
Netflix." 7 A. Yes.
Q. Okay. What's the next word? 8 Q. "She," meaning Roe, "turned
A. "Walked up to third floor." 9 around and kissed Doe again and said
Q. Okay. "1 pushed her to chair," 10 good-bye," right?
that's what he said? 11 A. Yes.
A. Yes. 12 Q. Then he says, "1 text her,"
Q. And that's what he said in 13 right?
his -- whatever he handed you as saying 14 A. Right.
possibly he thought pushing her in the hip? 15 Q. Then you go down and he states,
A. Was too aggressive or 16 "1 was confused 1 didn't realize she was
something, yes 17 uncomfortable. 1 consider myself respectful
Q. "Maybe" what? 18 person 1 don't remember squeezing her neck.
A. "Maybe inappropriate to push 19 I don't think she is lying" or -- was lying or
her. Meant playful." 20 is lying?
Q. So he's saying, "I meant it to 21 A. "Is" is what 1 wrote.
be playful," but he is speculating, was it 22 Q. "1 didn't mean to make her
inappropriate to push her, right? 23 uncomfortable. 1," what, "should have" --
A. Yes. 24 A. "Should have made her
Page 207 Page 209
Q. But he indicated she was 1 comfortable," 1 assume. 1 write as fast as I
smiling during that? 2 can.
A. That's what he said. 3 Q. 1 understand 1 am worse than
Q. And then he says, "1 didn't 4 you are. "1 didn't think it was both hands"?
pick up she was uncomfortable." Did 1 read 5 A. That's what 1 wrote, yes
that correctly? 6 Q. "1t wasn't okay if 1 did it.
A. Yes. 7 Mortifying by this." He meant to say 1 am
Q. And then he says again they 8 mortified?
were kissing, Then he says, "I" something 9 A. Mortified, probably, by this
" going to get stuff, the laptop." What's 10 Q. "1 thought she had hands on my
that? 11 neck," that's what he said, "1 never meant to
A. He left for some reason 1 12 do it. 1 don't recall. So specificallyl
said, "1 was going to get stuff, laptop." 13 would say she was not lying. 1've been told
Q. "1 came back." They kissed 14 strong," what, that he is strong?
again, according to him, right? 15 A. Yes. 1 told him that she said
A. Yes. 16 that it hurt her and that there were bruises
Q. "She gets a phone call. Said 17 and he said, "I have been told 1 was strong."
friends call each other." What is the next 18 Q. "Maybe being affectionate," so
word? 19 that's coupled With "1've been told strong,"
A. "Friend sick, so need to help 20 right?
her, McShain." That's another dorm. 21 A. It's the next line on my notes
Q. And then he kissed her as they 22 That's all 1 can say.
are going out, right? 23 Q. So then the next thing is --
A. Yes. 24 you have a star there -- "1 don't remember

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squeezing neck." 1 when kissing,"

A. This is where 1 specifically 2 Q. Okay.
said to him, "Don't tell me about what you 3 A. "She seemed fine."
think she said" or, you know, to try to get 4 Q. Then this thing about liquor,
him off this, you know, "1 don't deny it. 1 5 "Liquor 43 plus Gatorade to mix."
Learn experience. 1 am not saying she's 6 A. Right.
lying." This is where 1 specifically said, "I 7 Q. "Not much. I had more to drink
want to know what you specifically remember 8 than she did. She was fine, completely in her
about this" and tried to focus on that. 9 senses."

Q. Okay. 10 A. 1 was trying to discover

A. 1 didn't leave it the way it 11 whether there was any incapacitation issue.

 

was, as you can see. 1 tried to get him to 12 1t didn't seem to be.
focus on that and that's when he said "I don't ' 13 Q. There was no indication by
remember squeezing her neck." l 14 either or him that she was in some way
Q. "Hand on neck while kissing"? 15 inebriated or lacked her mental faculties?
A. Yes. 16 A. That is correct.
Q. "She didn't say uncomfortable," 17 Q. So is that the extent of your
1 take it She didn't Say She Was 18 conversation with him? l
uncomfortable? 19 A. Yes.
A. Right. 20 MR. SCHWABENLAND: Take a short
Q. "1 take full responsibility. 1 21 break?
take this as a learning opportunity. 1 didn't 22 THE WlTNESS: Sure.
realize she was leaving because of this She 23 _ _ _
went to high school in Utah, rehab." What's 24 (Whereupon, a recess was held
Page 211 Page 213
that, "Oh, no"? 1 from 3112 p.m. to 3:22 p.m.) 1
A. 1 asked him this. 1 said, "Did 2 _ _ _ l
you know that she had been a former drug 3 BY MR. SCHWABENLAND:
abuser?" He says, "Yes She went to high 4 Q. A couple of questions Did you
school in Utah, rehab." 1 don't know what -- 5 show Doe any pictures?
"Okay now. Two years clean." 6 A. l did not.
Q. She had taken coke and heroin. 7 Q. But you had the pictures with
Then what is the next thing? 8 you, right?
A. "Coke outside," he was telling 9 A. 1 did,
me about the cocaine dealer outside who was -- 10 Q. 1s there some reason you didn't
Jane was asking how much it cost. "You will 11 show him the pictures? l
regret it. One day clean." He was saying 12 A. Based on his interview with me
that "You will regret it, because now you're 13 it was my opinion that it was not necessary to
two years clean and if you do this tonight you 14 show him the pictures, because he said that --
will only be one day clean," that's what he 15 1 am not going to repeat everything 1 just
was explaining to me, 16 said, we have talked about all this -- that he
Q. Okay. lt says, "1 was ' 17 touched her in that area, didn't deny it, you
shocked." 18 know, the whole thing 1 talked about before we
A. "1 was angry about guys who are 19 took the break,
not respectful. Consent to me is important ' 20 Q. But that touching in the area,
1 want to make it right." 21 he did that with permission, right?
Q. And then what does he say? 22 A. Touching in the area, his text
A. "1 was shocked with complaint. 23 notes about forceful and aggressive, 1 read
Pushing her to chair, playful. Hand on neck 24 them when he was in front of me, "People have

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1 said that 1 am so strong. 1 don't deny it.
2 It's a learning experience 1 arn not going to
3 say she's lying," everything that we just
4 talked about.
5 Q. So you made the determination
6 not to show him any pictures?
7 A. Yes.
8 Q. Did you also make --
9 A. That it was not necessary to
. 10 show him any pictures
11 Q. Well, you ultimately made a
12 finding of responsibility against him, right?
13 A. 1 did,
14 Q. So it's not necessary for your
15 purpose, but don't you think the guy charged
16 with the offense has a right to see what the
17 evidence is against him?
18 A. 1 did not feel that it was
19 necessary for my purposes of doing the
20 investigation
21 Q. I didn't ask you that.
22 A. You're just arguing with me.
23 Q. No, 1 am not. Did you think

24 that a person charged has a right to see what
Page 215
l the evidence is against him?
2 A. 1 don't think it's a right,
3 Q. Do you think it's only fair and
4 reasonable to show the accused what the
5 evidence is against him?
6 MR. MYERS: Object to the form
7 of the question 1f the question is
8 whether she thought it was only fair
9 to show him these pictures, you can
10 ask that, although it would be for at
11 least the third time. The broader
12 hypothetical question has no
13 conceivable relevance here, Ed, and 1
14 would ask you to sort of-- we are
15 five and a half hours into this -- to
16 stick to the facts of the case,
17 MR. SCHWABENLAND: Can you read
18 back the question, please?
19 - - -
20 (Whereupon, the court reporter
21 read back from the record)
22 - » -
23 MR. MYERS: Object to the form.
24 You can answer the question,

 

Page 214

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THE WlTNESS: 1 did not think

it was necessary for my investigation
1 told him that she said that it hurt
and that she had bruises and his
answer to that was, "People have told
me 1'm strong."

BY MR. SCHWABENLAND:
Q. Did you tell him that she had

bruises?

Yes.

Did you show him where?

1 said on her neck.

Did you describe the bruises?

No.

?>D.>@?>

(Whereupon, Exhibit Malloy-9
was marked for purposes of
identification.)

MR. MYERS: Again, you don't
have copies of this, Ed?

MR. SCHWABENLAND: ldo.

MS. ENGLE: What is it?

MR. MYERS: This is 917. This

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is Liz Malloy's response to the

investigator with respect to the

appeal.
BY MR. SCHWABENLAND:

Q. Do you recognize that document?

A. 1 do.

Q. And is that your response to
the appeal that was taken by Doe? l

A. Yes, sir. j

Q. May 1 have that one second?
You know that Mr. Doe made a charge that you
you neither showed him pictures of the bruise
nor did you tell him that she had bruises?

A. 1 would not know that unless
you showed me a copy of his appeal. 1 did get
the copy of the appeal.

(Whereupon, Exhibit Malloy- 1 0
was marked for purposes of
identification.)

BY MR. sC_HwABENLAND;
Q. What's been marked as
Exhibit-10, that's the appeal letter. The

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Bates stamp is 919. lt begins 919 and it
goes --

MR. MYERS: No.

THE WlTNESS: Mine says 320.

MR. SCHWABENLAND: Okay.
BY MR. SCHWABENLAND:

Q. It's 320 and it ends at 323. 1

ca11 your attention to the second page, 321.

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A. You need to give me some time 9

to read this, 10
Q. Read the -- 11

A. 1'm going to read the whole 12
thing. 1 3
Q. Okay. 14

MR. MYERS: All set. 15

BY MR. SCHWABENLAND: 16
Q. Now, let me call your attention 17

to the second page there. 1 am going down to | 18
the fourth paragraph down there, You see l 19

that? It's the long one. 20
A. Why are you calling it the 21
fourth paragraph? 22
Q. There's one, two, three, four. 23

A. These are printed out in 24

Page 219 l

different ways, so which one are you talking 1
about? 2
MR. MYERS: What is the 3
beginning of the sentence, Ed? 4
MR. SCHWABENLAND: 1'm sorry, 5

BY MR. SCHWABENLAND: 6
Q. The fourth paragraph down, one, 7

two, three, four, that one, 8
A. Okay. l 9

Q. He in here, "1 feel that this 10
entire process is biased against the accused 11
and in favor of the accuser. 1 was not 12
allowed to know the deals of the claims 13
against me until after 1 was convicted (found 14
responsible and sanctioned). Apparently, the 15
fact that Roe had some sort of bruise on her 16
neck was the deciding factor in my guilt, but 17
throughout the entire disciplinary process 1 18

was never told about bruises and never showed ' 19
any pictures of bruises until after 1 was 20
convicted 1 was not given a chance to gather 21
or present any evidence in my own defense 22

23
24

because 1 didn't even know what charges 1 was
defending myself against. Throughout Ms.

Page 220
Malloy's entire interview with me she never
clarified the charges against me or showed me
any picture of bruises 1 think this is
totally wrong. Not knowing that there were
any bruises or pictures of bruises 1 continued
to believe throughout my interview with Ms.
Malloy that this was some sort of
misunderstanding Ms. Malloy, though, knew
that there were claims of bruising and may
have taken any comments to mean something
other than what 1 meant. For example, when
asked about having my hand on her neck 1
didn't realize Roe was accusing me of
squeezing her so hard that it caused some
bruises Had 1 known that 1 would have been
very adamant that 1 could not have done that
to her. 1nstead, 1 was hesitant to ca11 Roe a
liar, even though 1 had a very different
memory. 1 am concerned that Ms. Malloy 1
interpreted my hesitancy to call Roe a liar as
some sort of admission." And you were given
this to comment, in part, as to what he was
saying, right?

A. Yes.

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Q. Okay. Then if you look at your
comment there -- and that's Exhibit what
again? What is the exhibit?

A. Nine.

Q. Thank you. Go down to the
third paragraph and you said, "The fact that
Ms. Roe had a bruise on her neck was not the
deciding factor." Then you go on to say,
"Finding of Fact Number 7 is that Mr. Doe did
not obtain Ms. Row's consent to squeeze her
neck and she did not consent to that. That is
stated in the rationale as well. 1 did not
show Mr. Doe the photographs His position
that because he did not see the photographs
and, therefore, did not know the charges
against him is false. 1 told Mr. Doe that the
charge was that he squeezed her neck without
consent." Did 1 read that correctly, at least
that part of it?

A. Yes.

Q. I don't see in there where you
say "1 told him that there was bruising on the
neck."

A. 1 did not say that. So 1 get

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Page 222
this appeal document. 1'm not asked to
respond to it paragraph by paragraph, line by
line. 1 can provide whatever information 1
want. So 1 was responding to the fact that he
did know the charges against him. He says
because he didn't see the pictures that he l
didn't know the charges against him. We
talked about this hours ago. 1 specifically
told him when he came in to meet with me what
the charges against him were and 1 did tell
him that her -- not in the beginning, 1 didn't
do it in the beginning -- closer to the end of
the interview, where my notes say, "People
tell me 1 am too strong," 1 did say that she
said that there were bruises, that it hurt her
and that there were bruises.
Q. Do you say in your notes, "1
told him that there were bruises"? Do you say

in your handwritten notes?
A. 1 do not.
Q. So nowhere either in your

handwritten notes of the interview with
Mr. Doe nor in your response to the appeal,
whatever you decide to write, is it reflected

Page 223
that you ever told him about the existence of
a bruise?

A. 1 told him about the existence
of a bruise. I agree with you that it is not
in my -- that that question -- 1 don't do it
in question and answer format. That question
is not in my notes

Q. Okay.

A. And Exhibit-9 is not a
play-by-play answer to every allegation they
make.

Q. All 1 am asking, it's not in
there? It's not in Exhibit-9?

A. Correct.

Q. And it's not in your
handwritten notes that you ever told him about
the existence of a bruise?

A. What 1 said is not. His answer
is

Q. Okay. Thank you. You can put
that one aside now. You were at the end of
the meeting with Mr. Doe. Did you follow
anything up with Ms. Roe?

A. Let me finish my interview with

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Mr. Doe. So 1 told him, like -- you only
reviewed my notes You didn't ask me about
anything else and now you're assuming that 1
am done. 1 told him, like 1 do every student
1 talk to, "If there's anything else you want
to tell me, if there's anything you think of
when you leave here, please reach out to me.
1 will meet with you in person or we can do it
by phone." 1 as a matter of course do that
with everybody. And 1 also ask them, "Is
there anybody else you want me to talk to?
And if you can't think of it now, tell me
later." 1 am fully cognizant of the fact that
it is hard for anybody, much less students, to
in one meeting tell me everything that they
might want to tell me, So 1 always say that,
"Please reach out to me, 1 will come back on
campus or we can do it by phone."

Q. So you left it up to him or Ms.
Roe to reach out to you?

A. Yes. And if 1 had reasons to
reach out to them myself 1 could and 1 have
done that before.

Q. So you had no reason to do any

Page 225

further investigation, then?

A. That was my ultimate
conclusion, yes. 1 didn't make it that day,

Q. Well, 1 mean, your meeting is
on the 19th; is that correct?

A. Yes.

Q. You went on vacation
March 22nd; is that correct?

A. Sounds right,

Q. And you returned March 30th or
so?

A. 1 was gone a week.

Q. Okay. And when did you dictate
or type up your notes?

A. 1 don't know.
Q. It's dated April 3rd.
A. 1f1 dated it April 3rd that's

when 1 finished the report. 1 frequently
write up the summaries of the interviews after
they are done,

Q. Okay.

A. That day or the next day, .

Q. Okay. And then you would have
submitted it to Community Standards that day?

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A. April 3rd, yes, the day after. ' 1 A. No.

Q. Did you either during your 2 Q. So somebody else is calling her |
interview of Ms. Roe or any follow-up -- well, 3 attention to that? l
you had no further follow-up with Ms. Roe, 4 A. Yes.
right? 5 Q. Ms. Roe and her friends went

A. Yes, that is correct. 6 out drinking and to another party on Saturday

Q. And you had no further 7 night. ls that something that you would be '
follow-up with Mr. Doe, right? 8 interested learning about? l

A. Correct. 9 A. 1 made my decision based on the

Q. And so -- | 10 information that l had,

A. 1 believe Jane sent me her text 11 Q. So would it be fair to say that
messages, but 1 had no further conversation 12 you didn't inquire any further as to what she l
with her. 13 and her friends did that Saturday?

Q. Okay. But you had the names of 14 A. Correct.

Roe's [sic] buddy who drove, right? l 15 Q. You didn't seek to see any more

A. l think so. 16 text messages to put a time down as to how l

Q. And you had the names of what, 17 long they were exactly in that room? `
three -- 18 A. l asked her to give me all the

A. 1 thought that was Doe's buddy. 19 text messages she had from that evening.

Q. You're right, Thank you. You 20 Q. Okay. But in the statement to
had the name of Doe's buddy who drove, right? 21 you she indicated that on her way from the

A. Yes. 22 LaSalle party to St. Mary's they were texting

Q. You had the name of three of 23 or she was texting her friends, did she not?
Roe's girlfriends; is that correct? 24 MS. ENGLE: Objection to form.

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A. Yes. 1 THE WlTNESS: l don't remember

Q. And one of them not only went 2 that. 1
to LaSalle with her but also met her outside; 3 MS. ENGLE: This is before she '
is that correct? 4 left?

A. 1 can't tell you right now 5 THE WlTNESS: She says "We Were
whether the same girl who met her outside was 6 texting friends in car." l
at the party, 7 BY MR. SCHWABENLAND: :

Q. During your conversation with 8 Q. But you didn't get any of that?

Ms. Roe did you ever ask what she did the next 9 A. That could be the one you
day? 10 showed me before, with the guy with the coke

A. No. 11 here. 1 don't know,

Q. Because she said she didn't 12 Q. No. That was before they left.
observe any bruises until Sunday. 13 A. She's not here, so l can't ask

A. Right. 14 her that. l don't know.

Q. Did she say somebody else 15 Q. After your meeting with him did
observed the bruises on her? 16 you speak with anybody at St. Joe's before you

A. Yes. She said she was at the 17 submitted your report?

CVS with a friend and that she usually wears 18 MR. MYERS: About this case?
her hair long and that it was Sunday, so she 19 MR. SCHWABENLAND: Yes.
had her hair pulled back and the friend that 20 THE WlTNESS: No.
she was with saw the bruises. 21 BY MR. SCHWABENLAND:

Q. Did Ms. Roe indicate that she 22 Q. Have you handled any other
saw the bruises in the mirror earlier that 23 cases similar to this at St. Joe's, where you
day? investigated a couple kissing and then

24

 

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somebody hurting the neck or exerting too much l Q. Let me go through your findings
pressure on the neck? 2 of fact, if l could.

A. Not that 1 remember, no. 3 A. Let me correct that. l am not

Q. So 1 take it this was the first 4 sure its intent, but the intent is part of the
of its kind in the time that you were dealing 5 element of the consent analysis But l did
with St. Joe's? 6 specifically find 1 didn't think he had the

A. One of my colleagues, Andy 7 intent to hurt her.
Rolfes, had one that had some similar 8 Q. You found he didn't have the
connotations 1 personally did not do that. 9 intent to harm her, right?

Q. Do you know which one it was? 10 A. Correct.

A. This list has nothing on it. 1 11 Q. He has to know that he's doing
can't tell you. 12 something without consent or permission,

Q. Do you know the circumstances 13 right?
where you say similar connotations? 14 A. 1 disagree with that.

A. 1 think it was much more 15 Q. Okay. How does intent play in
complicated, in that it had a lot of 16 your analysis, then?
allegations, but part of it was choking, 17 A. 1 don't know what your question
squeezing the neck. 18 is

Q. Okay. And do you know what the 19 Q. You're familiar with crimes
findings were in that? 20 code and --

A. 1 do not. Let me correct that. 21 A. l mean, you don't need to
l had nothing to do with the investigation, 1 22 intend to sexually assault somebody. You

didn't read the report, but l think it was,
like, substantiated in part, responsible in

Page 231
part, but 1 can't be any more specific than
that.

Q. But you are not sure about
that?
A. Right.
Q. 1 am looking at this response
of investigator to the appeal, whatever that
exhibit number is What did you mean by the
fact that she had a bruise on her neck was not
a deciding factor? What did you mean by that,
if you can remember?
A. lt goes back to the
nonconsensual sexual touching. A bruise isn't
a requirement or a definition in the policy of
nonconsensual sexual touching.
Q. Okay. Do you believe that
there has to be some type of intent, he has to
know what he's doing?
A. 1 don't understand your
question, lntent to hurt or intent to touch
or intent to squeeze? '
Q. lntent to touch in such a way
that he knew he didn't have permission for?
A. Yes.

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l18

23 don't need to intend to harm.
24 Q. Let me ask you this: lf they

Page 233
were kissing and holding onto each other and
he accidentally tripped her and she hurt
herself, would that still be sexual assault?

A. That is hypothetical Makes no
sense. He accidentally tripped her and --

Q. Something untoward happened
that she felt pressure that she didn't like
and at least he says, "1 didn't" -~ he didn't
see that, right?

A. You've lost me,

Q. Okay. Well, let's go to your
findings and then 1 will come back to this

A. Okay.

Q. ln the findings of fact -- 1 am
at 274. Number one, they met at a party,
right?

A. Yes.

Q. Number two, "At least initially
she said he was a decent guy, because he was
polite to her and her friends and encouraged
her not to purchase cocaine from a drug dealer
outside the party;" is that correct?

A. That's what it says

Q. So at least your findings at

59 (Pages 230 - 233)

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that point was that he was looking out for her
interest and being polite? |

A. l wouldn't go that far, but you l
just read the sentence,

Q. Were they all positive things?
Would you go at least that far?

A. Yes.

Q. lt said that they both kissed
at the party, which was consensual; is that 1
correct?

A. Yes.

Q. There's nothing on the findings
of fact to talk about how they were kissing or
caressing each other, right?

A. Correct.

Q. Then, number four, you have
down, "Doe asked Roe if she wanted to come
back to St. Mary's where he lived. She said
yes She went with him in the car driven by
Doe's friend;" is that correct?

A. Yes.

Q. And so they get back to St.
Mary's, this is number five, "Doe told Roe
that his roommate was asleep but the two of

them could go up to the third floor." Number
six, "The two of them went to a small room on
the third floor of St. Mary's. They were
mutually kissing, which Roe consented to."

And so far everything is fine, right? 1

A. 1 don't know if everything is
fine, but --
Q. ls there --

A. We are reading along as 1 have
written here,

Q. Up until six is there any
indication of sexual assault?

A. No.

Q. Okay. Number seven, "Doe
continued to kiss Roe and put his hand around
her throat and squeeze her neck, Roe
consented to the kissing, Doe did not obtain
Roe's consent to squeeze her neck and she did
not consent to that." Did l read that
correctly?

A. Yes.

Q. But there is nothing in there
about his hand already being on her neck?

A. Correct.

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Q. So at least the kissing she had
consented to and the touching of the neck or
head during that kissing process she had
consented to, right?

A. Well, you have to read the
document as a whole. 1 think 1 say that the
consent does not-- if you get to the
analysis, consent does not require, you know,
"Can 1 touch your cheek? Can l touch your
ear?"

Q. We'll go through that.

A. Okay. Well, you're asking me a
question that calls for the whole report.

Q. But if he is touching her neck,
not squeezing her neck, if he's touching her
neck while he's kissing her that's all part of
the consent with kissing; is that correct?

MR. MYERS: l object to the
form. You're asking a hypothetical as
if it's a fact, You can answer the
question,

THE WlTNESS: My report says
she did not consent to him squeezing
her neck,

Page 237
BY MR. SCHWABENLAND:

Q. That's not my question My
question is, from your interview you learn
that they are kissing and the kissing process
involves them both caressing each other's neck
and head; is that correct?

A. Yes.

Q. So that's all consensual, the
touching of the neck, the head, and the
kissing is consensual so far, right?

A. 1 think if you read the rest of
the report 1 say the definition of consent --
you're just arguing with me -- but the
definition of consent does not require
individual consents for "Can 1 touch this part
of your face? Can l touch this part of your
face?"

Q. So it's consensual? l

A. 1 can't answer that question 1
That is my analysis at the end.

Q. Okay. Then you say on number
eight, "She said something like 'What the F‘
and Doe pulled away from her. She was
frightened because she in the past had been in

60 (Pages 234 - 237)

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an abusive relationship and she thought the
look in Doe's eyes was scary." ls that what
you said?

A. Yes.

Q. Okay. So at the point where
she alerts him that at least something is
wrong with her by her saying "What the F," he
pulls immediately away and stops that, right?
A. Yes. 9

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Q. ln your analysis is that the 10
first time that he is realizing that she 11
doesn't like something? 12
A. Yes. 13
Q. Had she not said that or ; 14
alerted him that you shouldn't be doing 15
something or you're applying too much 16
pressure, Would he have had any notice that he 17
was doing something wrong? 18
A. No, but that's not required by 19
the policy. 20
Q. Did you look at this as at what 21
point is consent withdrawn? 22
A. No, because there was no 23
consent to squeezing. 24
Page 239
Q. Well, your impression was that 1
the squeezing of the neck was very fast when 2
she said, "What the F" and he pulled away, 3
right? 4
A. Yes. 1 don't know if l would ' 5
say very fast, but he pulled away when she 1 6
said "What the F." 7
Q. Did you ever try to analyze -- 8

did you ever in your discussion with her try 9

to determine what was the nature of the 10
squeeze, how much pressure he was putting on 11
her, because it was momentary? Did you ever 12
try to get into that? 13
A. Ne. she said it hurt cheugh, | 14

and it scared her. 15
Q. Okay. So if he hurts her in 16

the process of touching her neck and now it's 17
a squeeze she's reporting, that's automatic 18
sexual assault? 19
MS. ENGLE: Object to form. 20

MR. MYERS: Object to the form 21

of the question You may answer the 22
question if you can 23

THE WlTNESS: No. You have to 24

Page 240-l
read my whole report.
BY MR. SCHWABENLAND:

Q. Okay. So that is just not
automatic sexual assault, right?

A. You have to consider all the
facts in my whole analysis

Q. Okay.

A. None of these are based on one
sentence.

Q. I understand But you're
making findings of fact that you feel are
important?

A. Yes.

Q. Okay. You say in number nine,
"Doe left the room, Roe text a friend who
then called her. When Doe returned to the
room Roe was on the phone. She told him she
had to leave because her friend needed her.
Doe walked Roe outside where her friend was
waiting." That's something the two agreed on,
right.

A. Yes.

Q. By the Way, do you know what
the safe word was that she text?

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A. No. She used the word "safe
word," but it's, like, ca11 or text your
friend If you go back to my interview with
her, then the girl calls her, calls Roe and
Roe says, "1 am okay." That's part of the
whole safe conversation You know, you
wouldn't say in a situation, "Oh, my God.
Come get me." You say, "l'm okay" and that's
the code word for somebody to come pick you
up. She did explain all that to me.

Q. There is a statement in one of
the texts where she refers to "l'm Ms.
Francis" That's F-R-A-N-C-I-S. Do you know
anything about that?

A. No.

Q. Number ten, "Later at 2:39 a.m.
Doe text Roe, '1 am going to bed, but you guys
need anything my phone will be on. l hope ur
friend's okay'." And Number 11, "Althoughl
find that Doe squeezed Roe's neck area and it
left bruises I do not find that he did it with
the intention to hurt," right?

A. Correct.

Q. And so that's where you

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disagree with Roe, Roe felt he was trying to
hurt her?

A. Well, 1 asked her why she
thought he did it and, you know, l often ask
that question and people have all different
kinds of answers She thought it was to hurt
her and when 1 interviewed him 1 came to the
conclusion that he had no intention on that.

Q. Then you determine of
credibility, "1 found both Roe and Doe to be
credible. Doe does not specifically recall
squeezing Ms. Roe's neck, but he does not deny
it and says they both had their hands on each
other's neck area. He agrees that he did not
obtain Ms. Roe's consent to touch her neck,"
but he did have consent to touch her neck; is
that correct?

A. 1 disagree with that. You have
to look at my whole analysis l don't think
that the consent -- individual consent for
this touch, this touch, this touch is
necessary. But under the policy, in order to
obtain consent it is the responsibility of the
initiator of the sexual contact to get consent

Page 243
from the recipient of the sexual contact in
words or actions that are not ambiguous

Q. Was the sexual contact the
squeezing of the neck or was it the kissing
and caressing, the touching of the neck and
head while the kissing was going on?

A. My conclusion is it was the
squeezing of the neck had no consent,

Q. The sexual contact was the
squeezing of the neck?

A. The sexual contact is the
squeezing in the content of kissing.

Q. But when you say "He agrees
that he did not obtain Ms. Roe's consent to
touch her neck" shouldn't you have put in
there "to squeeze her neck"?

A. He didn't have consent to touch
her neck either. That was my ultimate
conclusion, but he did not, as the initiator
of the sexual contact, follow the procedure to
get the consent of the recipient of the
contact in words or actions which are
unambiguous, that we both understand that we
are going to do this, 1 found in the end that

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Page 244 '
that part didn't matter based on my analysis
that it was the squeeze and not the touch.

Q. So let me go back, lfI
understand from your investigation, Doe said
that they were both kissing and caressing and
touching each other's neck and head; am 1
correct on that?

A. Yes.

Q. And you did not cover that with
Roe, so there was no denial of that by Roe?

A. 1'd have to go back and look at
all my notes to determine what 1 covered

Q. Okay. Did she comment on that
one way or another? That seems pretty
important.

A. What is your question?

MR. SCHWABENLAND: Read it
back, if you could.

(Whereupon, the court reporter
read back from the record)

MR. MYERS: 1 object to the
form of the question, You can answer

Page 245
it if you can.
THE WlTNESS: lf we go back to
the very beginning of what the
complaint is, the complaint is what
she believes is not consensual is the
squeezing,
BY MR. SCHWABENLAND:

Q. Squeezing of the neck?

A. Right.

Q. l understand that. But she
didn't object to him touching her neck or her
touching his neck, right?

A. Touching, but not squeezing? |
Q. Yes.

A. Correct.

Q. l understand squeezing, but --

A. Sort of have to touch to

squeeze, though, but 1 understand,
Q. And if you don't squeeze you
can still touch the neck while you're kissing,

right?

A. Yes.

Q. So he did have consent to touch
her neck?

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A. 1 disagree. That was not part
of her complaint so 1 didn't need to do an
analysis of that, but he did not have consent
to touch her neck,

Q. So any touching of the neck
while they're at LaSalle, Where they are
caressing the head or neck, that's without her
consent?

A. She didn't make -- she was not
claiming that, so 1 didn't have a reason to
analyze that.

Q. 1'11 represent to you that
Ms. Roe, who has partially been deposed, has
stated that up until the time that he actually
squeezed the neck he had permission to touch
her neck and touch her head and to kiss her
during that process

MR. MYERS: l object to the

form of the question What is the

question?

BY MR. SCHWABENLAND:

Q. Does that make a difference in
your analysis?

A. No, because her complaint is

the squeezing.
Q. 1 unders land
A. So it doesn't make a difference
in my analysis
Q. So what you're saying is that
he never had consent to touch her neck at all?
A. Yes. 1 don't think that was
imperative for my analysis, as 1 have
explained to you, because she didn't make --
that was not part of her complaint
Q. But if he has a hand in the
area that he is permitted to touch, the issue
then becomes, is too much pressure being
exerted when the squeeze happened, right? Do
you agree with that?
MS. ENGLE: Object to the form.
MR. MYERS: 1 object to the
form of the question and that you have
asked this question in various forms a
half a dozen times at this point at
4: 10 p.m. You can answer the
question
THE WlTNESS: All l can say is
her complaint that l was investigating

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Page 248
was that he squeezed her neck while
kissing her.

BY MR. SCHWABENLAND:

Q. Let's go to the rationale The
definition of sexual assault under the policy
includes, "Any nonconsensual sexual contact,
including any improper touching of intimate
body parts" and you cite the section "While
a person's neck/throat area is not an intimate
body part, in this situation Doe squeezed
Roe's neck/throat while he was kissing her.
ln this situation, therefore, under all the
circumstances l find that the touching is
sexual assault [sic]."

A. Sexual contact,

Q. Sexual contact. Thank you.

And so the touching of the neck, squeezing it

is sexual contact?

A. While kissing her.

Q. Okay. So the whole thing is
sexual contact?

A. Squeezing of the neck while
kissing her. 1f1 jumped across the table and
squeezed your neck, that might be a criminal

 

 

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assault, but it would not be a sexual assault,
So l found it was the squeezing while kissing
was sexual contact.

Q. "l also find that Doe did not
obtain consent to squeeze her neck area.

Ms. Roe consented to the kissing, which
involved Doe touching her in various ways in
her neck and face area. The policy does not
require separate affirmative consent for each
action of kissing on the face (left side,

right side, forehead, et cetera). Consent to
kissing also understandably involves some
contact by Doe's hand on the neck and throat
area," Do you agree with that?

A. Yes.

Q. "However, because Roe's
complaint is that Doe squeezed her neck to the
point where it left bruises l find that this
is a singular, separate act which required her
consent. This analysis of consent is totally
dependent on the circumstances presented
here." Did 1 read that correctly?

A. l wasn't following you the
whole time, so 1 can't answer that.

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Obviously, the document speaks for itself. 1 without permission right? '
Q. So, basically, what you're 2 A. 1 don't know what case you're
saying is that before the squeeze he should 3 talking about. Is that a hypothetical
have asked for permission to squeeze her neck? 4 question?
MS. ENGLE: Object to the form. 5 Q. No. 1 will see if 1 can find
THE WlTNESS: That question 6 it. 1 can't find it. 1 apologize. 1n 2017
makes no sense. 7 are you aware that the university obtained a
BY MR. SCHWABENLAND: 8 federal grant?
Q. You said he did not have 9 A. Yes.
consent to squeeze her neck, right? 10 Q. And did you play any part in
A. Correct. 11 providing any information or submitting

Q. It says here, "I find that
this" -- that is the squeezing of the neck --
"is a singular, separate act which requires
her consen ." So are you saying that before
squeezing the neck he should have said, "By
the way, can 1 squeeze your neck"?

A. Or something like that, yes
Two questions back didn't make sense because
you had the genders reversed

Q. Going back to the first page
here, 268, l am going back to the sexual

misconduct policy definition of sexual '

assault, which starts off -- 1 am going to 1

Page 251 '
leave out sexual intercourse, because this
does not involve sexual intercourse, so
"Having sexual physical contact with another
individual by the use of threat or force or
coercion without consent or where the
individual is incapacitated." So in this case
here she wasn't incapacitated, right?

A. Right. j

Q. And it has to be either with
the use of threat or force or coercion and
without consent?

A. That's not true. You're
reading a soundbite from the policy. 1 was
looking at the next definition, which says,
"The policy also provides that sexual assault
includes nonconsensual sexual contact, which
is defined as follows" and there's no
requirement of force or coercion or threat.
There is multiple definitions in the policy.

Q. There is another case that was
submitted where a guy goes up to a girl, puts
both hands up against the wall and kisses her
Without asking for perinission, and that would
be sexual assault because that kiss was

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paperwork for the grant?

A. No. 1 found out about it from
the student newspaper, 1 think.

Q. And then we get back to
September of 2017. There was a Dear Colleague
Letter and questions and answers submitted by
the Office of Civil Rights; is that correct?

A. Yes. 1 don't believe that's
called a Dear Colleague Letter, but I am aware
in September 2017 the guidance that came out.
1 thought the old one was always called the
Dear Colleague Letter. That's how people
referred to it, right.

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Q. Okay.
(W_hei'edpon, Exhibits Malloy-ll
and 12 were marked for purposes of
identification.)

BY MR. SCHWABENLAND:

Q. For the record, l've identified
the September 22nd, 2017 two-page letter as
Exhibit-1 1. lt's to Dear Colleague. It's
from the United States Department of
Education, Office of Civil Rights Exhibit-12
is the Q&A that accompanied this letter, or
shortly thereafter, in September 2017. Look
that over and let me know if you have seen
that.

A. l have seen it before. l would
need to reread it all if you are going to ask
me a lot of specific questions, but l have
seen this before.

Q. 1 am going to ask you some
questions so feel free to --

A. Okay.

Q. When was the last time you saw

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this letter, these two documents? 1 in any way, they are just guidance,
A. Probably about six weeks ago. 2 and that various educational
Q. And what occasioned you to look 3 institutions can change their policies
at that six weeks ago? 4 or procedures if they wish.
A. 1 thinkl saw something that -- 5 BY MR. SCHWABENLAND:
I think these say that they are going to issue 6 Q. So --
rule making or something like that and l saw 7 A. I gave no opinion on that to
something about rule making and I just went 8 anyone,
back and looked at them again 9 Q. So institutions of higher
Q. Did you say "rule making"? 10 learning could either accept or reject their
A. 1 thought these ended with 11 recommendations is that your understanding as
something else was corning out, right. These 12 a lawyer?
are just guidance and 1 thought it said 13 MR. MYERS: Objection.
something else was coming out and 1 saw a 14 THE WlTNESS: Yes.
reference to something else may be coming out 15 BY MR. SCHWABENLAND:
or not coming out and 1 just happened to go 16 Q. So is there any benefit to
back and look at them again 17 complying with the recommendations or
Q. All right, So these are 18 guidance?
guidelines recommended guidelines? 19 MR. MYERS: Object to the form
A. It's my understanding, yes. 20 of the question You can answer if
Not guidelines guidance. 21 you know.
Q. Okay. How do you distinguish 22 THE WlTNESS: 1 can't answer
the two? 23 that.
A. l think guidelines are more 24
Page 255 Page 257
formal than guidance. 1 BY MR. SCHWABENLAND:
Q. And as part of-- 2 Q. Now, you said you looked at
A. lt says, "These guidance 3 this six weeks ago. Let me follow that up.
documents." 4 You said you thought rules were corning out.
Q. Okay. Exhibit-1 l is a Dear 5 What information had you received that rules
Colleague Letter; is that correct? 6 were corning out?
A. Yes. 7 A. lt's just in something 1 read
Q. And the Q&As that come out, is 8 But 1 distinctly remember when these came out
it necessary to try to comply with these 9 and 1 thought -- 1 mean, it might be in here
guidance or recommendations being made? 10 if you let me read all 25 pages
MR. MYERS: Objection. ll Q. Sure.
Objection to the form. Are you asking 12 A. l thought that there was going
whether there were some that say see 13 to be a next step.
with respect to the September 2017 Q&A 14 MR. MIRABELLA: Take a break
or are you asking some different 15 while she's reading?
question? 16 MR. SCHWABENLAND: Sure.
MR. SCHWABENLAND: 1 asked her 17 Five-minute break and then we'll
one question 18 finish up.
MR. MYERS: Okay. l object. 19 _ _ _
lf you can answer it, you answer it. 20 (Whereupon, a recess was held
THE WlTNESS: 1 do not give 21 from 4:25 p.m. to 4:30 p.m.)
legal advice to St. Joe's about their 22 _ _ _
policies My understanding as a 23 BY MR. SCHWABENLAND:
lawyer is that these are not mandatory 24 Q. Did you look those over?

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A. 1 did. So Exhibit-12 says in
the first paragraph, "The Department of
Education intends to engage in rule making on
the topic of schools' Title lX
responsibilities." And my best recollection
is that 1 read some sort of article six weeks
ago about -- 1 don't know if it was the Trump
Administration in general not being able to
get out rule making or push agendas forward,
but this guidance was mentioned in it and it
just triggered me and 1 went back and read it
again -- or looked at it again 1 didn't read
it all.

Q. So do you recall what caught
your eye on any of this or you don't know?

A. No, nothing in particular. l
have read it a couple of times

Q. Before six weeks ago when was
the last time you reviewed this for any
reason?

A. l read it when it came out. 1
may have looked at it in between

Q. But do you have any
recollection of doing that in between?

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A. Not specifically, no.

Q. Okay. Let me ask you to go to
the Dear Colleague Letter, Exhibit-1 1, l
believe. At the very beginning it indicates
that "The Department of Education is
withdrawing the statements of policy and
guidance reflected in the following documents"
and one is the Dear Colleague Letter of
April 4, 2011 and the other one is a question
and answer on Title lX and sexual violence
dated April 29, 2014. Did 1 paraphrase that
correctly?

A. Yes.

Q. Okay. This is in two pages
here, but 1 Want to ca11 your attention to the
paragraph -- the third paragraph down starting
with "Legal commentators."

A. Yes.

Q. lt says "Legal commentators
have criticized the 2011 letter and the 2014
questions and answers for placing 'improper
pressure upon universities to adopt procedures
that do not afford fundamental fairness'."
There is a footnote there, "As a result many

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schools have established procedures for
revolving allegations that 'lack the most
basic elements of fairness and due process,
are overwhelmingly stacked against the
accused, and are in no way required by Title
1X law or regulations'." There's another
footnote. First of all, did 1 read that
paragraph correctly?

A. Yes.

Q. And did you take note of that
when you reviewed, at least the comments that
were made in that paragraph?

A. 1 arn sure 1 took note of the
whole thing.

Q. Did you agree or disagree with
that statement, especially the one, "that lack
the most basic elements of fairness and due
process are overwhelmingly stacked against
the accused, and are in no way required by
Title lX law or regulations?"

A. 1 have no opinion on it at all.

Q. Did you ever talk with anybody
at the university when this letter came out
about recommendations?

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A. No.

Q. Did you ever consider your own
investigative protocol that you followed on
behalf of the university concerning claims of
Title lX sexual misconduct policy violations
to see if you Wanted to change anything as to
the protocol that you were following?

MR. MYERS: 1 object to the

form of the question l don't think

you've accurately characterize the

sexual misconduct policy of St. Joe's.

You can answer the question if you

want.

THE WlTNESS: No, 1 had no
discussion with anybody about these.
BY MR. SCHWABENLAND:

Q. Okay. So let me ask you to go
to Exhibit-12, the question and answer or Q&A
on campus sexual misconduct and, more
specifically, let me ask you to go to Page 3
of that exhibit, the very end. lt's question
six, "What constitutes an equitable
investigation?" And the answer that they put
out starts off by saying, "ln every

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investigation conducted under the school's 1 thought process on that and what l told him.
grievance procedures the burden is on the 2 Q. lf l understand correctly, John
school, not on the parties to gather 3 Doe had indicated that at the
sufficient evidence to reach a fair and 4 pre-investigative stage he was told that it
impartial determination as to whether sexual 5 involved something to do with roughness Did
misconduct has occurred and, if so, whether a 6 1 state that correctly?
hostile environment has been created that must 7 A. That's what he told me,
be redressed." Did 1 read that part 8 Q. Okay. But at that point he
correctly? 9 didn't know where or anything else, right?

A. Yes. 10 A. 1 don't know.

Q. And did you agree with that? 11 Q. And --

A. I have no opinion It's just a 12 A. He wrote those text messages
government document. 1 mean, I have no 13 if you remember that text message that he sent
opinion on sentences in government documents 14 me, that he wondered if he was too forceful or
l read regulations guidance, cases for a 15 aggressive
living. 16 Q. 1 understand, but at a certain

Q. So did you ever consider the 17 point -- 1'm sorry. You keep saying text
burden that the school has? 18 message He handed a piece of paper to you at

A. l think we talked about this 19 the time that you met, right?
before, 20 A. Yes, and it was from his phone.

Q. We did, 21 Q. Okay. And that's where he |

A. 1 told you that l do personally 22 really speculated, "Well, maybe, 1 pushed her
consider that it is not the complainant's 23 into the chair"?
burden but that it is the school's burden 24 A. 1 disagree

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Q. lt says here, going two 1 Q. Okay. Did he comment on that
paragraphs down, "Any rights or opportunities ' 2 in that piece of paper he gave you?
that a school makes available to one party 3 A. Yes.
during the investigation should be made 4 Q. And you told him that the claim
available to the other party on equal terms." 5 was that-- the claim by Ms. Roe was that he '
Do you agree with that? 6 squeezed her neck, right?

A. 1 have no opinion l do not 7 A. Yes.
form opinions on stuff people write. 8 Q. Did you tell him that Ms. Roe

Q. Okay. But in terms of your 9 was claiming that she felt he wanted to harm
practical application of these 10 her?
recommendations did you consider, "Well, if 11 A. 1 don't think so.
the complainant gets a copy of the complaint 12 MS. ENGLE: Objection.
to review shouldn't the respondent have a copy 13 BY MR. SCHWABENLAND:
of that to review," not to keep but to review? | 14 Q. Did you tell him that Ms. Roe

A. l did not consider that. 1 ' 15 was claiming he choked her to the extent that
told John what the charges were against him. 16 she couldn't breathe?

Q. You told John Doe? 17 A. l told him that she said --

A. Yes. 18 that she said that it hurt and that she was

Q. Okay. So did you consider 19 scared and that's why she texted her friend
allowing him to look at that complaint? 20 1 don't think l said "couldn't breathe."

A. 1 don't recall having a 21 Q. Okay. So you didn't mention
consideration like that in my mind 1 22 anything that she was claiming he choked her
described to him, for all the reasons we've 23 or that she couldn't breathe because of that?
talked about for the last seven hours, my A. 1 told you what 1 told him.

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Q. Okay. And it doesn't include l
those two statements?

A. l didn't use the word "choked."

Q. Okay. Did you use the words
that because of whatever she complained about
she could not breathe?

A. No.

Q. The fourth paragraph down
states, "Once it decides to open an
investigation that may lead to disciplinary
action against the responding party, a school
should provide written notice to the
responding party of the allegations
constituting a potential violation of the
school's sexual misconduct policy, including
sufficient details and with sufficient time to
prepare a response before any initial
interview." Do you agree or disagree with
that?

A. 1 have no opinion

Q. Well, would you want to see
that sufficient details are provided to a
respondent before the meeting actually takes

place with you?
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A. 1 don't think that's necessary.
Q. lf you were the respondent

would you want to know what the charges are
against you in specificity?

A. Yes.

Q. And would you want to know what
evidence there is against you in specificity?

A. Probably.

Q. And you Would Want that
information before any meeting takes place
that could have adverse results on your stay
at the university; is that correct?

A. Yes, but that doesn't mean it's
required and it doesn't mean that somebody
didn't have sufficient notice

Q. Well, we are talking about
fairness; is that correct?

A. You are talking about a
document that's guidance, not a requirement on
any school.

Q. But aren't they trying to give
these --

A. 1 gave no legal advice You're
questioning me like l am giving legal advice

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Q. No. 1 am asking you about, you
have a Dear Colleague Letter, you have a Q&A,
and you are the investigator on a case where,
as 1 understand, there is no requirements on
you to either give over evidence or not give
over evidence; is that correct?

A. Yes.

Q. And so they are coming --

A. But there is an appeal
procedure and he sees everything there, et
cetera, and 1 told him he could come back to
me and 1'd talk to him.

Q. Let me go back, You said
appeal procedure 1sn't that letting the fox
in the henhouse? 1sn't that a little bit too
late?

A. 1 don't -- 1 disagree

Q. What are the two criteria?

A. 1 am not involved in the appeal
procedure
Q. Okay.

A. But the whole thing is a
process You are only talking about part of

Page 269
it.

Q. 1 am trying to talk about the
steps here The process that you're involved
with is a very important process; is that
correct?

A. Yes.

Q. You are the investigator; is
that correct?

A. Yes.

Q. You make the findings of fact;
is that correct?

A. Yes.

Q. And you make the conclusions of
either responsible, not responsible, or
undetermined, right?

A. Correct.

Q. Have you ever found
undetermined on any of these investigations?
l didn't see any.

A. 1 believe l have and it was
one -- 1 remember it. lt was like, a party
and the female complainant didn't know who
assaulted her or allegedly assaulted her,
couldn't give me any details on it. 1 could

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never determine what, if anything, happened
1 think that was -- it's possible I said not
responsible, but in my mind l am saying 1 said
undetermined

Q. Okay. So --

A. There was no named respondent

Q. Okay. So getting back to what
may be fair or reasonable in terms of your
handling of cases is there any reason not to
give a respondent access to the charges
against him and information about what
evidence there is against him before the
actual meeting takes place with him?

MR. MYERS: Object to the form
of the question You can answer the
question

THE WlTNESS: l don't know. 1
mean, probably not. But oftentimes or
times when you interview the
complainant the story is more 1
detailed, sometimes different So at
that point, before 1 would -- you
know, before it gets out of the
Community Standards office, whatever

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the written complaint is if any, can
change But to answer your question,
probably not but l am not involved in
that process
BY MR. SCHWABENLAND:

Q. Well, in this case did the 1
initial complaint in the form of the report of
Dr. Perry change at all in terms of your
interview with the complainant?

MR. MYERS: l object to the
form of the question lt's
argumentative, Ed, you are asking the
witness to do an oral comparison
between at least three documents, not |
including the appeal Really,
you're -- the documents are the
documents The changes are the
changes What this witness has to say
about what's in the documents is not
advancing anything and it's ten to
five, 1 would ask you to consider
asking a different question, please
Silence means no, so you can answer
the question if you can.

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THE WlTNESS: Like most

situations her explanation to me Was

more expansive than this complaint,

right, because Mary-Elaine Perry

doesn't really talk to people for an

hour. But the general allegation that

he squeezed her neck and it hurt did

not change
BY MR. SCHWABENLAND:

Q. So in this case there was
really no reason not to allow him to review
this complaint beforehand?

A. 1 can't answer that.

Q. Let's go back to the paragraph
here, that fourth paragraph down

A. 1'm sorry. 1 lost your page
Exhibit-122 |

Q. Exhibit-12, Page 4. It's the
fourth paragraph down l just finished
stating, "including sufficient details and
with sufficient time to prepare a response
before any initial interview." Then it goes
on to state what sufficient details include
"Sufficient details include the identity of

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the parties involved, the specific section of
the code of conduct allegedly violated, the
precise conduct allegedly constituting the
potential violation, and the date and location
of the alleged incident. Each party shall
receive written notice in advance of any
interview or hearing with sufficient time to
prepare for a meaningful participation and the
investigation should result in a written

report summarizing the relevant exculpatory
and inculpatory evidence The reporting and
responding parties and appropriate officials
must have timely and equal access to any
information that will be used during informal
and formal disciplinary meetings and
hearings." First of all, did 1 read the rest

of that paragraph sufficiently?

A. Yes.

Q. And will you agree with me that
this is recommending that these sufficient
details which they identify should be given in
advance of any interview or hearing with
sufficient time to prepare for meaningful
participation?

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A. No. l Q. Now, you said earlier, if 1

Q. Okay. lt doesn't -- 2 understand correctly, "Well, he had the

A. The first of all, these are 3 ability to see these documents at the time of
guidance, not guidelines not mandatory. lt 4 the appeal."
says "The precise conduct allegedly 5 A. l don't remember what your
constituting the potential violation," which l 6 exact question was but you were making the l
think is different than what you just said 7 process sound different than it is so that

Q. Which you think what? 1 didn't 8 was my comment
hear. 9 Q. The process is, you get

A. ls different from what you just 10 assigned to investigate and then you write up
said ' 11 findings of fact, conclusions is that

Q. ls there any purpose in not 12 correct?
turning over, in this case the complaint, 13 A. Yes, sir.
pictures of bruises and later any text 14 Q. 1'm sorry?
messages to John Doe before your interview 15 A. Yes, sir.
with him? 16 Q. And so you are not only the

A. 1 don't think the university 17 investigator, you're the judge and jury on
has all that stuff. 18 this case?

Q. Well, they had the complaint, 19 MR. MYERS: l object to the
right? 20 form of the question She is the

A. They had the complaint 21 investigator under a set of rules that

Q. Okay. Did they have the 22 are totally clear in the SMP, which is
pictures? 23 a document which speaks for itself`.

A. 1 don't believe so. 24 The judge and jury is just

Page 275 Page 277

Q. Didn't the university get the l argumentative
the pictures to you? 2 BY MR. SCHWABENLAND:

A. No. Jane gave them to me, 3 Q. You can answer.

Q. So she gave you the pictures? 4 MR. MYERS: l am not going to

A. She gave me the text messages 5 let her answer that question
He gave me the notes whatever you want to 6 MR. SCHWABENLAND: You're
call them. 7 telling her not to answer?

Q. So she's giving you the text 8 MR. MYERS: Yes. Call a judge
messages at the meeting? 9 right now. Say, "Don't l get to say

A. At the meeting or shortly 10 was she judge or jury?" Go ahead
thereafter. 11 MR. SCHWABENLAND: You're

Q. Okay. And if you got it 12 getting testy, John
shortly thereafter did you contact John Doe to 13 MR. MYERS: 1 am getting testy.
show it to him or tell him what they say so he 14 BY MR. SCHWABENLAND:
could comment on them? 15 Q. Well, you make the final

A. No. 16 decision as to responsible or not responsible,

Q. And why not? 17 right?

A. He agreed when he came back in 18 A. 1 apply the findings of fact
the room she was on the phone with her friend 19 that l make to the policy and determine
and said she had to leave 20 whether the policy is violated or not.

Q. How about all the other text 21 Q. And that's the final decision
messages? Don't you think he would be 22 on that, right? ,
entitled to see it? 23 A. l don't know.

A. l have no opinion on that. 24

Q. Well, have you ever been

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overturned by the university after you make
the findings of responsible or not
responsible?

A. 1 have not been

Q. And so you submit it to the
university and is it your understanding that
it's then placed into a sanctioning stage and
that's handled by Mr. Bodak [sic] in Community
Standards?

A. You keep referring to him by
the wrong name lt's Bordak.

Q. Bordak, Thank you. lt's
submitted to Mr. Bordak in Community
Standards?

A. 1 submit my package to
Mr. Bordak and Dr. Perry.

Q. Okay. And so if it's a finding
of responsible is it your understanding that
it's then placed into the sanctioning phase
and that's determined by the school, right?

A. l have never been reversed by
the university. l assume they could if they
thought 1 was wrong

Q. I didn't ask that, ma'am. l arn

 

Page 279 l
just asking the next step. What is your
understanding?

A. What 1 just said is important
to the next step. Yes, after 1 submit my
report 1 have never been overruled or
overturned or even questioned about anything
lf it is responsible, my understanding -- and
1 am not involved in that process -- it goes
to the complainant and the respondent, there
is an appeal process and sanctioning comes
after that.

Q. What goes to the complainant
and the respondent, the finding of responsible
or not responsible?

A. My understanding -- and, again,
l am not involved My understanding is that
they are allowed to come into the office and
they get to read the short report.

Q. A short report would be what,
the report without your interview?

A. Yes.

Q. So the short report would be
Exhibit-5, l think?

A. Five. And my understanding --

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but again l am not involved -- is they get to
see that appendix, which maybe is why that's
stapled to five here

Q. Do you know when they are
permitted to come in and review that material?

A. 1 think there is a time frame
of a couple of days

Q. 1sn't that after being told of
what the findings were against them and what
sanctions are being imposed, then they have a
right?

A.
know,

Q. Have you ever participated in
decision making or recommendation as to what
appropriate sanctions there should be?

A. No. 1 am never even told

Q. Okay. You mentioned the appeal
process The appeal process comes after your
findings -- your investigation and your
findings and conclusions concerning
responsible; is that correct?

A. Yes.

Q. lt comes after the sanctioning

l believe -- no, but l don't

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phase by the university --

A. 1 don't know the answer to
that.

Q. Do you know what rights of
appeal a student would have who is found to be
responsible?

A. 1 know that is set forth in the
policy. 1 don't know what they are off the
top of my head

Q. Okay. Let me ask you this:
Based upon your review of Exhibit-11 and
Exhibit-12, that is the Dear Colleague Letter
of September 2017 and the Q&A, did you change
any of your procedures that you followed in
your investigation of sexual misconduct cases
or1 behalf of the university?

A. No.

Q. Did you have any discussions
with anybody at the university, counsel,
anybody in the departments or anything else
about the procedures to follow or what new
recommendations were being made?

A. No.

Q. You mentioned that you

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participated in a meeting with a whole bunch l physical?
of people l take it that was -- 1 think you 2 A. There was one of the -- it Was
said that was well before the September '17? 3 a male complainant He had some condition on

A. Oh, my gosh. lt was before the 4 the autism spectrum. 1 think he asked if he
process changed for us to be investigators 5 could take notes if l could go slowly. lt
lt was When it was moving from internal 6 was something like that -- it all worked out
investigations to outside 7 perfectly fine -- if he could take breaks lt

Q. So that either at the end of 8 was definitely a male complainant with an
2014 or 2015 when it became effective, right? 1 9 autism spectrum disorder.

A. Correct. l believe the meeting 10 Q. A male complainant?
was in the summer. So it was probably the 11 A. Male complainant
summer of 2014. 12 Q. So this Was a male complainant

Q. As a result of that meeting was 13 who was given special accommodations?
any pamphlets manuals documents generated 14 A. 1 wouldn't call it
for everybody to follow concerning appropriate 15 accommodations but he told me about his
protocols or the handling of an investigation? 16 condition and said -- 1 think he said, "Could

A. l don't know, And I've told 17 l take notes so lam sure l am responding to
you this a couple of times the dates on these 18 your question?" and, you know, like, "lf I
policies don't ring a bell to me 1 don't 19 need to ask you to slow down" lt was that
know whether the interim policy had been 20 kind of conversation lt was easy to
released at that point or not, but it was 21 accommodate Your question was has anyone
pretty close in time to that. But 1 am not 22 asked for accommodations and that was it.
aware of any other documents other than the 23 Q. When you interview either a
policy. 1 guess l will say l know -- 1 think 24 complainant or respondent do you ever raise

Page 283 Page 285

the students get some shortcut on the policy 1 with them, "Well, if you need special
or something There's something that the -- 2 accommodations" to let you know or anything?
sometimes the complainants have told me this 3 A. No,
The students get something, you know, in 4 Q. lt's only if, what, the
addition to the long policy, like a pamphlet 5 disabilities part of the school notifies you
or something like that. 6 that some type of accommodations are

Q. Do you have any idea what that 7 necessary?
is? 8 MR. MYERS: Object to the form

A. A card maybe l don't know. 9 of the question She just responded
lt's something little 10 to a situation which is contrary to

Q. Okay. 11 the factual premise of your question

A. Maybe it's a card, now that l 12 MR. SCHWABENLAND: l think
am focusing on it, a card for the various 13 you're right.
persons they can report to or something like 14 BY MR. SCHWABENLAND:
that. 15 Q. lf a student raises that with

Q. Okay. Different people, like 16 you, then you would try to accommodate them?
Title lX coordinator, disabilities group, 17 A. Yes. 1 have been an employment 1
anything like that? 18 lawyer for 32 years 1 know the obligation of

A. 1 am not aware of any of that, 19 all kinds of institutions to accommodate lf
but l am not involved 20 1 -- so 1 have never raised it with a student,

Q. Have you in your investigation 21 lf they raised with me l would be sensitive
of these cases at St. Joe's had anybody ask 22 about that. lf it was something that l
for special accommodations because of some 23 couldn't manage, you know, this one gentleman
type of disability, whether medical or 24 was you know, "Can 1 take notes?" And "lf l

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ask you to slow down, can you slow down?" lt 1 that she was on the phone when he came back in
was very easy to manage lf it was something 2 the room and quickly said that she had to
that l couldn't manage, l need an interpreter, 3 leave 1 mean, that's what those text
you know, it could be something well above me,: 4 messages went to. You know, "1 call/texted my l
l would refer it back to Community Standards 5 friends with my safe word" or whatever it was
l know the university does have an 6 and "She called me and said she'd meet me
accommodation office 7 downstairs." So he didn't disagree with that.

Q. You indicated that Ms. Roe may 8 Q. Okay. Was it relevant to you
have submitted her text to you after the 9 to know what medications she was on?
meeting? 10 A. No.

A. l don't remember that. l mean, 11 Q. Do you know anything about if |
you would have -- you know, 1 gave the 12 medication she was taking can cause bruises to
university all my emails So if she didn't -- 13 her individually at all?

1 just don't have a recollection l obviously 14 A. lt is possible 1 did not do
have them. 1 don't remember if she gave them 15 that.

to me at the meeting or 1 asked her to send 16 Q. Did you take the fact that she
them to me 17 had bruises just at face value, then? ln

Q. But l didn't see anything in 18 other words don't you have to determine the
the handwritten notes of your interview with 19 cause of that?
her you referencing those text messages 20 A. My overall reaction from

A. Yes, there are l am pretty 21 meeting her and talking to John was that what

 

sure lt's on Page 384. 22
MR. MYERS: Exhibit-7 23

THE WlTNESS: 1 say, "Send me 24

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text messages." 1

BY MR. SCHWABENLAND: 2
Q. Would that be indicative of the 3

fact that she later sent them to you? 4
A. Probably, yes 5

Q. Did you then have any further 6
conversation with her about these text 7
messages? 8
A. 1 don't believe so. 9

Q. And you did not submit these 10

text messages to John Doe for comment? - 11
A. Correct. l 12

Q. ln your investigation was it 13
relevant or of some importance to you to know 14
if Ms. Roe had a history of self-hurting or 15
hurting herself`? 16
MS. ENGLE: Objection. 17

THE WlTNESS: No, 18

BY MR. SCHWABENLAND: 19
Q. Did you review the texts that 20

she sent you to determine whether or not those 21
text messages made sense? 22
A. l think l reviewed them. John 23

Doe, though, did not disagree with the premise 24

 

happened was so prominent that she felt the
need to text her friend and get out of that
immediately. You know, that was my

Page 289
overwhelming thought about what happened and
her need to leave

Q. Would you agree that was based
in part upon her thinking of her old boyfriend
and the abuse he had shown her in the past?

MS. ENGLE: Objection.
THE WlTNESS: No.

BY MR. SCHWABENLAND:

Q. Was one of the reasons for you
not to inquire of any past relationship with
her boyfriend that she says abused her and
choked her or squeezed her neck the fact that
you didn't want to traumatize her or cause her
any problems?

A. 1 don't think so. l've
certainly talked to lots of students about
very delicate matters

Q. But you didn't talk to her
about any delicate matter involving her old
boyfriend?

A. Correct.

Q. And did you talk to her about
any matter involving whether or not she was
under discipline for any reason? She is now a

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freshman at the university. 1 BY MR. SCHWABENLAND:
A. 1 did not. 2 Q. You asked Ms. Doe and Ms. Doe
Q. Under the sexual misconduct 3 said that she was -- she felt he was trying to
policy are you aware that students get, 1 am 4 hurt her. Look at your interview with her,
going to use the word immunized or amnesty, if 5 the last paragraph before you go to the
they -- for their own drug or alcohol intake 6 interview with Doe. 1 will read it to you.
if they are reporting sexual abuse? 7 A. Let me find it.
MR. MYERS: Object to the form 8 Q. Okay.
of the question, but you can answer. 9 MR. MYERS: Ed, are you looking
THE WlTNESS: l think the 10 at five or six?
policy is much more nuanced than you 11 THE WlTNESS: l arn looking at
just described 12 273 at the top of the page
BY MR. SCHWABENLAND: 13 BY MR. SCHWABENLAND:
Q. Tell me what your understanding 14 Q. Yes.
is 15 A. l asked her why she thought he
A. But 1 am aware that the 16 squeezed her neck. "She said she did not view
university does not want students to not make 17 it as pleasurable, she did not ask for it, and
complaints because they are afraid they will 18 she did not consent to it. She thinks he did
get in trouble for some other policy 19 it to hurt her, because she felt he Was
violation, you know, like, the kid's dying on 20 choking her."
the couch because they don't want to call the 21 Q. Okay. So my question to you
police because the kid is inebriated 1 am 22 is: Did you probe with her as to why she felt
aware that there is some consideration given 23 he was trying to hurt her?
to that. 24 A. No.
Page 291 Page 293
Q. When Ms. Roe said "What the F," 1 Q. Who in St. Joe's, if anyone, is
did she say that -- does she definitely 2 responsible for oversight of your
remember saying that or did she say words to 3 investigation?
the effect, "l think l may have said that," if 4 A. l don't know, Dr. Carey
you can recall? 5 Anderson is the vice president of that
A. l think my notes record that. ` 6 department, so l assume he's ultimately
They don't. lt just says "What the F." So l 7 responsible for everything that happens under
don't remember one way or the other. 8 that department, but l can't answer your
Q. Did you ask Ms. Roe why she 9 specific question
thinks that Doe would suddenly want to hurt 10 Q. Has Dr. Carey Anderson or
her, any conversation about that? ll anybody else at St. Joe's said, "Well, we are
MS. ENGLE: Objection. 12 going to review each summary and see if it's
MR. MYERS: Object to the form 13 acceptable or get back to you on that"?
of the question lt assumes that she 14 A. No.
said that or thought that, neither of 15 Q. So, to your knowledge, does
which is in the record and both of 16 anybody oversee either how you do the
which is contrary to both the written 17 investigation or the reports that you submit?
and oral statements that we have been 18 A. l assume that they are read,
going over for now six and a half 19 but l do not personally know.
hours 20 Q. All right Let me ask you

MR. SCHWABENLAND: Apparentlyl 21

two different records because it is
in the record She said that.

22
23

24

this: Do you have a belief one way or another
as to whether or not a victim should be
believed?

A. 1 do not.

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Q. So you would recognize that 1 and the totality of the information that l
sometimes they may not be telling the truth; 2 have after interviewing the complainant and
is that correct? 3 the respondent lt could be, but 1 can't
A. Yes. 4 answer it in a hypothetical way.
Q. Other times they may be 5 Q. Well, let's get to this ln
misinterpreting something that happened? 6 terms of this case, you didn't feel it
A. That's possible 7 necessary at all to seek to talk to any of her
MR. SCHWABENLAND: Okay. 1'm 8 friends?
taking a two-minute break. This will 9 A. l did not.
be the last break and then 1 think 1 ' 10 Q. Did you ask Ms. Roe why she
will be done shortly. ' 11 hadn't reported this right away to the school?
_ _ _ 12 MS. ENGLE: Objection to form.
(Whereupon, a recess was held 13 BY MR. SCHWABENLAND:
from 5: 13 p.m. to 5:21 p.m.) 14 Q. Do you know when this was
_ _ _ 15 reported to the school?
BY MR. SCHWABENLAND: 16 A. February 26 and it happened on
Q. ln your investigation of these 17 February 23.
cases -- by "these cases" l mean sexual 18 Q. Okay. And this was reported
misconduct cases -- on behalf of St. Joe's, do 19 by -- l forgot her name
you customarily only talk to the complainant 20 MR. MIRABELLA: Katie Bean
and the respondent or is it much more frequent 21 BY MR. SCHWABENLAND:
that you also interview other witnesses? May 22 Q. -- Ms. Bean, who works with the
not have witnessed the actual thing complained 23 plaintiff, taking her into Ms. Perry's office?
of, but at least they had contact with the 24 MS. ENGLE: Objection to form.
Page 295 Page 297
complainant and respondent l THE WlTNESS: l don't know who
MS. ENGLE: Objection to form. 2 that lady is at all.
THE WlTNESS: lt's such a 3 BY MR. SCHWABENLAND:
general question l can't answer it. 4 Q. Did you know that the
There are certainly investigations 1 5 complainant worked in the school?
where l talk to more than the 6 A. That Ms. Roe worked at the
complainant and respondent 7 school?
BY MR. SCHWABENLAND: 8 Q. Yes.
Q. But you can't say on a more 9 A. l did not know that.
frequent basis which one you do? 10 Q. So you didn't have any
A. Depends on the allegations so 11 questions of Ms. Roe as to why she waited
1 cannot answer that off the top of my head 12 until the afternoon of February 26th to
Q. Let's talk about this just 13 complain of this?
briefly here Once you got the text messages : 14 A. 1 did not. lt might be the
and knowing that Ms. Roe was on the phone 15 difference between a Friday and a Monday, too.
while in St. Mary's to her friends Would it 16 l don't know, l didn't pull out a calendar.
have been helpful to talk to them? 17 MR. MYERS: lt is
A. l didn't believe so. 18 BY MR. SCHWABENLAND:
Q. In terms of assessing 19 Q. Get back to that Saturday.
credibility, is it helpful to know the actions 20 Ms. Roe has indicated that she and her friends

of the complainant both during the time period 21

that she's with the respondent and what she is 22
telling her friends afterwards? 23
A. lt depends on the investigation 24

drank liquor, a lot, and then went to a party.
A. l don't know that. _
Q. And is that something that you
would like to have known if that really

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happened? 1 A. So they are not communicating

A. l can't answer that 2 information about -- substantive information
hypothetically. 3 Q. Do you know when Ms. Roe took

Q. ln terms of assessing a l 4 the photographs?
person's credibility what factors do you 5 A. Sunday, she said
consider? 6 Q. Do you know who took them?

A. l considered, in this case, 7 A. Her friend 1 don't know the
based on my interviews with them and the 8 person's name
information that they gave me and their 9 Q. Do you know who Ms. Roe first
communication style and general instinct and 10 told about the event?
experience 11 A. No.

Q. Okay. You found both to be 12 MR. SCHWABENLAND: Off the
credible; is that correct? 13 record

A. Yes. 14 _ _ _

Q. So your instinct and experience 15 EXAMINATION .
in what? 16 __ _ __

A. ln being a human being for 59 17 BY MS. ENGLE:
years and having a lot of-- can't discount 1 18 Q. Good afternoon, Ms. Malloy. My
that, right? 19 name is Susan Engle. l represent the

Q. Okay. 20 individual that's been identified for purposes

A. And having, you know, an 21 of this litigation as Jane Roe. l just have a
employment law background, where l talk to 22 couple of follow-up questions
employees and people about complaints all the 23 A. Sure.
time 24 Q. You were asked about Ms. Roe

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Q. DO you look for corroborating 1 telling you something about her saying "What
evidence'? 2 the fuck" when she was being choked by Mr. Doe

A. lt depends 1 can, yes. 3 and then you were asked some follow-up

Q. Do you look for the claimant's 4 questions and you were directed to your
actions Shortly after the incident, Say, that 5 handwritten notes Do you recall that line of
weekend, to see if she was really traumatized? 6 questioning?

MS. ENGLE: Object to form. 7 A. Yes.
THE WlTNESS: ln this case, no. 8 Q. And you were asked something

lt is a possibility in other cases l 9 along the lines of "Did she actually say that :

told you based on the investigation 10 or she's not sure whether or not she said

So that's both what the claimant and 11 that?" You indicated your notes didn't say

the respondent told me. 12 one way or the other?

BY MR. SCHWABENLAND: 13 A. Correct.

Q. When you looked at the text 14 Q. Can l direct your attention to
messages -- and I may have asked you this 15 Exhibit-6 The Bates stamp page is SJU272,
before so l apologize -- did you suspect 16 leaving out the zeros in the middle
anything was left out of those text messages? 17 A. Okay.

A. No. l mean, the thing about 18 Q. ln the first full paragraph
the text messages was this was her way of 19 about two-thirds of the way down it starts as
getting the friend to call her. 20 redacted lt says, Redacted, "believes she

Q. To come meet her outside? 21 said 'What the fuck.' He pulled away." Do

A. Which happened Yes. l think 22 you see where 1'm referring to?
somebody called her first 23 A. Yes.

Q. Okay. 24 Q. The fact that you used the term

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"Believe she said," is that important to you
at all as far as that line of questioning
goes? l

A. Yes. lt would be my most
accurate testimony that she said believed I
often write up the summaries of investigations
the day of or the night of the interviews. I
would not let too much time pass before doing
that.

Q. That was going to be my next
question, whether or not this page, SIU272,
was prepared fairly contemporaneous with the
interview you had with Ms. Roe?

A. 1 do the interviews on campus
and I live in the suburbs. 1 will say my
usual practice is 1 go to the Bala Cynwyd
public library across the street from St.
Joe's and I generally work fairly late into
the evenings. 1 actually hand Write all parts
of the report. So it would be my typical
practice to write up the summaries of
investigation pretty shortly thereafter, if
not that evening, actually.

Q. When you indicate that Roe

Page 303
believes that she said that comment, does that
indicate to you that Roe told you she may or
may not have said it, she wasn't certain?

A. Yes. 1 don't think I would
have said "believes" if I didn't have a reason
for that.
Q. Let me ask you this: Did Jane
Roe have to say "What the fuck" or something
along those terms in order for this squeezing
of the neck to be nonconsensual, as far as
your investigation purposes go?
A. No. l
Q. Am 1 understanding that sexual '
misconduct policy correctly in that it is the

15 job of the initiator of sexual contact to

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obtain consent?

A. Correct.

Q. It's not the job of the
complainant to shut it down?

A. Correct.

Q. You were asked a little bit
about making credibility determinations, which
I understand is part of your investigative
process. When you're making credibility

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Page 304
determinations with respect to a complainant
do you take into consideration whether or not
you think that that individual is overreacting
to what happened?

A. Yes.

Q. And what bearing would that
have on your findings as far as credibility
goes?

A. It could possibly determine
that it didn't happen or it didn't happen in
the way it was explained That's hard to
answer hypothetically.

Q. 1 understand Well, in the
actual world, when you were interviewing Jane
Roe did you find her to be overreacting at any
point in time?

A. No.

Q. Does Ms. Roe's past
relationship history have any bearing on
whether or not what happened to her was
consensual?

A. No.

Q. The bruises on Ms. Roe's neck,
do they have any bearing on whether or not

Page 305
this activity was consensual?
A. No.
MS. ENGLE: 1 don't have any
other questions. lt was nice to meet
you.
THE WlTNESS: Nice to meet you.

EXAMINATION
BY MR. SCHWABENLAND:

Q. What exactly did you do to
determine if Ms. Roe may have been
overreacting?

A. She did not present to me in
that way at all. She presented in a very calm
manner. 1 actually thought she was a pretty
tough cookie And 1 have met lots and lots
and lots of students who I might not say that
about. She was very measured in her
description. And the calling, texting the
girlfriends to come get her, as I explained
before, did substantiate in my mind her fear
and hurt over this situation. Hurt meaning
pain.

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Q. But, again, wouldn't that be
another reason for you to probe into why she
froze all of a sudden or had a flashback about
her ex-boyfriend?

A. 1 do not believe so.

Q. And if 1 were to tell you that
Ms. Roe has said that she was raped multiple
times by her ex-boyfriend when she was a
teenager that would have no bearing on whether
or not she's overreacting?

MS. ENGLE: Object to form.
MR. MYERS: 1 object to the

form of the question and 1 object to

the continued use of the prior sexual

history of the victim here in your

defense, or prosecution, rather, of

this case You can answer the

question,

THE WlTNESS: 1 don't know, 1

mean, that's hypothetical to me, so 1

don't know,

BY MR. SCHWABENLAND:

Q. But it's hypothetical because
you didn't probe into that in this case here?

Page 307

A. No. It's hypothetical as
you're describing it. But 1 did not probe l
into that. I told you that multiple times.

Q. Do you recognize that there is
a difference between perhaps sexual assault
and one participant using a little bit too
much force or pressure during their getting
together?

MR. MYERS: 1 object to the
form of the question. You are stating

a principle of law which is absolutely

false. The thing that you have

described could easily be sexual
assault, The premise of the question
makes it a trap question and 1 am not
going to let her answer it.
MS. ENGLE: Join the objection.
BY MR. SCHWABENLAND:

Q. Do you ever evaluate in your
investigation whether or not there may have
been additional pressure used but certainly
not a sexual assault?

A. 1 can't answer that. I apply
the definitions in the policies to the facts

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Page 308
before me l
Q. Okay. But have you ever made a
finding that there wasn't a sexual assault in
a situation where there was interaction?
MR. MYERS: 1 object to the
form of the question, You can answer
the question.
THE WlTNESS: I don't know and
that very well might turn on all of
the facts that would go to whether
there was consent or not. 1 don't --
in that hypo that you have posed, 1
don't remember having that situation.
(Whereupon, Exhibit Malloy-13
was marked for purposes of
identification.)

BY MR. SCHWABENLAND:

Q. 1 will represent to you what's
been marked as 13 is Ms. Roe's response to
Mr. Doe's appeal letter.

A. Okay.

Q. One of the things Mr. Doe

Page 309
indicated in his appeal letter is that he had
no idea that she was uncomfortable in any way.
1'm paraphrasing?

A. I don't necessarily agree with
you, but, anyway. His appeal is five pages.

Q. Pardon me?

A. His appeal is five pages and
says a lot of stuff.

Q. 1 understand that. 1 am just
indicating that's one of the claims.

A. Okay.

Q. She states, "Even though some
memories of my ex-boyfriend did surface,
experiencing what Mr. Doe was doing Was
petrifying to me I was paralyzed from fear,
which led me to not say anything to him.
Instead 1 text my friends, because 1 knew that
would help me get out of the situation before
anything else happened." That's in that
fourth paragraph down, My question to you is
that, in the appeal letter she indicates that
she never alerted Mr. Doe that anything was
wrong --

MR. MYERS: 1 object to the

78 (Pages 306 - 309)

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form.

MS. ENGLE: Join.

MR. MYERS: What is the
question? ls the question whether
what you just said true or is what the
document says true?

MR. SCHWABENLAND: 1s whatI
just said true reflected in that
document.

MR. MYERS: 1 object to the
form of the question. You are showing
this witness, who was the
investigator, a document created after
her investigation, in which she was
not involved So the document says
what the document says, Ed, rea11y.

MR. SCHWABENLAND: 1know it
says it. That's what 1 am saying.

MR. MYERS: Well, then you
don't need the witness to say that the
document says what it says,

BY MR. SCHWABENLAND:
Q. Does she indicate in that
document that she alerted Mr. Doe during that

Page 31 l
time together, that she said "What the fuck"?
A. All 1 can tell you is, from
reading my notes, she said that she was
paralyzed, he had his hand around her throat,
he was squeezing her neck, she couldn't
breathe, she was scared, "What the fuck, what
the F" 1 have written down, and he pulls away.
1 can't.
Q. In that appeal letter is that
reflected in there, saying the words "What the
fuck"?
MR. MYERS: 1 object to the
form of the question. 1s the question
whether the phrase "What the fuck"
appears in the appeal letter?
MR. SCHWABENLAND: Yes.
MR. MYERS: Okay. 1 stipulate
that "What the fuck" does not appear
in the appeal letter. This is not a
fact witness on a letter that she's
not part of, Ed. Now, come on. It's
quarter of. l
BY MR. SCHWABENLAND:
Q. Is there anything that

Page 312
1 indicates in that letter where the complainant

2 says she alerted in some way the respondent

3 that she didn't like something that was going

4 on?

5 MR. MYERS: Object to the form

6 of the question. You are asking a
7 witness not involved with the letter,
8 which was created after her
9 determination based on her interviews,
10 to now evaluate whether the letter
ll which indicates Roe pulling away,
12 whatever your phrase was, indicates
13 her displeasure with what was going
14 on. 1 object to the form of the
15 question, You have 16 minutes and 1
16 am walking out the door.
17 MR. SCHWABENLAND: Well, you're
18 using up my time
19 MR. MYERS: 1 am not using up
20 your time
21 MR. SCHWABENLAND: Yes, sir,
22 you are
23 MR. MYERS: Ask a question ofa
24 witness that has personal knowledge
Page 313
1 MR. SCHWABENLAND: Just object
2 and let's go on,
3 THE WlTNESS: She is responding
4 to a four- or five-page complaint, so
5 1 don't know what part of it she is
6 responding to. But to try to answer
7 your question, 1 agree with what
8 Mr. Myers said, 1 --
9 BY MR. SCHWABENLAND:

10 Q. 1 am sure you do.

11 A. -- 1 have no knowledge of

12 anything after the time 1 had met with her.

13 She said she texted her friends and John says

14 that when he came back in she was on the phone
15 with somebody.

16 Q. And she says that she did not

17 say anything to Doe, right?

18 MS. ENGLE: Object to the form.
19 MR. MYERS: Object to the form
20 of the question. The letter says what
21 the letter says. Are you asking

22 her -- again, if you're asking her to

23 read the document, which is in

24 evidence and is going to be

79 (Pages 310 - 313)

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Page314| Pagesie
authenticated by other people, you are § C E R TI F IC A T E
not asking a factual question, Go 3
ahead Answer the question if you 4 _
5 l do hereby certify that lam a
can' Notary Public in good standing, that
THE WlTNESS: It Says, "Which l 6 the aforesaid testimony was taken
1 d t h. t h. ,, before me, pursuant to notice, at the
e me to no Say anyt mg 0 lm' 7 time and place indicated; that said
BY MR. SCHWABENLAND: deponent was by me duly sworn to tell
8 the truth, the whole truth, and
Q‘ Okay' What Sourc':es do you use nothing but the truth; that the
as, quote, best practice for Title 1X 9 testimony of said deponent was
~ - - 9 correctly recorded in machine
mvestlgatlons ` 10 shorthand by me and thereafter
A. l dOl’l't refer tO any dOCUIIl€IltS transcribed under my supervision with
that talk about best practices ll computer-aided lranscription; that the .
_ ` deposition is a true and correct
Q. And Why 1S that? 12 record of the testimony given by the
A. 1 am not even aware that there W'messi and ‘_hat 1 m “e“h°_r °f .
_ 13 counsel nor kin to any party in said
15 One- action, nor interested in the outcome
Q. What sources do you use for :‘5* therevf:/fiTNESS h d d ff_ _ l
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reference? IS that that NACUA? Seal this 26th day Of July 2018_
A. What do you mean by reference? 16
. . 17
. Well ou're an investi ator.
Q ’ y. g . 18 )ié-h~' 3{!1- §t’/`Wq,,a
Do you have any literature or documentation as ' 19
. . . . . 20
to how to carry out an investigation in a fair 21 Kimberly A' Womczyk
and impartial way? Netary Pnbiie
A. 1 am sure that 1 have read §§
things over my career. 1 don't have something 24
Page 315 Page 317
in my desk that I pull out. l - - -
Q. Do you have any such literature 2 INSTRUCTIONS TO WlTNESS
in your office? 3 » ~ -
A. Not that 1 can think of. 4
Q. So, to your knowledge, do you 5 Please read your deposition over
have any pamphlet, booklet, anything else that 6 carefully and make any necessary corrections
talks about how to be fair and impartial as an 7 You should state the reason in the appropriate
investigator? 8 space on the errata sheet for any corrections
A. No, 9 that are made
Q. Do you have anything that talks 10 After doing so, please sign the l

about how to properly carry on an 11
investigation of sexual misconduct? l 12
A. l have told you what we have ' 13

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talked about several times today. 1 have read
materials and gone to seminars over the years.
There's lots of people who can write something
called "best practices," which is a lot of
nothing either, but there is not a document

that 1 refer to. 19
MR. SCHWABENLAND: Okay. Thank 20

you. 21
THE WlTNESS: Thank you. l 22
(Deposition concluded Time 23

noted, 5:46 p.m.) 24

errata sheet and date it.

You are signing same subject to the
changes you have noted on the errata sheet,
which will be attached to your deposition.

1t is imperative that you return the
original errata sheet to the deposing attorney
within thirty (30) days of receipt of the
deposition transcript by you. If you fail to
do so, the deposition transcript may be deemed
to be accurate and may be used in court.

80 (Pages 314 - 317)

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